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                    EXHIBIT 19
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    ·3·   · · · · · · CIVIL ACTION NO. 5:17-cv-02514-JGB
                                                                           ·4·   ·DAVID J. VENTURELLA
    ·4·   ·RAUL NOVOA and JAIME CAMPOS FUENTES,
    · ·   ·individually and on behalf of all                               ·5·   ·DIRECT EXAMINATION BY MR. FREE· · · · · · · · · · ·5
    ·5·   ·others similarly situated,                                      ·6
    ·6·   · · · · · · · · · · ·Plaintiffs,                                 · ·   · · · · · · · · · · INDEX TO EXHIBITS
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    ·8                                                                     ·8
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    · ·   · · · · · · · · · ·VOLUME I, PAGES 1-146                         13·   · · ·(PREVIOUSLY MARKED EXHIBITS REFERENCED RAGSDALE
    15                                                                     · ·   ·EXHIBIT 1)
    · ·   ·   ·   ·   ·    · · · · THURSDAY, JUNE 13th, 2019
                                                                           14
    16·   ·   ·   ·   ·    ·515 EAST LAS OLAS BOULEVARD, SUITE 1200
    · ·   ·   ·   ·   ·    · · · · ·FORT LAUDERDALE, FLORIDA               15
    17·   ·   ·   ·   ·    · · · · · 9:03 a.m. - 5:40 p.m.                 16
    18                                                                     17·   · (ORIGINAL EXHIBITS INCLUDED WITH ORIGINAL TRANSCRIPT)
    19                                                                     18
    20
                                                                           19
    21
    22                                                                     20
    · ·   ·STENOGRAPHICALLY REPORTED BY:                                   21
    23·   ·VALERIE LEHTO, REGISTERED PROFESSIONAL REPORTER                 22
    · ·   ·NOTARY PUBLIC, STATE OF FLORIDA                                 23
    24·   ·ESQUIRE DEPOSITION SERVICES
                                                                           24
    · ·   ·FORT LAUDERDALE OFFICE
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    ·1·   ·APPEARANCES:                                                    ·1· · · · · · · · · DEPOSITION OF DAVID J. VENTURELLA
    ·2
    · ·   ·APPEARING ON BEHALF OF THE PLAINTIFFS:                          ·2· · · · · · · · · · · ·JUNE 13th, 2019
    ·3                                                                     ·3
    · ·   ·   ·   ·   ·   BURNS, CHAREST, LLP.
    ·4·   ·   ·   ·   ·   BY:· DANIEL H. CHAREST, ESQUIRE.                 ·4· · · · · · ·THE VIDEOGRAPHER:· We are now on the video
    · ·   ·   ·   ·   ·   BY:· LYDIA A. WRIGHT, ESQUIRE.                   ·5· · · · record.
    ·5·   ·   ·   ·   ·   365 CANAL STREET, SUITE 1170
    · ·   ·   ·   ·   ·   NEW ORLEANS, LOUISIANA· 70130                    ·6· · · · · · ·Today is Thursday, the 13th day of June, 2019.
    ·6·   ·   ·   ·   ·   (504) 799-2845
    · ·   ·   ·   ·   ·   dcharest@burnscharest.com                        ·7· · · · The time is 8:50 a.m.
    ·7·   ·   ·   ·   ·   lwright@burnscharest.com                         ·8· · · · · · ·We're here at 515 East Las Olas Boulevard,
    ·8
    ·9·   ·   ·   ·   ·   LAW OFFICE OF R. ANDREW FREE.                    ·9· · · · Suite 1200, Fort Lauderdale, Florida for the
    · ·   ·   ·   ·   ·   BY:· R. ANDREW FREE, ESQUIRE.                    10· · · · purpose of taking the videotaped deposition of
    10·   ·   ·   ·   ·   BY:· HENRIETTE VINET-MARTIN, ESQUIRE.
    · ·   ·   ·   ·   ·   2004 8th AVENUE SOUTH                            11· · · · David Venturella.· The case is Raul Novoa and Jaime
    11·   ·   ·   ·   ·   NASHVILLE, TENNESSEE 37204
                                                                           12· · · · Campos Fuentes versus The GEO Group, Inc.
    · ·   ·   ·   ·   ·   (844) 321-3221
    12·   ·   ·   ·   ·   andrew@immigrantvivilrights.com                  13· · · · · · ·The court reporter is Valerie Lehto and the
    13
    14                                                                     14· · · · videographer is Don Savoy, both from Esquire
    · ·   ·APPEARING ON BEHALF OF THE DEFENDANT:                           15· · · · Deposition Solutions.
    15
    · ·   ·   ·   ·   ·   HOLLAND & KNIGHT.                                16· · · · · · ·Will counsel please announce their appearances
    16·   ·   ·   ·   ·   BY:· J. MATTHEW DONOHUE, ESQUIRE.
                                                                           17· · · · for the record.
    · ·   ·   ·   ·   ·   BY:· SHANNON L. ARMSTRONG, ESQUIRE.
    17·   ·   ·   ·   ·   111 SOUTHWEST FIFTH AVENUE                       18· · · · · · ·MR. FREE:· Andrew Free for the Plaintiffs.
    · ·   ·   ·   ·   ·   2300 U.S. BANCORP TOWER
    18·   ·   ·   ·   ·   PORTLAND, OREGON· 97204                          19· · · · · · ·MS. WRIGHT:· Lydia Wright for the Plaintiffs.
    · ·   ·   ·   ·   ·   (503) 517-2913                                   20· · · · · · ·MR. CHAREST:· Daniel Charest for the
    19·   ·   ·   ·   ·   shannon.armstrong@hklaw.com
    · ·   ·   ·   ·   ·   matt.donohue@hklaw.com                           21· · · · Plaintiffs.
    20                                                                     22· · · · · · ·MR. DONOHUE:· Matt Donohue, Holland & Knight
    21·   ·ALSO PRESENT:· FRANCES E. SIMKINS
    · ·   · · · · · · · · U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT         23· · · · of - for the Defendant and also with me is Shannon
    22·   · · · · · · · · DON SAVOY/VIDEOGRAPHER
    23                                                                     24· · · · Armstrong.
    24                                                                     25· ·Thereupon,
    25


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    ·1· · · · · · · · · · ·DAVID J. VENTURELLA                            ·1· ·you've just told me about were jobs that you held after
    ·2· ·having been first duly sworn or affirmed, was examined           ·2· ·you went back to ICE?
    ·3· ·and testified as follows:                                        ·3· · · · A.· ·Correct.
    ·4                                                                    ·4· · · · Q.· ·Okay, when did you go back to ICE for the last
    ·5· · · · · · · · · · · DIRECT EXAMINATION                            ·5· ·time?
    ·6· ·BY MR. FREE:                                                     ·6· · · · A.· ·I think it was June of 2008.
    ·7· · · · Q.· ·Good morning, sir.· How are you feeling today?         ·7· · · · Q.· ·All right, what did you do before that in the
    ·8· · · · A.· ·Good.                                                  ·8· ·private sector?
    ·9· · · · Q.· ·Good.                                                  ·9· · · · A.· ·In the private sector I was Director of
    10· · · · · · ·Where do you work?                                     10· ·Business Development for L3 Communications and then
    11· · · · A.· ·I work for The GEO Group.                              11· ·before that I was the Vice-President for Homeland
    12· · · · Q.· ·What is your position?                                 12· ·Security in a company called USIS.
    13· · · · A.· ·I'm the Senior Vice-President of Business              13· · · · Q.· ·What does USIS do?
    14· ·Development.                                                     14· · · · A.· ·They were primarily a government services
    15· · · · Q.· ·When did you begin in that role?                       15· ·provider in the area of personnel secured.
    16· · · · A.· ·I think in February of 2014.                           16· · · · Q.· ·And did you hold any other positions in the
    17· · · · Q.· ·Did you work for The GEO Group prior to                17· ·private sector during that sort of interstitial period
    18· ·February, 2014?                                                  18· ·between your employment at ICE and going back?
    19· · · · A.· ·Yes.· I was the Executive - Executive                  19· · · · A.· ·No.
    20· ·Vice-President for Business Development starting in July 20· · · · Q.· ·Okay, so just USIS and L3?
    21· ·of 2012.                                                         21· · · · A.· ·Correct.
    22· · · · Q.· ·And so your current position is a promotion            22· · · · Q.· ·Okay, and right before you went into the
    23· ·from your previous one?                                          23· ·private sector in the I think -- What was your last
    24· · · · A.· ·Correct.                                               24· ·position at ICE?
    25· · · · Q.· ·Where did you work prior to July of 2012?              25· · · · A.· ·Can you repeat that?

                                                                 Page 6                                                             Page 8
    ·1· · · · A.· ·Before that I worked for the U.S. Immigration          ·1· · · · Q.· ·So right before you went to work for USIS you
    ·2· ·and Customs Enforcement in Washington D.C.                       ·2· ·were working for ICE, right?
    ·3· · · · Q.· ·What did you do there?                                 ·3· · · · A.· ·Correct.
    ·4· · · · A.· ·My last position was the Assistant Director            ·4· · · · Q.· ·What were you doing right before you left at
    ·5· ·for Field Operations.                                            ·5· ·that time?
    ·6· · · · Q.· ·When did you leave your employment with ICE?           ·6· · · · A.· ·I was the Acting Director for the Enforcement
    ·7· · · · A.· ·May of 2012.                                           ·7· ·and Removal Operations Program.
    ·8· · · · Q.· ·Did you have any employment between ICE and            ·8· · · · Q.· ·Also in Washington D.C.?
    ·9· ·GEO?                                                             ·9· · · · A.· ·Correct.
    10· · · · A.· ·No.                                                    10· · · · Q.· ·Okay, and prior to -- And kind of what were
    11· · · · Q.· ·That was your last position at ICE.· What              11· ·the - generally the date ranges when you were the Acting
    12· ·position or positions did you hold prior to your last            12· ·Director for - for ERO?
    13· ·one?                                                             13· · · · A.· ·It was a short period of time, so I would say
    14· · · · A.· ·Prior to that one I served as the Executive            14· ·months, but I - you know, four, five months.
    15· ·Director for the Secure Communities Program.· I was the          15· · · · Q.· ·Okay, prior to that?
    16· ·Acting Director for Enforcement and Removal Operations, 16· · · · A.· ·Prior to that I held the position of Deputy
    17· ·and I believe that's it.                                         17· ·Director for the same program.
    18· · · · Q.· ·If I understand your background correctly --           18· · · · Q.· ·And the rough periods that you held that
    19· ·It's okay.· We're just going to have a conversation.             19· ·position?
    20· · · · A.· ·Yes.· Sure.                                            20· · · · · · ·I'm not going to hold you to like exact dates.
    21· · · · Q.· ·So if I understand your background correctly,          21· · · · A.· ·Yeah.
    22· ·there was a period where you left ICE and then went back 22· · · · Q.· ·Just years, maybe.
    23· ·or left DHS employment and went back; is that right?             23· · · · A.· ·Yeah, it was a few years.· It's a little fuzzy
    24· · · · A.· ·That is correct.                                       24· ·when I actually started.
    25· · · · Q.· ·Okay, and so the two jobs - the jobs that              25· · · · Q.· ·Okay, you've been in the Agency prior to your


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    ·1· ·leaving ICE in 2004, you've been in the Agency for            ·1· ·function.· I also worked on the benefits side,
    ·2· ·eighteen years or something like that, right?                 ·2· ·naturalization, green card renewals, et cetera.
    ·3· · · · A.· ·I started in 1986 and then through 2002,            ·3· · · · Q.· ·Okay, so you did some application
    ·4· ·right.                                                        ·4· ·adjudications?
    ·5· · · · Q.· ·Okay, so '86 to '02?                                ·5· · · · A.· ·Yeah.· Absolutely.
    ·6· · · · A.· ·Yeah.                                               ·6· · · · Q.· ·Okay, did you also do enforcement activities?
    ·7· · · · Q.· ·And then you go into the private sector in          ·7· · · · A.· ·Yes.
    ·8· ·'02?                                                          ·8· · · · Q.· ·Okay, what is your highest level of education?
    ·9· · · · A.· ·Again a little fuzzy.· '02 --                       ·9· · · · A.· ·A Bachelor of Science in Political Science.
    10· · · · Q.· ·Sure.                                               10· · · · Q.· ·Okay, have you ever supervised a detention
    11· · · · A.· ·-- maybe '03, but --                                11· ·center?
    12· · · · Q.· ·Okay.                                               12· · · · A.· ·Yes.
    13· · · · A.· ·-- it was a four year break in between the          13· · · · Q.· ·Which one?
    14· ·two --                                                        14· · · · A.· ·The Broadview staging facility.· It's in
    15· · · · Q.· ·Okay.                                               15· ·Chicago.
    16· · · · A.· ·-- stints with the government.                      16· · · · Q.· ·When did you do that?
    17· · · · Q.· ·Did you always work in Washington D.C.?             17· · · · A.· ·Sometime in the 90's.
    18· · · · A.· ·No.· I started off in Chicago.                      18· · · · Q.· ·Yeah, roughly again.
    19· · · · Q.· ·All right, what was the highest level position      19· · · · A.· ·Right.· Okay.
    20· ·that you - that you held when you were working I guess        20· · · · Q.· ·Twenty years ago.
    21· ·then for INS in Chicago?                                      21· · · · · · ·And for how long were you the person in charge
    22· · · · A.· ·Correct.                                            22· ·of that facility?
    23· · · · · · ·The highest level --                                23· · · · A.· ·I would say at least a couple years.
    24· · · · Q.· ·Yes, sir.                                           24· · · · Q.· ·Okay, let's get back to your current
    25· · · · A.· ·-- position would be -- I'm trying to remember      25· ·employment.

                                                           Page 10                                                                    Page 12
    ·1· ·what the title was back then, but it would have been          ·1· · · · A.· ·Okay.
    ·2· ·Deputy District Director.                                     ·2· · · · Q.· ·What are your current responsibilities?
    ·3· · · · Q.· ·Was that kind of the equivalent of what we          ·3· · · · A.· ·Well, I'm responsible for all of the business
    ·4· ·would think of as a Field Office Director today?              ·4· ·development activities for the company which means
    ·5· · · · A.· ·Yeah.· I would say it's equivalent.                 ·5· ·identifying opportunities that we would be interested
    ·6· · · · Q.· ·Okay, did you -- But within INS you were on         ·6· ·in, we would be well suited for, analyzing, qualifying
    ·7· ·the enforcement side.· Do you understand what I mean          ·7· ·and then making recommendations to our senior leadership
    ·8· ·after INS gets broken up in 2002 under the Homeland           ·8· ·whether or not we should pursue such opportunities and
    ·9· ·Security Act --                                               ·9· ·then if we do decide to pursue such opportunities then I
    10· · · · A.· ·Right.                                              10· ·have a team of folks that manage the proposal process,
    11· · · · Q.· ·-- and then to ICE and USCIS?                       11· ·scheduling and coordination.
    12· · · · A.· ·Right.                                              12· · · · Q.· ·Is it correct to say -- I want to make sure
    13· · · · Q.· ·You were not doing the benefits part of INS,        13· ·that we understand each other and we're using the same
    14· ·you were on the enforcement side, right?                      14· ·language.· Is it correct to say that the people who work
    15· · · · A.· ·That's correct.                                     15· ·with you are in the business development part of GEO as
    16· · · · Q.· ·Okay, and that was the whole time?· You were        16· ·opposed to the contract compliance part of GEO?
    17· ·never like a benefits officer granting green cards or         17· · · · A.· ·Oh, that's correct.
    18· ·adjudicating applications?                                    18· · · · Q.· ·Okay, and to whom do you report?
    19· · · · A.· ·After 2002?                                         19· · · · A.· ·To the CEO.
    20· · · · Q.· ·At any time in your career --                       20· · · · Q.· ·That's George Zoley?
    21· · · · A.· ·Oh, well --                                         21· · · · A.· ·That's correct.
    22· · · · Q.· ·-- in ICE.                                          22· · · · Q.· ·Okay, approximately how many people work for
    23· · · · A.· ·-- sure.· I mean between '86 and 2002 I did         23· ·you?
    24· ·have - I worked as an immigration inspector as a              24· · · · A.· ·About eleven.
    25· ·collateral duty, not - you know, part of my primary           25· · · · Q.· ·And are they all here in Florida?


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    ·1· · · · A.· ·Yes.                                                    ·1· ·community Corrections services as well.
    ·2· · · · Q.· ·Okay, how do you go about identifying new               ·2· · · · Q.· ·Do you advice or suggest to senior leadership
    ·3· ·business opportunities that might enhance GEO's revenue? ·3· ·potential acquisitions of other companies or -- Yeah,
    ·4· · · · A.· ·Well, you can do it a number of different               ·4· ·other companies.· Let's start there.
    ·5· ·ways.· Certainly we have a current portfolio or clients           ·5· · · · A.· ·No.
    ·6· ·that we service now and so certainly in having                    ·6· · · · Q.· ·You do not?
    ·7· ·discussions with them asking them if there are                    ·7· · · · A.· ·I do not.
    ·8· ·additional opportunities that they foresee in the future          ·8· · · · Q.· ·Okay, were you here when GEO acquired BI?
    ·9· ·is one way.· You know, we attend a lot of conferences,            ·9· · · · A.· ·I was not.
    10· ·we speak to a lot of people on the ground again figuring          10· · · · Q.· ·Okay, what was your highest GS level before
    11· ·out if there are opportunities that are coming.                   11· ·you - when you left ICE?
    12· ·Sometimes you look at - you look at the news, you read,           12· · · · A.· ·I was in the Senior Executive Service.
    13· ·for example, like Miami-Dade is in need of a new                  13· · · · Q.· ·Were you on the executive pay scale?
    14· ·facility, a county facility so, you know, that - that             14· · · · A.· ·Yes.
    15· ·then sparks the - the additional activity to - to make            15· · · · Q.· ·Did you seek or receive ethics advice prior to
    16· ·some contacts and reach out to see if it's actually a             16· ·leaving ICE and taking on your employment with GEO --
    17· ·real opportunity.                                                 17· · · · A.· ·Yes.
    18· · · · Q.· ·Sure.                                                   18· · · · Q.· ·-- in July?
    19· · · · · · ·It is my understanding, and you tell me if I'm          19· · · · · · ·What was that advice?
    20· ·incorrect, that you don't just do business development            20· · · · A.· ·What were my limitations, what could I do,
    21· ·regarding GEO's ICE detention portfolio but you also do           21· ·could not do.· Basically the one-on-one on leaving the
    22· ·business development on other activities that GEO                 22· ·government and going into the private sector.
    23· ·conducts vis-a-vis Corrections or community supervision           23· · · · Q.· ·And I want you to understand I'm not asking
    24· ·or other residential treatment centers; is that right?            24· ·you for an exhaustive list of things you could or
    25· · · · A.· ·Correct.                                                25· ·couldn't do, but did you understand there to be certain

                                                           Page 14                                                                        Page 16
    ·1· · · · Q.· ·Okay, so you're not limited to ICE detention?           ·1· ·guardrails vis-a-vis GEO's business with ICE?
    ·2· · · · A.· ·That is correct.                                        ·2· · · · A.· ·Correct.· Yes.
    ·3· · · · Q.· ·Okay, but you are responsible for identifying           ·3· · · · · · ·MR. DONOHUE:· Object to the form.
    ·4· ·new opportunities and increasing corporate profits,               ·4· ·BY MR. FREE:
    ·5· ·finding new sources of revenue within the immigration             ·5· · · · Q.· ·Okay, what did you understand those limits to
    ·6· ·detention space, right?                                           ·6· ·be?
    ·7· · · · A.· ·Not limited to the immigration detention                ·7· · · · A.· ·I could not have contact with ICE officials
    ·8· ·space.                                                            ·8· ·for - or I shouldn't say just ICE officials, DHS, any of
    ·9· · · · Q.· ·Okay, but that's one of your --                         ·9· ·the component agencies for a twelve month period, I
    10· · · · A.· ·Sure.                                                   10· ·could not sign correspondence that went to those
    11· · · · Q.· ·-- pieces of work, right?                               11· ·agencies.· I could certainly advise my company
    12· · · · A.· ·Yes.                                                    12· ·behind-the-scenes, but I could not participate in any
    13· · · · Q.· ·Okay, is there anybody who specifically works           13· ·meetings, discussions that they would have with any of
    14· ·for you that's tasked with that end of it, the ICE                14· ·those components within DHS.
    15· ·detention end of it?                                              15· · · · Q.· ·It's correct - it's correct to say that those
    16· · · · A.· ·No.                                                     16· ·ethical guidance pieces that you got from your Agency
    17· · · · Q.· ·Okay, and prior to getting your promotion and           17· ·pertained to communications and contacts between your
    18· ·taking over your current role, how did your job differ            18· ·new boss and your old boss, right?
    19· ·from what it is today?                                            19· · · · · · ·MR. DONOHUE:· Object to the form.
    20· · · · A.· ·It was more focused on domestic and very                20· ·BY MR. FREE:
    21· ·specifically to Detention and Corrections, so Federal,            21· · · · Q.· ·Yeah, let's - let me - those -- What you've
    22· ·State and local level.                                            22· ·just described to me --
    23· · · · · · ·When I received the promotion then additional           23· · · · A.· ·Sure.
    24· ·areas of responsibility were added to include                     24· · · · Q.· ·-- pertains to communications and contacts.
    25· ·international and supporting some of our reentry and              25· ·Did I understand you correctly?


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    ·1· · · · A.· ·With me and -- Yeah.                           ·1· · · · A.· ·It was for me a time for a change.· I had
    ·2· · · · Q.· ·You directly?                                  ·2· ·achieved my twenty years of covered service which is a
    ·3· · · · A.· ·Yes.· Me directly.                             ·3· ·milestone for law enforcement personnel.
    ·4· · · · Q.· ·I'm sorry to interrupt you.                    ·4· · · · Q.· ·You're on a pension?
    ·5· · · · A.· ·Yeah.· No, it's okay.                          ·5· · · · A.· ·I'm eligible for a pension.· I don't receive
    ·6· · · · Q.· ·But that's right?· It's just you individually? ·6· ·one now.
    ·7· · · · A.· ·Correct.                                       ·7· · · · Q.· ·Do you have to wait it out or is there --
    ·8· · · · Q.· ·Okay, it didn't preclude GEO from talking to   ·8· · · · A.· ·I do.· I have to wait.
    ·9· ·DHS?                                                     ·9· · · · Q.· ·How far away?
    10· · · · A.· ·That's correct.                                10· · · · A.· ·Fifty-seven or sixty-two.· It just depends on
    11· · · · Q.· ·All right, and it doesn't preclude you, I      11· ·when I choose to exercise it and how much reduction I
    12· ·think, I understand the rules to be, it doesn't preclude 12· ·get from that.
    13· ·you from taking the information that you've gained in    13· · · · Q.· ·All right.· Okay, have you ever visited the
    14· ·your twenty-two years of experience at ICE and applying 14· ·Adelanto facility?
    15· ·some of that information to GEO?                         15· · · · A.· ·I have.
    16· · · · · · ·MR. DONOHUE:· Object to the form.              16· · · · Q.· ·And I want to be really clear.· When I'm
    17· ·BY MR. FREE:                                             17· ·referring to the Adelanto facility I'm referring to the
    18· · · · Q.· ·You can answer the question.                   18· ·immigration detention facility that's operated under a
    19· · · · A.· ·Oh, okay.· I wasn't sure of the process there. 19· ·contract currently, I believe, with GEO and ICE and the
    20· · · · · · ·Sure, so I could provide advice to - to GEO    20· ·City of Adelanto.· I'm not referring to the prison
    21· ·behind the scenes, yes.                                  21· ·next-door and for the rest of these questions we're just
    22· · · · Q.· ·And that was an added benefit to your hire by  22· ·going to talk about the ICE processing center.· Can we
    23· ·this company, right?                                     23· ·agree on that?
    24· · · · · · ·MR. DONOHUE:· Object to the form.              24· · · · A.· ·Yes.
    25· · · · · · ·THE WITNESS:· I - that I don't know.           25· · · · Q.· ·Great.

                                                                Page 18                                                              Page 20
    ·1· ·BY MR. FREE:                                                     ·1· · · · · · ·When is the most recent time you visited
    ·2· · · · Q.· ·You probably had a better understanding of how         ·2· ·Adelanto?
    ·3· ·ICE and DHS work than someone who didn't work there? ·3· · · · A.· ·I think in February of this year.
    ·4· ·Would you just generally say --                      ·4· · · · Q.· ·What brought you there?
    ·5· · · · A.· ·I would.                                               ·5· · · · A.· ·We had a series of visits scheduled throughout
    ·6· · · · Q.· ·-- that that's probably true?                          ·6· ·the State of California and so we had just stopped by,
    ·7· · · · · · ·MR. DONOHUE:· Let me just make an objection.           ·7· ·visited, said - said hello to our folks and just toured
    ·8· · · · · · ·Object to the form, calls for speculation.             ·8· ·around that facility as well as the Desert View
    ·9· · · · · · ·THE WITNESS:· I think my experience and                ·9· ·facility.
    10· · · · expertise certainly was helpful.                            10· · · · Q.· ·Who's we?
    11· ·BY MR. FREE:                                                     11· · · · A.· ·Myself, George Zoley, Kyle Schiller who is an
    12· · · · Q.· ·You're a very senior official at ICE?                  12· ·employee of the Operations Division, I think John
    13· · · · · · ·MR. DONOHUE:· Object to the form.                      13· ·Christakis who's our Chief Medical Officer, our Regional
    14· · · · · · ·THE WITNESS:· I --                                     14· ·Vice-President.· There may have been a few other people
    15· · · · · · ·MR. DONOHUE:· Vague.                                   15· ·that attended as well.
    16· · · · · · ·THE WITNESS:· I wouldn't say - I wouldn't              16· · · · Q.· ·Is the Regional Vice-President James Black?
    17· · · · say --                                                      17· · · · A.· ·No.
    18· ·BY MR. FREE:                                                     18· · · · Q.· ·Who is that?
    19· · · · Q.· ·You told me earlier you were a very senior?            19· · · · A.· ·That is Paul Laird, L-a-i-r-d.
    20· · · · A.· ·No.· No.· I said I was in the senior executive         20· · · · Q.· ·Thanks.
    21· ·service which is just a pay scale.                               21· · · · · · ·Is that a regular occurrence or an annual
    22· · · · Q.· ·Okay, I got it.· All right.· Okay, cool.               22· ·occurrence where you go and tour these facilities or was
    23· · · · · · ·Why did you leave DHS employment?                      23· ·there some special reason why you were going there in
    24· · · · A.· ·I'm sorry?                                             24· ·February of this year?
    25· · · · Q.· ·Why - what made you want to leave DHS?                 25· · · · A.· ·As I stated, we had other meetings scheduled


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   NOVOA vs THE GEO GROUP                                               21–24
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    ·1· ·throughout the state and so since we were in - in the    ·1· · · · · · ·THE WITNESS:· More of a meet and greet.
    ·2· ·State of California we decided to make that - that trip     ·2· ·BY MR. FREE:
    ·3· ·out there.                                                  ·3· · · · Q.· ·Okay, nobody sat down in a conference room and
    ·4· · · · Q.· ·How many times had you been there before going ·4· ·said here are the five things that we need to talk
    ·5· ·in February?                                                ·5· ·about?
    ·6· · · · A.· ·I would say at least once annually again          ·6· · · · A.· ·No.
    ·7· ·mostly to - to visit because we've had meetings or          ·7· · · · Q.· ·Okay.· All right.
    ·8· ·conferences out there and so it's always good when          ·8· · · · A.· ·We did sit in the conference room though,
    ·9· ·you're in the area to stop by, say hello, see how things    ·9· ·okay, so --
    10· ·are going.                                                  10· · · · Q.· ·What did you talk about?
    11· · · · Q.· ·If I understand the timeline of your              11· · · · A.· ·Well, again how - how are things going, you
    12· ·employment and the existence of Adelanto correctly, you 12· ·know, so there wasn't a particular agenda, but again
    13· ·would not have been at DHS when GEO was operating           13· ·more of a meet and greet, okay, let's go look at the
    14· ·Adelanto, you would not have visited as a DHS official;     14· ·facility.
    15· ·is that right?                                              15· · · · Q.· ·Do you have any recollection as to how things
    16· · · · A.· ·Correct.· I did not visit --                      16· ·were going?
    17· · · · Q.· ·Okay.                                             17· · · · A.· ·At the facility?
    18· · · · A.· ·-- that facility.                                 18· · · · Q.· ·Yes, sir.
    19· · · · Q.· ·And so every visit that you've taken has been     19· · · · · · ·When you were sitting in the conference room
    20· ·in your employment with GEO?                                20· ·talking about it what was the general sense?
    21· · · · A.· ·To Adelanto?                                      21· · · · A.· ·That we were performing well.
    22· · · · Q.· ·Yes, sir.                                         22· · · · Q.· ·Okay, at that time was the facility almost at
    23· · · · A.· ·Correct.                                          23· ·full occupancy or near, near it?
    24· · · · Q.· ·Okay.· Great.                                     24· · · · A.· ·I don't recall.
    25· · · · · · ·How long did you spend there?                     25· · · · Q.· ·Okay, that wasn't discussed?

                                                           Page 22                                                           Page 24
    ·1· · · · A.· ·An hour.                                          ·1· · · · A.· ·No.
    ·2· · · · Q.· ·Okay, did you actually go inside the secure       ·2· · · · Q.· ·Okay, any discussions of expansion of the
    ·3· ·area or did you go to the sort of office area over on       ·3· ·facility?
    ·4· ·the west side?                                              ·4· · · · A.· ·No.
    ·5· · · · A.· ·We did go inside the secure area.                 ·5· · · · Q.· ·Any discussions of alterations in the contract
    ·6· · · · Q.· ·What did you see?                                 ·6· ·of the facility?
    ·7· · · · A.· ·Detainee hold rooms, the medical food service,    ·7· · · · A.· ·No.
    ·8· ·so I mean usually when we go we - we look at all            ·8· · · · Q.· ·Were ICE officials present on your tour?
    ·9· ·aspects.                                                    ·9· · · · A.· ·I mean there's always ICE officials around --
    10· · · · Q.· ·Was there somebody responsible for being your     10· · · · Q.· ·Okay.
    11· ·point of contact, the person who led your tour?             11· · · · A.· ·-- but they were not participating in the
    12· · · · A.· ·That would have been the Facility                 12· ·tour, but certainly if we encountered one we spoke to
    13· ·Administrator, James Janecka.                               13· ·them.
    14· · · · Q.· ·Okay, did you go anywhere else within the         14· · · · Q.· ·Who was that?
    15· ·facility?                                                   15· · · · A.· ·Well, I don't know.· There's a number of
    16· · · · A.· ·I think we covered all of the facility.           16· ·officers that work there.
    17· · · · Q.· ·Okay, did Mr. Janecka or anyone else provide      17· · · · Q.· ·Nobody that sticks out in your mind?
    18· ·you any written materials in advance of your visit?         18· · · · A.· ·No.
    19· · · · A.· ·No.                                               19· · · · Q.· ·Okay, but they weren't on the tour with you,
    20· · · · Q.· ·Okay, did you have any substantive discussions    20· ·they were just physically located on the site because
    21· ·about GEO's performance at the facility or was it more      21· ·they have offices, if I understand you correctly?
    22· ·of just a meet and greet?                                   22· · · · A.· ·Right, and they're performing their functions
    23· · · · A.· ·More --                                           23· ·and duties.
    24· · · · · · ·MR. DONOHUE:· Object to the form.                 24· · · · Q.· ·Okay, this was a GEO event, this wasn't GEO
    25· · · · · · ·Go ahead.                                         25· ·and ICE doing any sort of meet and greet, if I


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    ·1· ·understand your recollection?                                        ·1· ·competitors in the bidding process or -- Is that right?
    ·2· · · · A.· ·That is correct.                                           ·2· · · · A.· ·Correct.
    ·3· · · · Q.· ·How often have you done visits like that prior             ·3· · · · Q.· ·Okay, do you have a rough understanding of how
    ·4· ·to February of 2018?                                                 ·4· ·much of GEO's revenues come from ICE each year?
    ·5· · · · · · ·MR. DONOHUE:· Object to the form, vague.                   ·5· · · · A.· ·I do not.
    ·6· · · · · · ·THE WITNESS:· At the Adelanto facility?                    ·6· · · · Q.· ·Okay, and do you have any understanding of
    ·7· ·BY MR. FREE:                                                         ·7· ·what portion of ICE's immigration detention needs are
    ·8· · · · Q.· ·Yes, sir.                                                  ·8· ·serviced by GEO each year in terms of beds?
    ·9· · · · A.· ·Like I said, I think I visited at least once a             ·9· · · · A.· ·I do not.
    10· ·year.                                                                10· · · · Q.· ·Do you have any idea roughly but current
    11· · · · Q.· ·Okay.· Okay, so The GEO Group is a private                 11· ·average daily population that ICE is detaining for adult
    12· ·publicly traded real estate investment trust; is that                12· ·immigration detention?
    13· ·right?                                                               13· · · · A.· ·Other than what I read in the media reports
    14· · · · A.· ·Yes.                                                       14· ·which I think is north of fifty thousand.
    15· · · · Q.· ·Okay, your main business as an - as a                      15· · · · Q.· ·Okay, would you agree that that average daily
    16· ·government contractor is to service the needs of your                16· ·population that's been reported publicly is an increase
    17· ·government partners; is that right?                                  17· ·from years past?
    18· · · · A.· ·Yes.                                                       18· · · · · · ·MR. DONOHUE:· Object to the form.
    19· · · · Q.· ·Okay, and it's my understanding that almost                19· ·BY MR. FREE:
    20· ·all of the revenue from GEO's - almost all of GEO's                  20· · · · Q.· ·In other words, in this year where ICE is
    21· ·revenue comes from government contract partners; is that 21· ·detaining let's say fifty-two thousand it's been
    22· ·correct?                                                             22· ·reported?
    23· · · · A.· ·That is correct.                                           23· · · · A.· ·Okay.
    24· · · · Q.· ·In fact, governments supply almost exclusively             24· · · · Q.· ·That's more than ICE has detained ever before
    25· ·the - the revenues each year that GEO takes in for its               25· ·on a daily basis?

                                                          Page 26                                                      Page 28
    ·1· ·shareholders; is that right?                             ·1· · · · · · ·MR. DONOHUE:· The same objection.
    ·2· · · · A.· ·That's correct.· We are a government services  ·2· · · · · · ·THE WITNESS:· That would be correct.
    ·3· ·provider.                                                ·3· ·BY MR. FREE:
    ·4· · · · Q.· ·Right.                                         ·4· · · · Q.· ·Okay, do you expect that number to go up?
    ·5· · · · · · ·ICE is GEO's largest customer right now; is    ·5· · · · · · ·MR. DONOHUE:· Object to the form.
    ·6· ·that right?                                              ·6· · · · · · ·THE WITNESS:· I do not know.
    ·7· · · · · · ·MR. DONOHUE:· Object to the form, vague.       ·7· ·BY MR. FREE:
    ·8· ·BY MR. FREE:                                             ·8· · · · Q.· ·As the person responsible for business
    ·9· · · · Q.· ·Okay, let me - let make it real clear.· I want ·9· ·development for GEO do you anticipate that the Agency
    10· ·you to understand my question, okay?                     10· ·will continue to have a need for adult immigration
    11· · · · A.· ·Sure.                                          11· ·detention into the future?
    12· · · · Q.· ·Where does GEO get the majority of its         12· · · · A.· ·Can you repeat that?
    13· ·revenues?                                                13· · · · · · ·MR. FREE:· Can you just read it back, please.
    14· · · · A.· ·From the Federal Government.                   14· · · · · · ·(Whereupon, the requested portion of the
    15· · · · Q.· ·Okay, and the largest Federal Government       15· ·record was read back).
    16· ·contracting partner by revenue for GEO is ICE; is that   16· · · · · · ·THE WITNESS:· Yes.
    17· ·right?                                                   17· ·BY MR. FREE:
    18· · · · A.· ·I think that is correct as of today.           18· · · · Q.· ·Do you think that that need will provide GEO
    19· · · · Q.· ·Okay, who are GEO's key competitors in the     19· ·opportunities to enhance its revenues if you can get
    20· ·immigration detention space for Federal Government       20· ·contracts?
    21· ·contracts here in the United States?                     21· · · · · · ·MR. DONOHUE:· Object to the form, vague and
    22· · · · A.· ·That would be CoreCivic, LaSalle Corrections,  22· · · · calls for speculation.
    23· ·MTC and then, you know, thousands of county jails that 23· · · · · · ·THE WITNESS:· I would say it is my opinion
    24· ·provide similar services to ICE.                         24· · · · that GEO has a very limited inventory of beds at
    25· · · · Q.· ·You see those - those jails as potential       25· · · · this point, so I don't know if we can offer anymore


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    ·1· · · · additional capacity to ICE, so it remains to be               ·1· ·there?
    ·2· · · · seen if - if we would benefit from any increase.              ·2· · · · A.· ·No.
    ·3· ·BY MR. FREE:                                                       ·3· · · · Q.· ·Do you recall approximately when that
    ·4· · · · Q.· ·When you say a limited inventory of beds, what           ·4· ·corporate change occurred?
    ·5· ·I understand that to mean, and tell me if I'm wrong, is            ·5· · · · A.· ·I - I'm guessing it might have been around
    ·6· ·GEO has a certain number of facilities with a certain              ·6· ·2014.
    ·7· ·number of beds available that it could make available to           ·7· · · · Q.· ·Did you have any role in shifting the
    ·8· ·ICE and that number is limited at this moment?                     ·8· ·corporate structure from what it was before to what it
    ·9· · · · A.· ·Yes.                                                     ·9· ·is now?
    10· · · · Q.· ·Okay, how would GEO go about increasing its              10· · · · A.· ·No.
    11· ·supply of beds that it could offer to ICE?                         11· · · · Q.· ·Okay, that's not something that you were
    12· · · · A.· ·We would have to build more, more beds.                  12· ·working on?
    13· · · · Q.· ·Could you enter into intergovernmental                   13· · · · A.· ·Correct.
    14· ·services agreements with counties or states instead of             14· · · · Q.· ·Okay, but it does in some way limit the --
    15· ·building?· In other words, take existing space and                 15· ·GEO's REIT structure does in some way limit, if I
    16· ·manage the facility.                                               16· ·understand your testimony, the number of beds that GEO
    17· · · · A.· ·As a REIT that's not what we would prioritize.           17· ·can offer ICE?
    18· · · · Q.· ·Why not?                                                 18· · · · · · ·MR. DONOHUE:· Object to the form.
    19· · · · A.· ·Because there are REIT rules that determine or           19· · · · · · ·THE WITNESS:· I don't think that REIT
    20· ·govern how much of your business can be non REIT and 20· · · · structure necessarily limits.· It's basically what
    21· ·that would be non REIT, so that would not be our                   21· · · · we - our capacity is and --
    22· ·preference.                                                        22· ·BY MR. FREE:
    23· · · · Q.· ·Do you have any idea, I'm not going to hold              23· · · · Q.· ·Okay.
    24· ·you to an exact number, but do you have any idea how               24· · · · A.· ·-- I think that's what defines our - our
    25· ·much of GEO's business is non REIT right now?                      25· ·capabilities.

                                                                  Page 30                                                             Page 32
    ·1· · · · A.· ·I do not know.                                           ·1· · · · Q.· ·Okay, yeah.· I take your point.· I think what
    ·2· · · · Q.· ·Okay, so you don't - you can't tell me today             ·2· ·you're trying to tell me is in order to provide ICE more
    ·3· ·as you're sitting here how much room GEO has to kind of            ·3· ·beds we would have to own and build more facilities and
    ·4· ·maximize that non REIT income?                                     ·4· ·we don't have many more right now?
    ·5· · · · A.· ·No, I do not.                                            ·5· · · · A.· ·That is correct.
    ·6· · · · Q.· ·Okay, is the contract with Adelanto a REIT or            ·6· · · · Q.· ·Thank you.
    ·7· ·non REIT activity?                                                 ·7· · · · · · ·Okay, do you happen to know as you sit here
    ·8· · · · A.· ·It is a REIT activity.                                   ·8· ·today how many facilities GEO owns that it contracts
    ·9· · · · Q.· ·Why is that?                                             ·9· ·with ICE to house adult immigration detainees?
    10· · · · A.· ·Because we own and operate the facility.                 10· · · · A.· ·You said you're not going to hold me to the
    11· · · · Q.· ·Okay, so do you have any understanding                   11· ·exact number?· I think fourteen.
    12· ·generally of the benefits of being a REIT to GEO?                  12· · · · Q.· ·I'd like you to do the best you can.
    13· · · · · · ·MR. DONOHUE:· Object to the form.                        13· · · · A.· ·I think - I think it's fourteen.
    14· · · · · · ·THE WITNESS:· My understanding of the benefit            14· · · · Q.· ·But, yeah.· No, we're --
    15· · · · is more tax related and I can't get - I don't know            15· · · · A.· ·Yeah.
    16· · · · the specifics of that, but I know there's a benefit           16· · · · Q.· ·Okay, how many in California?
    17· · · · and then there's certainly a requirement to                   17· · · · A.· ·Two.
    18· · · · distribute, I'm not sure if I'm going to get this             18· · · · Q.· ·Okay, which ones are those?
    19· · · · term right, but your profits back to shareholders.            19· · · · A.· ·That would be the Adelanto facility and the
    20· ·BY MR. FREE:                                                       20· ·facility known as Mesa Verde.
    21· · · · Q.· ·Do you happen to know the percentage that has            21· · · · Q.· ·That's in Bakersfield?
    22· ·to go back to the shareholders?                                    22· · · · A.· ·Correct.
    23· · · · A.· ·I don't.                                                 23· · · · Q.· ·Okay, do you have any understanding as you sit
    24· · · · Q.· ·Okay.· That's okay.                                      24· ·here today as to the main groups of shareholders that
    25· · · · · · ·Has GEO always been a REIT since you've worked 25· ·own GEO stock, like who's the biggest?


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    ·1· · · · A.· ·I don't know.                                          ·1· ·BY MR. FREE:
    ·2· · · · · · ·MR. DONOHUE:· Object to the form.                      ·2· · · · Q.· ·Okay, I also think that, and tell me if I'm
    ·3· · · · · · ·THE WITNESS:· I do not.                                ·3· ·wrong again and these are not - you can correct me is
    ·4· ·BY MR. FREE:                                                     ·4· ·what I want you to understand about --
    ·5· · · · Q.· ·Okay.                                                  ·5· · · · A.· ·Sure.
    ·6· · · · · · ·If I understand your position correctly,               ·6· · · · Q.· ·-- this, okay?· But I also think that you have
    ·7· ·you're - you're in a position of a corporate officer at          ·7· ·a fiduciary duty to make sure that your operations in
    ·8· ·GEO?· Do you understand what I mean by that?                     ·8· ·any contract and broadly are compliant with the terms of
    ·9· · · · A.· ·Yes.                                                   ·9· ·those contracts so that you can keep getting those
    10· · · · Q.· ·Do you believe that you have a fiduciary duty          10· ·contracts, right?· In other words, you have an - you
    11· ·to the shareholders?                                             11· ·have a duty to make sure that GEO does what it says it's
    12· · · · · · ·MR. DONOHUE:· Object to the form.                      12· ·going to do when it contracts with a government partner?
    13· · · · · · ·THE WITNESS:· Yes.                                     13· · · · · · ·MR. DONOHUE:· Object to the form.
    14· ·BY MR. FREE:                                                     14· · · · · · ·THE WITNESS:· I think in my role and capacity
    15· · · · Q.· ·What in your understanding is that fiduciary           15· · · · that directing how certain parts of our company
    16· ·duty?                                                            16· · · · perform are just outside the scope of my authority.
    17· · · · · · ·MR. DONOHUE:· The same objection.                      17· ·BY MR. FREE:
    18· · · · · · ·THE WITNESS:· Well, I believe that, you know,          18· · · · Q.· ·Okay.
    19· · · · I have a responsibility of making sure that our             19· · · · A.· ·However, if people are seeking my advice or
    20· · · · company in my capacity as a business development            20· ·opinion I will certainly provide it to them.
    21· · · · executive that we're pursuing opportunities that            21· · · · Q.· ·What would it be on the specific issue of
    22· · · · would benefit our company.                                  22· ·whether GEO should as a general matter comply with its
    23· ·BY MR. FREE:                                                     23· ·contracts?
    24· · · · Q.· ·Is it your understanding as part of your               24· · · · · · ·MR. DONOHUE:· Object to the form.
    25· ·fiduciary duty that -- I'm going to ask it in two parts,         25· · · · · · ·THE WITNESS:· I believe we have to comply with

                                                                Page 34                                                                Page 36
    ·1· ·but I'm going to tell you the whole thing, okay? I               ·1· · · · our contracts, the terms and conditions.
    ·2· ·think -- Tell me if I'm wrong here.· I think that you at         ·2· ·BY MR. FREE:
    ·3· ·least have fiduciary duties to maximize profits and make         ·3· · · · Q.· ·Right.· Okay, are you familiar with the terms
    ·4· ·sure the shareholders make as much money as possible off ·4· ·and conditions of the Adelanto Detention Center's
    ·5· ·of their share from your activities.· Is that your               ·5· ·contract?
    ·6· ·understanding as well?                                           ·6· · · · A.· ·No.
    ·7· · · · · · ·MR. DONOHUE:· Object to the form.                      ·7· · · · Q.· ·Okay, have you ever seen the contract?
    ·8· · · · · · ·THE WITNESS:· Again I think my responsibility          ·8· · · · A.· ·I've seen pieces of it.
    ·9· · · · is to make sure that the opportunities we pursue            ·9· · · · Q.· ·Do you recall which pieces you've seen?
    10· · · · benefit our shareholders --                                 10· · · · A.· ·The first couple of pages.· Yeah, it's -- I
    11· ·BY MR. FREE:                                                     11· ·know it's a very lengthy contract so, no.
    12· · · · Q.· ·Financially?                                           12· · · · Q.· ·How long has it been since you looked at those
    13· · · · A.· ·-- and our company, yeah.                              13· ·couple of pages?
    14· · · · Q.· ·And that means profit, right?                          14· · · · A.· ·A few days ago.
    15· · · · · · ·MR. DONOHUE:· Object to the form.                      15· · · · Q.· ·Okay, was it in connection with your daily
    16· · · · · · ·THE WITNESS:· Yes.                                     16· ·activities or in preparation for this deposition?
    17· ·BY MR. FREE:                                                     17· · · · · · ·Please don't tell me anything that you talked
    18· · · · Q.· ·Okay, what other benefit would a shareholder           18· ·about with your lawyers.
    19· ·derive from your activities?                                     19· · · · A.· ·In preparation for this --
    20· · · · · · ·MR. DONOHUE:· Object to the form.                      20· · · · Q.· ·Okay.
    21· · · · · · ·THE WITNESS:· None come to mind right now.             21· · · · A.· ·-- testimony.
    22· ·BY MR. FREE:                                                     22· · · · Q.· ·All right.· Okay, but you have a -- As part of
    23· · · · Q.· ·Yeah, it's just money, right?                          23· ·your role at GEO you have a high level understanding of
    24· · · · · · ·MR. DONOHUE:· The same objection.                      24· ·the different types of immigration detention contracts
    25· · · · · · ·THE WITNESS:· Yes.                                     25· ·that exist; is that right?


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    ·1· · · · A.· ·Yes.                                                       ·1· ·words, if a service processing center is federally owned
    ·2· · · · Q.· ·Can you tell me what those types of contracts              ·2· ·and GEO is not the Federal Government and therefore does
    ·3· ·are.                                                                 ·3· ·not own any Federal facilities then you couldn't enter
    ·4· · · · A.· ·Well, there's two types of contracts.· There -             ·4· ·into a service processing center agreement?
    ·5· ·there's what we call a direct contract, and I don't know             ·5· · · · A.· ·That's not correct because --
    ·6· ·if that's the proper term, which is where an RFP is                  ·6· · · · Q.· ·Okay.
    ·7· ·issued, the government follows the Federal Acquisition               ·7· · · · A.· ·-- the operations, the transportation, the
    ·8· ·Regulations, we provide a response, they accept it or                ·8· ·medical, the food is all outsourced at NSPC, so
    ·9· ·reject it, if they accept it then we enter into                      ·9· ·potentially, yes, we could bid on any one of those
    10· ·negotiations and then a - a contract is finalized and                10· ·services should the government issue a procurement --
    11· ·executed and then there's a number of activities and                 11· · · · Q.· ·Okay.
    12· ·deliverables from that point forward in executing the                12· · · · A.· ·-- in which they have.
    13· ·contract.                                                            13· · · · Q.· ·And do you, in fact, provide any of those
    14· · · · · · ·The other is an intergovernmental service                  14· ·services at SPCs?
    15· ·agreement which I think is maybe covered by the FAR as               15· · · · A.· ·We do not.
    16· ·well, but that's - those are the only two types of                   16· · · · Q.· ·Okay, would those be REIT activities or non
    17· ·contracts I'm aware of.                                              17· ·REIT activities?
    18· · · · Q.· ·Within the first bucket, the direct contract,              18· · · · A.· ·Those would be non REIT activities we wouldn't
    19· ·it's my understanding that those are contracts that are              19· ·pursue.
    20· ·directly between GEO and ICE; is that right?                         20· · · · Q.· ·Why?
    21· · · · A.· ·That's correct.                                            21· · · · A.· ·Because we don't own the property.
    22· · · · Q.· ·And then the intergovernmental service                     22· · · · Q.· ·Okay, so what we're really talking about then
    23· ·agreements or IGSAs are contracts between GEO, ICE and 23· ·are contract detention facilities and IGSAs when we're
    24· ·some third-party; is that right?                                     24· ·talking about a detention contract as opposed to
    25· · · · A.· ·Correct.                                                   25· ·services contracts?

                                                                    Page 38                                                                 Page 40
    ·1· · · · Q.· ·And in the case of immigration detention                   ·1· · · · · · ·Let me clear this up and say it a different
    ·2· ·that's going to be a state or local government                       ·2· ·way.
    ·3· ·typically; is that right?                                            ·3· · · · · · ·The Adelanto ICE Processing Center is operated
    ·4· · · · A.· ·Correct.                                                   ·4· ·pursuant to an intergovernmental services agreement,
    ·5· · · · Q.· ·Anybody else who could be the third-party in               ·5· ·right?
    ·6· ·an IGSA?                                                             ·6· · · · A.· ·Correct.
    ·7· · · · A.· ·Not - not that I'm aware of.                               ·7· · · · Q.· ·It's not a contract detention facility?
    ·8· · · · Q.· ·Okay, and you can't think of any GEO contracts             ·8· · · · A.· ·We consider it a contract detention facility
    ·9· ·that don't involve an IGSA - GEO intergovernmental      ·9· ·because we own and operate that facility.· The mechanism
    10· ·services agreements, excuse me, that are not a state or 10· ·by which ICE is able to obtain our services is through
    11· ·local government contracting with ICE and GEO?                       11· ·the IGSA, but we consider it a contract detention
    12· · · · A.· ·Right.· I'm not aware of any.                              12· ·facility.
    13· · · · Q.· ·Now within the first category that you have                13· · · · Q.· ·And by we you mean GEO?
    14· ·described, direct contracts, can you tell me the                     14· · · · A.· ·Yeah.· Yes, GEO.
    15· ·difference between a service processing center and a                 15· · · · Q.· ·Okay, so you do not consider it an
    16· ·contract detention facility?                                         16· ·intergovernmental services agreement or you acknowledge
    17· · · · A.· ·A service processing center is typically a   17· ·that it's an intergovernmental services agreement but
    18· ·government - a Federal Government owned facility, so I 18· ·you treat it internally as a CDF?
    19· ·think they have four or five of those throughout the                 19· · · · A.· ·Correct.
    20· ·country and a contract detention facility is one that is             20· · · · Q.· ·The second one I said is right?
    21· ·privately owned.                                                     21· · · · A.· ·Treated as a CDF?
    22· · · · Q.· ·So the only part, if I understand your                     22· · · · Q.· ·Yeah.
    23· ·testimony correctly, the only one of those that GEO                  23· · · · A.· ·Yes.
    24· ·would compete for then is a contract detention facility;             24· · · · Q.· ·Understanding that there is this third-party
    25· ·is that right?· You couldn't -- If a service -- In other             25· ·Adelanto, right?


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    ·1· · · · A.· ·Uh-huh.· (Affirmative response).· Yes.                 ·1· ·just know that there's a process in place and we're
    ·2· · · · · · ·I'm sorry.                                             ·2· ·getting close to the end of the IGSA term, so --
    ·3· · · · Q.· ·You're doing great.                                    ·3· · · · Q.· ·I think I know what you mean when you say
    ·4· · · · · · ·Okay, do you have any understanding as to              ·4· ·bureaucracy, but I think you're talking about Federal
    ·5· ·whether Adelanto would be able to continue as an                 ·5· ·Government bureaucracy as opposed to GEO's bureaucracy?
    ·6· ·intergovernmental services agreement after the end of            ·6· ·Am I correct?
    ·7· ·this month?                                                      ·7· · · · A.· ·Correct.
    ·8· · · · · · ·MR. DONOHUE:· Object to the form.                      ·8· · · · Q.· ·Okay.
    ·9· · · · · · ·THE WITNESS:· Can you repeat the question?             ·9· · · · A.· ·Correct.
    10· ·BY MR. FREE:                                                     10· · · · Q.· ·It's probably a little easier to get contracts
    11· · · · Q.· ·Sure.                                                  11· ·done here than in the government I think just generally,
    12· · · · · · ·Do you have any understanding as to whether            12· ·right?
    13· ·the facility at Adelanto will be able to continue as an          13· · · · A.· ·Yes.
    14· ·intergovernmental services agreement after the end of            14· · · · Q.· ·Okay, do you know who's responsible within GEO
    15· ·this month?                                                      15· ·for the process that you've described that's underway to
    16· · · · · · ·MR. DONOHUE:· The same objection.                      16· ·figure out what the structure's going to be after
    17· · · · · · ·THE WITNESS:· So my understanding is that the          17· ·Adelanto pulls out?
    18· · · · City of Adelanto provided notice of termination to          18· · · · A.· ·I don't think I quite understand.· I mean I -
    19· · · · ICE, so the answer would be no.                             19· ·we have an individual in a department that administers
    20· ·BY MR. FREE:                                                     20· ·the contract and then you have operations that actually
    21· · · · Q.· ·No, you don't have any understanding or --             21· ·service - you know, provide the people and the - and the
    22· · · · A.· ·No.· I'm sorry.· No that it will not continue          22· ·transportation assets, et cetera, so there are different
    23· ·as an IGSA.                                                      23· ·components of GEO that will provide those activities and
    24· · · · Q.· ·In other words, if I understand your testimony         24· ·services, so depending on what you mean.
    25· ·and the structure correctly, it's going to have to be a          25· · · · Q.· ·Yeah, let me clarify.

                                                                Page 42                                                                   Page 44
    ·1· ·straight contract detention facility with a contract             ·1· · · · A.· ·Okay.
    ·2· ·directly between GEO and ICE if Adelanto's like                  ·2· · · · Q.· ·You said earlier there's a process that's
    ·3· ·withdrawal from the intergovernmental services agreement ·3· ·ongoing?
    ·4· ·actually happens?                                                ·4· · · · A.· ·Yes.
    ·5· · · · · · ·MR. DONOHUE:· Object to the form.                      ·5· · · · Q.· ·Okay, who to your understanding is in charge
    ·6· · · · · · ·THE WITNESS:· That would be correct.                   ·6· ·of that process for GEO?
    ·7· ·BY MR. FREE:                                                     ·7· · · · A.· ·That would be Amber Martin who's our head of
    ·8· · · · Q.· ·As - as you sit here today do you have any             ·8· ·Contract Administration.
    ·9· ·reason to believe that once Adelanto follows through on          ·9· · · · Q.· ·Okay, and she to the extent that there are
    10· ·its termination of the intergovernmental services                10· ·negotiations back and forth between GEO and ICE,
    11· ·agreement operations will stop at Adelanto?                      11· ·Miss Martin is the person who is the point of contact,
    12· · · · A.· ·Can you repeat that?                                   12· ·probably not exclusively, but she's the person who's
    13· · · · Q.· ·I'll just say it a different way.                      13· ·talking to ICE; is that right?
    14· · · · A.· ·Sure.                                                  14· · · · A.· ·That is correct.
    15· · · · Q.· ·Once Adelanto's out the facility's not going           15· · · · Q.· ·Okay, anybody else?
    16· ·to shut down, is it?                                             16· · · · A.· ·In her absence whoever she designates under
    17· · · · A.· ·I can't say that with absolute a hundred               17· ·her.
    18· ·percent certainty.                                               18· · · · Q.· ·Where does she work physically?
    19· · · · Q.· ·Okay, why not?                                         19· · · · A.· ·At the Boca Raton office.
    20· · · · A.· ·Because we don't have a contract in place with         20· · · · Q.· ·She's here in Florida?
    21· ·the Federal Government, with ICE.                                21· · · · A.· ·Yes.
    22· · · · Q.· ·What do you see as the impediments from your           22· · · · Q.· ·Okay, is there anybody regionally who would
    23· ·perspective to getting that contract, if any?                    23· ·serve underneath Miss Martin on - on these negotiations
    24· · · · A.· ·Bureaucracy.· I don't know what's going on             24· ·with ICE and GEO for whatever the next phase in the
    25· ·because I'm not involved in the - the negotiations. I            25· ·contract at Adelanto is?


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    ·1· · · · A.· ·No.· That's all performed out of the Boca                ·1· ·adjustment based on the change in the CBA terms and
    ·2· ·office.                                                            ·2· ·conditions, but I mean I'm not sure when that was, but I
    ·3· · · · Q.· ·Okay, have you been apprised of any                      ·3· ·know that was certainly an activity that required a
    ·4· ·discussions between Miss Martin and ICE regarding                  ·4· ·modification.
    ·5· ·Adelanto?                                                          ·5· · · · Q.· ·All right, and why do you know about that?
    ·6· · · · A.· ·I mean I'm aware that the process is not                 ·6· · · · A.· ·It came up in a --
    ·7· ·concluded.· I don't know the specifics and what they've            ·7· · · · · · ·MR. DONOHUE:· Objection.
    ·8· ·said to each other, but I just know it hasn't concluded.           ·8· · · · · · ·THE WITNESS:· -- in a business development
    ·9· · · · Q.· ·Do you have any idea what the rough annual               ·9· · · · meeting that was presented by our HR executive.
    10· ·revenues to GEO are from the current agreement?                    10· ·BY MR. FREE:
    11· · · · A.· ·I do not.                                                11· · · · Q.· ·What do you recall about that meeting?
    12· · · · Q.· ·Okay, do you know why the City of Adelanto               12· · · · A.· ·Well, just as it reported.· He reported that
    13· ·issued its termination notice?                                     13· ·the CBA had been successfully renegotiated and the terms
    14· · · · A.· ·I do not.                                                14· ·and conditions needed to be communicated to ICE.
    15· · · · Q.· ·Do you have any information as you sit here              15· · · · Q.· ·Do you have any understanding as you sit here
    16· ·today about the process that the City of Adelanto used             16· ·today about who is covered within the collective
    17· ·to issue that termination notice?                                  17· ·bargaining agreement and employed by GEO?
    18· · · · A.· ·I do not.                                                18· · · · A.· ·I do not.
    19· · · · Q.· ·Okay, and I think I know the answer to this,             19· · · · Q.· ·All right, if I told you it's just the guards,
    20· ·but I'm just going to ask, you, yourself, have not had             20· ·does that sound about right to you?
    21· ·any discussions with anybody in the City of Adelanto               21· · · · · · ·MR. DONOHUE:· Object to the form.
    22· ·about the termination of the contract; is that right?              22· · · · · · ·THE WITNESS:· It would make sense.
    23· · · · A.· ·That is correct.                                         23· ·BY MR. FREE:
    24· · · · Q.· ·Okay.· I'm going to hand you an exhibit that's           24· · · · Q.· ·Okay, do you think that the medical
    25· ·been marked as Exhibit One.· It's the contract.                    25· ·professionals would be subject to a collective

                                                                  Page 46                                                                   Page 48
    ·1· · · · · · ·MR. DONOHUE:· Yes.                                       ·1· ·bargaining agreement?
    ·2· ·BY MR. FREE:                                                       ·2· · · · · · ·MR. DONOHUE:· Object to the form.
    ·3· · · · Q.· ·This is the -- I'm going to represent to you             ·3· · · · · · ·THE WITNESS:· I don't know.
    ·4· ·that this is an intergovernmental services agreement               ·4· ·BY MR. FREE:
    ·5· ·entered into May of 2011 between the City of Adelanto              ·5· · · · Q.· ·Okay, do you remember anything else about that
    ·6· ·and GEO to perform functions that the City entered into            ·6· ·meeting?
    ·7· ·a contract with ICE to perform.· Now I understand that             ·7· · · · A.· ·No.
    ·8· ·this is not necessarily the end of the discussion                  ·8· · · · Q.· ·And who's the Human Resources person that told
    ·9· ·between these contracting parties.· In other words,                ·9· ·you about that?
    10· ·there may have been modifications to this contract.· Is            10· · · · A.· ·Chris Ryan.
    11· ·that your understanding as well?                                   11· · · · Q.· ·What's his title?
    12· · · · · · ·MR. DONOHUE:· Object to the form.                        12· · · · A.· ·Executive Vice-President of Human Resources.
    13· · · · · · ·THE WITNESS:· I believe there are                        13· · · · Q.· ·And when did that occur roughly, if you can
    14· · · · modifications to this, yes.                                   14· ·recall?
    15· ·BY MR. FREE:                                                       15· · · · A.· ·I don't know.
    16· · · · Q.· ·Okay, have you been involved in any of those             16· · · · Q.· ·Okay, as a result of the renegotiation of the
    17· ·contract modifications, if they happened, to this                  17· ·collective bargaining agreement you said GEO had to
    18· ·intergovernmental services agreement?                              18· ·notify ICE; is that right?
    19· · · · A.· ·No.                                                      19· · · · A.· ·Correct.
    20· · · · Q.· ·No.                                                      20· · · · Q.· ·Okay, do you know whether the collective
    21· · · · · · ·Okay, are you aware of any of the                        21· ·bargaining resulted in the members of the union getting
    22· ·modifications to this agreement that may have happened? 22· ·paid more or getting more benefits or whether they got
    23· · · · A.· ·I'm aware of a collective bargaining agreement           23· ·less benefits, fewer benefits?
    24· ·that was renegotiated between GEO and the union that               24· · · · · · ·MR. DONOHUE:· Object to the form.
    25· ·services Adelanto and that there was a request for an              25· · · · · · ·THE WITNESS:· I don't know the nature of the


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    ·1· · · · agreement.                                               ·1· ·that right?
    ·2· ·BY MR. FREE:                                                  ·2· · · · · · ·MR. DONOHUE:· Object to the form.
    ·3· · · · Q.· ·Okay.                                               ·3· · · · · · ·THE WITNESS:· Yes, we calculate a per diem
    ·4· · · · A.· ·No.                                                 ·4· · · · rate.
    ·5· · · · Q.· ·Did it increase or decrease GEO's costs?            ·5· ·BY MR. FREE:
    ·6· · · · A.· ·It would have increased.                            ·6· · · · Q.· ·So that the cost, the measure of the cost that
    ·7· · · · Q.· ·Do you have any understanding about whether         ·7· ·you're presenting to the government that they're then
    ·8· ·GEO sought help from ICE in covering those costs?             ·8· ·going to pay you at a flat rate, I think, is the per
    ·9· · · · · · ·MR. DONOHUE:· Object to the form.                   ·9· ·diem?· Do I have that basically right?
    10· · · · · · ·THE WITNESS:· We had requested a request for        10· · · · · · ·MR. DONOHUE:· Object to the form.
    11· · · · equitable adjustment.                                    11· · · · · · ·THE WITNESS:· That would -- Yes, that would --
    12· ·BY MR. FREE:                                                  12· ·BY MR. FREE:
    13· · · · Q.· ·Did it - did you get it?                            13· · · · Q.· ·Okay.
    14· · · · A.· ·I do not know.                                      14· · · · A.· ·-- be my understanding.
    15· · · · Q.· ·Okay.· All right, if you could please turn to       15· · · · Q.· ·Okay, tell me what's encapsulated in the per
    16· ·page - at the bottom.· It's page two, I believe.· At the      16· ·diem rate with a bed-day rate.· Can we use those things
    17· ·bottom says page 308.· Do you see that?                       17· ·interchangeably?
    18· · · · · · ·Okay, do you see in paragraph four facility         18· · · · A.· ·Yes.
    19· ·capacity the second to last line it says, "Costs              19· · · · Q.· ·Okay, so what's encapsulated in the per diem?
    20· ·reimbursed by the fixed per day per detainee payment          20· · · · · · ·MR. DONOHUE:· Object to the form.
    21· ·rate that is paid to GEO"?· Do you see where that is?         21· · · · · · ·THE WITNESS:· So that would include personnel
    22· · · · A.· ·Yes.                                                22· · · · costs, food costs, uniform costs, utilities. I
    23· · · · Q.· ·Okay, is this contract to the best of your          23· · · · mean it's a pretty exhaustive list of categories
    24· ·understanding a fixed cost contract?                          24· · · · that are required to run the facility and provide
    25· · · · A.· ·Yes.                                                25· · · · the services that we propose to include, you know,

                                                             Page 50                                                               Page 52
    ·1· · · · Q.· ·Okay, what does that mean?                          ·1· · · · equipment, copiers, desks, et cetera.
    ·2· · · · A.· ·That means all of the services that we              ·2· ·BY MR. FREE:
    ·3· ·proposed to ICE is included in the bed-day per diem, so       ·3· · · · Q.· ·When you say that we propose your - I think
    ·4· ·medical, food, guard services are all included in that.       ·4· ·you mean that GEO proposes to ICE; is that right?
    ·5· ·It's not billed separately.                                   ·5· · · · A.· ·Correct.
    ·6· · · · Q.· ·Are there other types of government contracts       ·6· · · · Q.· ·Okay, do you have a government website that
    ·7· ·apart from fixed costs contracts?                             ·7· ·you can look at and see a - a rate that the Federal
    ·8· · · · · · ·MR. DONOHUE:· Object to the form.                   ·8· ·Government sets for how much you should buy a desk for
    ·9· · · · · · ·THE WITNESS:· I - I don't understand.               ·9· ·or some of the other things that you've listed or do
    10· ·BY MR. FREE:                                                  10· ·you, GEO, go ahead and figure out what's the best, you
    11· · · · Q.· ·Do you know what a cost plus contract is?           11· ·know, cost we can get for a desk?
    12· · · · A.· ·I know what it is, yes.                             12· · · · A.· ·We figure that out.
    13· · · · Q.· ·Okay, what's your understanding of what a cost      13· · · · Q.· ·Okay, so that's not set?· Your costs in terms
    14· ·plus contract is?                                             14· ·of acquisition of what you need to do the contract
    15· · · · A.· ·A bed you can bill the client for the costs of      15· ·that's not set by the Federal Government, that's
    16· ·the services plus a profit or margin.                         16· ·something you as the contractor figure out and then
    17· · · · Q.· ·Is GEO's -- But you understand that that's not      17· ·present to the Federal Government?
    18· ·what this contract is.· This is a fixed cost contract,        18· · · · A.· ·Correct.
    19· ·right?                                                        19· · · · Q.· ·Is that right?
    20· · · · A.· ·I would agree.                                      20· · · · A.· ·Correct.
    21· · · · Q.· ·Okay, if I understand correctly, and help me        21· · · · Q.· ·Is it fair to say that part of your
    22· ·because this is, I think, part of your job, the way that      22· ·competitive advantage as a government contractor would
    23· ·you arrive at your proposal about the fixed costs that        23· ·be in figuring out the way to get the lowest cost on
    24· ·you're going to get is by calculating a per diem rate         24· ·certain items so that you can have the best bed-day
    25· ·and proposing it to the government counter party; is          25· ·rate?


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    ·1· · · · · · ·MR. DONOHUE:· Object to the form.              ·1· · · · Q.· ·Okay.
    ·2· · · · · · ·THE WITNESS:· Yeah, I would agree that we try  ·2· · · · A.· ·-- our field office.
    ·3· · · · to provide the - the lowest cost that would be      ·3· · · · Q.· ·Do you know whether the government website is
    ·4· · · · sufficient to provide the services or equipment     ·4· ·public and publicly accessible, or is it just available
    ·5· · · · that we propose to provide to the government.       ·5· ·to existing contractors?
    ·6· ·BY MR. FREE:                                             ·6· · · · A.· ·It's public.
    ·7· · · · Q.· ·Okay, do you have any understanding as to      ·7· · · · Q.· ·So any competitor can look at it?
    ·8· ·whether this contract was competitively bid?             ·8· · · · A.· ·Anyone.
    ·9· · · · A.· ·This was before my time --                     ·9· · · · Q.· ·Anyone?
    10· · · · Q.· ·Okay.                                          10· · · · A.· ·Yeah.
    11· · · · A.· ·-- so I don't know.                            11· · · · Q.· ·If you knew where to look?
    12· · · · Q.· ·Do you know since this contract was entered    12· · · · A.· ·Yeah.
    13· ·into in 2011 whether ICE has announced or, in fact,      13· · · · Q.· ·Yeah.
    14· ·re-competed this contract and solicited other bids to do 14· · · · · · ·Okay, is GEO actively preparing a response to
    15· ·the same thing?                                          15· ·the request for information?
    16· · · · A.· ·There was --                                   16· · · · A.· ·We prepared our response to the request for
    17· · · · · · ·MR. DONOHUE:· Object to the form.              17· ·information --
    18· · · · · · ·THE WITNESS:· There was recently a request for 18· · · · Q.· ·And --
    19· · · · information issued by ICE a few months ago about    19· · · · A.· ·-- and it was submitted.
    20· · · · bed space in that part of the - the state.· I think 20· · · · Q.· ·Okay, when?
    21· · · · it's for the entire state, so potentially this      21· · · · A.· ·In May.
    22· · · · facility could be part of a - a new procurement.    22· · · · Q.· ·All right, roughly what was the content of the
    23· ·BY MR. FREE:                                             23· ·response?
    24· · · · Q.· ·Do you recall when that request for            24· · · · A.· ·That we had a facility available in the City
    25· ·information went out approximately from ICE?             25· ·of Adelanto, that we had a facility available in

                                                              Page 54                                                           Page 56
    ·1· · · · A.· ·A couple months ago.                                 ·1· ·Bakersfield and that was it, yeah.· I mean those are the
    ·2· · · · Q.· ·Okay, so this year?                                  ·2· ·only two facilities we have that could meet those
    ·3· · · · A.· ·Yes.· This year.                                     ·3· ·requirements.
    ·4· · · · Q.· ·What else do you remember about it?                  ·4· · · · Q.· ·What else did you tell the government about
    ·5· · · · A.· ·Again they were seeking information, location,       ·5· ·that?
    ·6· ·capacity.· I think those were the two primary                  ·6· · · · · · ·MR. DONOHUE:· Object to the form.
    ·7· ·requisites, of capacity and location.                          ·7· · · · · · ·THE WITNESS:· Just the size, the location,
    ·8· · · · Q.· ·How did you find out about it?                       ·8· · · · when it would be available.
    ·9· · · · A.· ·It was issued through the government website.        ·9· ·BY MR. FREE:
    10· · · · Q.· ·How did you find out it was on the government        10· · · · Q.· ·And I believe the facilities that you would be
    11· ·website?                                                       11· ·referring to are basically out of a - in the Adelanto
    12· · · · A.· ·We have alert notices that let us know when a        12· ·Processing Center, both of which are in existence; is
    13· ·particular agency issues that type of activity.                13· ·that right?
    14· · · · Q.· ·Okay, I think you originally said for that           14· · · · A.· ·That is correct.
    15· ·part of the state and then you may have said also that         15· · · · Q.· ·Okay, so you don't have another facility in
    16· ·it could be the whole state.                                   16· ·Adelanto?
    17· · · · A.· ·Yeah, I think it's for the entire state, but         17· · · · A.· ·No.
    18· ·I'm not entirely sure.                                         18· · · · Q.· ·Okay.
    19· · · · Q.· ·Okay, do you know as you sit here today              19· · · · A.· ·No.
    20· ·whether it was for the Los Angeles field office or a           20· · · · Q.· ·All right, do you recall roughly the numbers
    21· ·different field office or whether it was simply the            21· ·of beds that ICE is looking to fill?
    22· ·State of California?                                           22· · · · A.· ·I do not.
    23· · · · A.· ·I don't recall --                                    23· · · · Q.· ·Do you have any idea as to whether ICE has
    24· · · · Q.· ·Yeah.                                                24· ·responded to your request for information?
    25· · · · A.· ·-- if it was --                                      25· · · · A.· ·They have not.


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    DAVID J. VENTURELLA· Volume I                                June 13, 2019
    NOVOA vs THE GEO GROUP                                              57–60
                                                              Page 57                                                               Page 59
    ·1· · · · Q.· ·What's the next step for ICE to take after           ·1· · · · · · ·The current contracts or future contracts?
    ·2· ·they've gotten your response?                                  ·2· ·BY MR. FREE:
    ·3· · · · A.· ·I would anticipate a request for proposal to         ·3· · · · Q.· ·Let me ask a better question.
    ·4· ·be issued.                                                     ·4· · · · A.· ·Okay.
    ·5· · · · Q.· ·Do you know approximately how long that takes        ·5· · · · Q.· ·Does the State of California impose any
    ·6· ·for ICE to do?                                                 ·6· ·limitations on private contracting with immigration
    ·7· · · · A.· ·Historically very long, so I - but I don't           ·7· ·detention to your understanding?
    ·8· ·know.                                                          ·8· · · · A.· ·Between the Federal Government and a private
    ·9· · · · Q.· ·What's very long in this time space?· Is it          ·9· ·provider, not to my knowledge.
    10· ·three months?· Is it a year?                                   10· · · · Q.· ·Okay, does the State of California impose any
    11· · · · A.· ·It could be years.                                   11· ·limitations on its own state and local governments in
    12· · · · Q.· ·Okay.                                                12· ·permitting sites, in other words, issuing permits to
    13· · · · A.· ·It could be years.                                   13· ·sites that will serve as Federal detention, private
    14· · · · Q.· ·Do you have any understanding as to whether          14· ·immigration detention sites --
    15· ·the Adelanto - The City of Adelanto's notice of                15· · · · · · ·MR. DONOHUE:· Objection.
    16· ·termination was a reason stated by ICE for submitting          16· ·BY MR. FREE:
    17· ·the request for information?                                   17· · · · Q.· ·-- as far as you understand?
    18· · · · A.· ·No, I do not know.                                   18· · · · · · ·MR. DONOHUE:· Sorry.
    19· · · · Q.· ·Okay, do you know whether they're related at         19· · · · · · ·Object to the form.
    20· ·all?                                                           20· · · · · · ·THE WITNESS:· My understanding that there is a
    21· · · · A.· ·I do not know.                                       21· · · · process in place for any activity related to the
    22· · · · Q.· ·Okay, do you know of any competitors in the          22· · · · siting of a - a detention facility for the purposes
    23· ·State of California who could meet the needs of ICE            23· · · · to hold immigration detainees.· I don't know if it
    24· ·potentially responsive to this request for information?        24· · · · prevents them, but I know there's a process.
    25· · · · A.· ·Yes.                                                 25· ·BY MR. FREE:

                                                           Page 58                                                          Page 60
    ·1· · · · · · ·MR. DONOHUE:· Object to the form.              ·1· · · · Q.· ·What else do you know about that?
    ·2· · · · · · ·THE WITNESS:· Yes.                             ·2· · · · A.· ·I think that's probably the key component of
    ·3· ·BY MR. FREE:                                             ·3· ·it, but --
    ·4· · · · Q.· ·Who?                                           ·4· · · · Q.· ·Okay, can you tell me what the process is or
    ·5· · · · A.· ·CoreCivic.                                     ·5· ·what you understand about the process?
    ·6· · · · Q.· ·How?                                           ·6· · · · A.· ·I think there's - there's a requirement to
    ·7· · · · · · ·MR. DONOHUE:· The same objection.              ·7· ·have two public hearings within a hundred and eighty
    ·8· · · · · · ·THE WITNESS:· They have a facility in          ·8· ·days before a decision is rendered.
    ·9· · · · California City that is currently leased to the     ·9· · · · Q.· ·A requirement for whom?· Who has to hold the
    10· · · · State of California, but potentially they could     10· ·hearings?
    11· · · · offer that to ICE.                                  11· · · · A.· ·The - the government entity.· I would assume
    12· ·BY MR. FREE:                                             12· ·it was the Planning Commission or the -- Whoever's
    13· · · · Q.· ·Where is California City just geographically?  13· ·responsible for permitting and granting those kind of
    14· ·Is it in Southern California or Northern California?     14· ·zoning variances, et cetera.
    15· · · · A.· ·I think it's central.                          15· · · · Q.· ·Do you know whether new contracts between
    16· · · · Q.· ·Okay, and it's currently leased to the State?  16· ·private immigration detention contractors and state and
    17· · · · A.· ·That's my understanding, yes.                  17· ·local governments are California - in California would
    18· · · · Q.· ·Do you know how many beds?                     18· ·be permissible under California law currently?
    19· · · · A.· ·Over two thousand.                             19· · · · · · ·MR. DONOHUE:· Object to the form.
    20· · · · Q.· ·Okay, do you have any understanding as to any  20· · · · · · ·THE WITNESS:· Can you repeat that?
    21· ·limitations in the State of California that could affect 21· ·BY MR. FREE:
    22· ·these contracts?                                         22· · · · Q.· ·Let me ask a better question.
    23· · · · · · ·MR. DONOHUE:· Object to the form.              23· · · · A.· ·Okay.
    24· · · · · · ·THE WITNESS:· Yeah, I'm not sure how to answer 24· · · · Q.· ·Do you know whether cities and counties could
    25· · · · that.                                               25· ·respond to this request for information under current


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    DAVID J. VENTURELLA· Volume I                                June 13, 2019
    NOVOA vs THE GEO GROUP                                              61–64
                                                               Page 61                                                           Page 63
    ·1· ·California law?                                                 ·1· ·whether it could essentially if you - if GEO does not
    ·2· · · · A.· ·I don't know.                                         ·2· ·get the contract whether ICE could fill its current
    ·3· · · · Q.· ·Okay, do you have any understanding as to             ·3· ·capacity by using this request for information?
    ·4· ·whether California law permits to your knowledge and            ·4· · · · · · ·Do you understand my question?
    ·5· ·understanding a city or a county or a jail to enter into        ·5· · · · · · ·MR. DONOHUE:· Well, I don't, so I --
    ·6· ·a new detention contract for ICE detention?                     ·6· · · · · · ·MR. FREE:· Okay, let me --
    ·7· · · · · · ·MR. DONOHUE:· Object to the form.                     ·7· · · · · · ·MR. DONOHUE:· -- object to the form.
    ·8· · · · · · ·THE WITNESS:· Enter into a new contract with          ·8· ·BY MR. FREE:
    ·9· · · · whom?                                                      ·9· · · · Q.· ·Let's try it again.
    10· ·BY MR. FREE:                                                    10· · · · · · ·So you don't know how many beds the RFI has,
    11· · · · Q.· ·With you.· With GEO.                                  11· ·right?
    12· · · · A.· ·I don't know.                                         12· · · · A.· ·I don't recall the specific number.
    13· · · · Q.· ·Okay, are you aware of anybody else who               13· · · · Q.· ·Do you know if it's a hundred or a thousand?
    14· ·submitted a request for information response?                   14· ·Any sort of order of magnitude?
    15· · · · A.· ·I -- No, I'm not.                                     15· · · · A.· ·I think it's over a couple thousand.
    16· · · · Q.· ·Okay, are you aware of any other competitor           16· · · · Q.· ·Okay, how many beds are at Adelanto right now?
    17· ·who could meet the needs laid out in the request for            17· · · · A.· ·The capacity is one thousand nine hundred and
    18· ·information by ICE apart from CoreCivic?                        18· ·forty.
    19· · · · A.· ·I do not.                                             19· · · · Q.· ·Okay, do you know as you sit here today
    20· · · · Q.· ·Okay, have you or anybody who works for you as 20· ·whether the RFI asks for more or less than
    21· ·far as you know had any direct conversations with ICE           21· ·nineteen-forty?
    22· ·about the request for information?                              22· · · · A.· ·It would be more than nineteen-forty.
    23· · · · A.· ·No.                                                   23· · · · Q.· ·Okay, do you know how much more?
    24· · · · · · ·MR. DONOHUE:· Okay, can we take a break?              24· · · · A.· ·I do not.
    25· · · · · · ·MR. FREE:· What time is it?                           25· · · · Q.· ·Okay, so help me understand.· You've submitted

                                                               Page 62                                                        Page 64
    ·1· · · · · · ·Yeah.· Sure.                                          ·1· ·a response to this request for information and you've
    ·2· · · · · · ·9:52.                                                 ·2· ·said we have two facilities, we have Mesa Verde and we
    ·3· · · · · · ·THE VIDEOGRAPHER:· We are going off the video ·3· ·have Adelanto, right?
    ·4· · · · record 9:52 a.m.                                           ·4· · · · A.· ·Correct.
    ·5· · · · · · ·(Whereupon, there was a brief recess observed)        ·5· · · · Q.· ·Okay, and those are the two facilities that we
    ·6· · · · · · ·THE VIDEOGRAPHER:· We are back on the record ·6· ·propose to use to meet the Agency's needs?
    ·7· · · · 10:08 a.m.                                                 ·7· · · · · · ·MR. DONOHUE:· Object to the form.
    ·8· ·BY MR. FREE:                                                    ·8· · · · · · ·THE WITNESS:· GEO proposed those two
    ·9· · · · Q.· ·Mr. Venturella, before our break we were              ·9· · · · facilities.
    10· ·talking about this request for information from ICE for         10· ·BY MR. FREE:
    11· ·immigration detention beds in California that GEO               11· · · · Q.· ·In response to the RFI?
    12· ·responded to in May.· I want to pick up with that               12· · · · A.· ·In response to the RFI.
    13· ·discussion if I can, okay?                                      13· · · · Q.· ·Okay, so approximately three hundred beds at
    14· · · · · · ·Was that for adult immigration detention?             14· ·Mesa Verde?· Do you know?
    15· · · · A.· ·Yes.                                                  15· · · · A.· ·Four.
    16· · · · Q.· ·Okay, it does not include any family detention        16· · · · Q.· ·Four hundred.
    17· ·centers to your knowledge?                                      17· · · · · · ·Okay, so you're talking a total of
    18· · · · A.· ·It does not.                                          18· ·twenty-three hundred and forty beds, right?
    19· · · · Q.· ·Okay, is - as you sit here today do you recall        19· · · · A.· ·Correct.
    20· ·approximately the number of beds ICE is looking to fill         20· · · · Q.· ·In two different places?
    21· ·with this contract?                                             21· · · · A.· ·Correct.
    22· · · · A.· ·I do not.                                             22· · · · Q.· ·Okay, do you know whether ICE asked for more
    23· · · · Q.· ·Do you know whether this request for                  23· ·than twenty-three forty in its RFI?
    24· ·information represents an increase in the total capacity        24· · · · A.· ·I don't recall the exact number.
    25· ·that ICE would have to detain people in California or           25· · · · Q.· ·Okay, as part of your preparation of the


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    ·1· ·response to the RFI did you conduct a business analysis          ·1· · · · Q.· ·Okay, do you have any idea what the - whether
    ·2· ·of how you would pay for the services that you're                ·2· ·GEO has already thought through what the per diem would
    ·3· ·offering to the government?                                      ·3· ·look like?
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                      ·4· · · · A.· ·We have not.
    ·5· · · · · · ·THE WITNESS:· I don't understand the question.         ·5· · · · Q.· ·Okay, and so I guess what I hear you saying,
    ·6· ·BY MR. FREE:                                                     ·6· ·and I really appreciate this answer is, you may have to
    ·7· · · · Q.· ·Do you know approximately -- Let me ask it a           ·7· ·take a lower per diem in order to get the contract --
    ·8· ·different way.                                                   ·8· · · · · · ·MR. DONOHUE:· Object.
    ·9· · · · · · ·Do you think it would increase or decrease             ·9· ·BY MR. FREE:
    10· ·GEO's revenues to get awarded whatever contract comes at 10· · · · Q.· ·-- in order to be competitive?· Is that what
    11· ·the end of this RFI, RFP process?                                11· ·you're implying here?
    12· · · · · · ·MR. DONOHUE:· Object to the form.                      12· · · · · · ·MR. DONOHUE:· Object to the form.
    13· · · · · · ·THE WITNESS:· That would be hard to determine          13· · · · · · ·THE WITNESS:· We would have to do an analysis
    14· · · · or to answer without knowing what the requirements          14· · · · and understand what the competition, the
    15· · · · would be of the - of the final RFP.                         15· · · · competitive landscape is and make a determination
    16· ·BY MR. FREE:                                                     16· · · · at some point what the per diem should be.
    17· · · · Q.· ·Okay, I'm not fully versed in all of your              17· ·BY MR. FREE:
    18· ·operations and so just help me understand, okay?                 18· · · · Q.· ·At this point I think the only competitor that
    19· ·Because this is not a gotcha or a trick.· None of these          19· ·you've told me about is CoreCivic.· Are there any
    20· ·are.· I'm just trying to understand.                             20· ·others?
    21· · · · · · ·I don't understand why a company would bid for         21· · · · A.· ·That's the only one I'm aware of at this
    22· ·a contract if they were going to make less on that               22· ·point.
    23· ·contract than what they're making now.· In other words,          23· · · · Q.·
    24· ·if my revenues as a company were going to go down by             24· ·
    25· ·entering into this new agreement unless I was going to           25· ·

                                                                Page 66                                                  Page 68
    ·1· ·eliminate the existing revenue altogether I probably     ·1· · · · · · ·MR. DONOHUE:·
    ·2· ·wouldn't bid that agreement.· Do you see what I'm        ·2· · · · · · ·THE WITNESS:·
    ·3· ·saying?· So my assumption would be that if GEO submitted ·3· · · ·
    ·4· ·a response to the RFI, it thought it - it probably       ·4· · · ·
    ·5· ·thinks it's going to make more money if it gets the      ·5· · · ·
    ·6· ·contract?                                                ·6· · · ·
    ·7· · · · · · ·MR. DONOHUE:· Object to the form.              ·7· · · ·
    ·8· · · · · · ·THE WITNESS:· I think that's an incorrect      ·8· · · ·
    ·9· · · · assumption.                                         ·9· · · ·
    10· ·BY MR. FREE:                                             10· · · ·
    11· · · · Q.· ·Okay.                                          11· · · ·
    12· · · · A.· ·In a competitive procurement to be competitive 12· ·BY MR. FREE:
    13· ·you might have to lower your per diem and therefore      13· · · · Q.· ·So there's one competitor, if I understand
    14· ·lower your revenues and profit to win.                   14· ·your testimony, and that's CoreCivic; is that right?
    15· · · · Q.· ·Okay, any other reasons that assumption would  15· · · · · · ·MR. DONOHUE:· Object to the form.
    16· ·be incorrect?                                            16· · · · · · ·THE WITNESS:· I only know of one competitor.
    17· · · · A.· ·No.                                            17· · · · There could be more.
    18· · · · · · ·MR. DONOHUE:· Object to the form.              18· ·BY MR. FREE:
    19· · · · · · ·Sorry.                                         19· · · · Q.· ·Who else could that be?
    20· ·BY MR. FREE:                                             20· · · · · · ·MR. DONOHUE:· Object to the form.
    21· · · · Q.· ·So you say in a competitive -- Would you call  21· · · · · · ·THE WITNESS:· It could be Management and
    22· ·this a bid structure at this point?· Would you call this 22· · · · Training Corporation, it could be LaSalle
    23· ·like you and CoreCivic, GEO and CoreCivic bidding for    23· · · · Corrections, and again I don't know if counties or
    24· ·this contract at this point or are we not there yet?     24· · · · other law enforcement, local law enforcement or
    25· · · · A.· ·We are not there yet.                          25· · · · state - law enforcement could participate in - in
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    ·1· · · · that procurement.· I just don't know.                     ·1· ·
    ·2· ·BY MR. FREE:                                                   ·2· · · · A.· ·
    ·3· · · · Q.· ·You don't know whether California or some            ·3· ·
    ·4· ·local governments could participate in its procurement?        ·4· ·
    ·5· · · · A.· ·I don't.                                             ·5·
    ·6· · · · Q.· ·Okay, so that's the competitor.                      ·6·
    ·7· · · · · · ·The location I think you told me was                 ·7· ·
    ·8· ·California City?· That's the one that you know about,          ·8· ·
    ·9· ·this two thousand bed facility that's currently leased         ·9·
    10· ·to the State of California?                                    10· ·
    11· · · · A.· ·Correct.                                             11·                                  .
    12· · · · Q.· ·The utility rates would be I think the same          12· · · · Q.· ·What else?
    13· ·for both companies.· Is there any reason that they             13· · · · A.· ·About?
    14· ·wouldn't?                                                      14· · · · Q.· ·Labor costs.
    15· · · · · · ·MR. DONOHUE:· Object to the form.                    15· · · · A.· ·I think that's - I think that's it.
    16· · · · · · ·THE WITNESS:· I don't know what the utility          16· · · · Q.· ·The prevailing wage rates that the Federal
    17· · · · rates would be in California City, so I - I don't         17· ·Government sets shouldn't change based on the
    18· · · · know.                                                     18· ·contractor, should they?
    19· ·BY MR. FREE:                                                   19· · · · A.· ·They change based on location.
    20· · · · Q.· ·Oh, okay.· So you're saying the utility rates        20· · · · Q.· ·Right.· Okay, but the company -- All things
    21· ·could be lower there than in Adelanto?                         21· ·being equal, if they're doing the same task like the
    22· · · · A.· ·Yes.                                                 22· ·same labor like job determination, let's call it a cook,
    23· · · · Q.· ·But those - both of those things would be            23· ·you know, one, so you're saying -- Let me back up.
    24· ·knowable to each company, right?                               24· · · · · · ·You're saying they could be different?· The
    25· · · · A.· ·Yes.                                                 25· ·Federal Government's prevailing wage rate could be

                                                              Page 70                                                              Page 72
    ·1· · · · · · ·MR. DONOHUE:· Object to the form.                    ·1· ·different in California City than Adelanto?
    ·2· ·BY MR. FREE:                                                   ·2· · · · A.· ·Correct.
    ·3· · · · Q.· ·You can't do like a private PG&E contract for        ·3· · · · Q.· ·Okay, do you know whether they are?
    ·4· ·your power bill, or do you know?· I don't know.                ·4· · · · A.· ·I do not.
    ·5· · · · A.· ·Not that I'm aware of.                               ·5· · · · Q.· ·All right, and is the same true about the
    ·6· · · · Q.· ·Okay, and the utilities, they're the rate,           ·6· ·State's determinations if any have been made?
    ·7· ·right?                                                         ·7· · · · · · ·MR. DONOHUE:· Object to the form.
    ·8· · · · A.· ·Right.                                               ·8· ·BY MR. FREE:
    ·9· · · · Q.· ·Okay, the same thing with taxes; is that             ·9· · · · Q.· ·That they could be different from --
    10· ·right?                                                         10· ·California could have a different prevailing rate in
    11· · · · · · ·MR. DONOHUE:· Object to the form.                    11· ·Adelanto than it does in --
    12· ·BY MR. FREE:                                                   12· · · · A.· ·I haven't done the analysis, so I don't know.
    13· · · · Q.· ·These things are known and knowable and              13· · · · Q.· ·
    14· ·they're equal to both competitors?                             14· ·
    15· · · · A.· ·Correct.                                             15·
    16· · · · Q.· ·California's not going to give you a better,         16· · · · · · ·MR. DONOHUE:·                          .
    17· ·you know, land - land tax rate?                                17· · · · · · ·THE WITNESS:·
    18· · · · · · ·You know what?· Forget it.                           18· · · ·
    19· · · · · · ·Did you say labor costs already?                     19· · · ·
    20· · · · A.· ·I did.                                               20· · · ·
    21· · · · Q.· ·Okay, so what would you think about when             21· · · ·
    22· ·you're talking about labor costs?                              22· · · ·
    23· · · · A.· ·What the hourly rate would be with the - for         23· · · ·
    24· ·the various positions to support a detention facility.         24· · · ·
    25· · · · Q.·                                                       25· · · ·
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    ·1· ·BY MR. FREE:                                                 ·1· ·Government?· Did I understand that testimony correctly?
    ·2· · · · Q.· ·I presume you know your costs at Adelanto,         ·2· · · · A.· ·Correct.
    ·3· ·right?                                                       ·3· · · · Q.· ·Okay, and I understand those not exhaustively,
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                  ·4· ·but I - you've talked about labor, right?
    ·5· · · · · · ·THE WITNESS:· I don't know all of the costs at     ·5· · · · A.· ·Yes.
    ·6· · · · Adelanto, but somebody in the company does.             ·6· · · · Q.· ·Okay, you talked about I'm going to call it
    ·7· ·BY MR. FREE:                                                 ·7· ·facility overhead.· I know that that's probably not what
    ·8· · · · Q.· ·GEO - GEO knows what the - the facility            ·8· ·you would use.· If there's another term that you would
    ·9· ·structure is, what the bond allegations are?· GEO has        ·9· ·use let me know, but when I'm talking about facility
    10· ·that information at its disposable, right?· At its           10· ·overhead I'm talking like the debt obligations of owning
    11· ·disposal, right?                                             11· ·it or having a bond on it.· That's what I understand
    12· · · · A.· ·Correct.                                           12· ·you're talking about when you're saying --
    13· · · · Q.· ·Okay, and so the thing that you're trying to       13· · · · A.· ·Yes.
    14· ·figure out if you're competing in this contract is what      14· · · · Q.· ·Yeah.
    15· ·are those factors that you described for California City     15· · · · · · ·Okay, and then we've got taxes and we've got
    16· ·in that facility, right?                                     16· ·like property taxes; is that right?
    17· · · · · · ·MR. DONOHUE:· Object to the form.                  17· · · · A.· ·Correct.· Yeah.
    18· · · · · · ·THE WITNESS:· California City or any --            18· · · · Q.· ·And utilities?
    19· ·BY MR. FREE:                                                 19· · · · A.· ·Correct.· Right.
    20· · · · Q.· ·Or any other competitor.                           20· · · · Q.· ·What else do you take into consideration when
    21· · · · A.· ·Yes.                                               21· ·you're building your model to make the most competitive
    22· · · · Q.· ·Okay, but we've only identified one, right?        22· ·bid to the Federal Government on behalf of your
    23· · · · · · ·MR. DONOHUE:· Object to the form,                  23· ·shareholders?
    24· · · · mischaracterizes --                                     24· · · · · · ·MR. DONOHUE:· Object to the form.
    25· · · · · · ·THE WITNESS:· As of --                             25· · · · · · ·THE WITNESS:· Again it's not my area of

                                                          Page 74                                                         Page 76
    ·1· · · · · · ·MR. DONOHUE:· -- asked and answered.           ·1· · · · expertise on what all of the categories are, but I
    ·2· · · · · · ·THE WITNESS:· As of now that's the only one I  ·2· · · · can say a lot of it is also going to be driven by
    ·3· · · · know, but we haven't initiated our analysis yet.    ·3· · · · the requirements of the RFP and right now those
    ·4· ·BY MR. FREE:                                             ·4· · · · aren't known to us, so it's hard to speculate what
    ·5· · · · Q.· ·Okay, when would you do that typically?· When  ·5· · · · else would we have to consider in - in building up
    ·6· ·would you initiate the analysis?· Would it be once the   ·6· · · · our - our costs, but again I'm just not the expert
    ·7· ·RFP goes out?                                            ·7· · · · on it.· This is not what I do at the company.
    ·8· · · · A.· ·When the RFP goes out.                         ·8· ·BY MR. FREE:
    ·9· · · · Q.· ·Okay.· All right, anything else that you would ·9· · · · Q.· ·Is that Miss Martin that you talked about
    10· ·take into consideration when you're thinking about how   10· ·earlier who would be primarily responsible for that or
    11· ·to submit to the Federal Government the most competitive 11· ·is it somebody else?
    12· ·bid if this RFI eventually gets to an RFP and you're     12· · · · A.· ·All pricing determinations would come out of
    13· ·trying to get the contract?· What else would you take    13· ·our CFO's office.
    14· ·into consideration?                                      14· · · · Q.· ·Who's that?
    15· · · · · · ·MR. DONOHUE:· Object to the form.              15· · · · A.· ·Who's our CFO?
    16· · · · · · ·THE WITNESS:· Can you repeat that?             16· · · · Q.· ·Uh-huh.
    17· ·BY MR. FREE:                                             17· · · · A.· ·Brian Evans.
    18· · · · Q.· ·Sure.                                          18· · · · Q.· ·And so when you say I'm not the expert on
    19· · · · · · ·So GEO's going to submit something to the      19· ·that, it's somebody else, it's Mr. Evans?
    20· ·Federal Government to try and get this contract is my    20· · · · A.· ·All of -- So he is responsible for that.
    21· ·understanding of what's going to happen; is that right?  21· ·Obviously he has -- I shouldn't say obviously.· He has
    22· · · · A.· ·Correct.                                       22· ·staff that have the appropriate backgrounds to help
    23· · · · Q.· ·Okay, and you've just described to me a number 23· ·determine the pricing and the cost, et cetera.
    24· ·of factors that GEO will consider and plug into a model  24· · · · Q.· ·Okay, have you personally seen GEO's model
    25· ·before it makes that submission to the Federal           25· ·that you would -- I think you said model earlier, right?


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    ·1· · · · A.· ·I -- No, I have not personally seen the model.    ·1· · · · · · ·MR. DONOHUE:· Object to the form.
    ·2· · · · · · ·You know, I think model is kind of used               ·2· · · · · · ·THE WITNESS:· Profit is a category.
    ·3· ·loosely.· I don't know what - all the algorithms and            ·3· ·BY MR. FREE:
    ·4· ·formulas that go into that so, no, I haven't seen --            ·4· · · · Q.· ·That's a factor in your model, right?
    ·5· · · · Q.· ·Okay.                                                 ·5· · · · A.· ·Correct.
    ·6· · · · A.· ·-- that.· I've seen a screen shot of the              ·6· · · · Q.· ·Okay, as it should be, right?· You're a
    ·7· ·categories or a printout of the categories, but I don't         ·7· ·publicly traded company?
    ·8· ·know all the math that goes behind it.                          ·8· · · · · · ·MR. DONOHUE:· Object to the form.
    ·9· · · · Q.· ·When you say the categories, are you talking          ·9· · · · · · ·THE WITNESS:· It's a consideration.
    10· ·about the inputs that we've discussed so far or                 10· ·BY MR. FREE:
    11· ·something else?                                                 11· · · · Q.· ·Okay, do you have any understanding right now
    12· · · · A.· ·It would be those - those inputs.                     12· ·whether -- I'm going to -- These next set of questions
    13· · · · Q.· ·Okay, and can you think of any other inputs           13· ·are going to be about Adelanto, okay, and I know that
    14· ·that would go into the - the model, for lack of a better        14· ·you're not an expert on that and you haven't reviewed
    15· ·word, that you've seen the screen shot of?                      15· ·more than a couple pages of the agreement, so if you
    16· · · · · · ·MR. DONOHUE:· Object to the form.                     16· ·don't know, you just tell me you don't know, okay?
    17· · · · · · ·THE WITNESS:· Again I just can't recall all of        17· · · · A.· ·Okay.
    18· · · · the categories.                                            18· · · · Q.· ·All right, do you have any understanding of
    19· ·BY MR. FREE:                                                    19· ·whether or not Adelanto if your assumptions about what
    20· · · · Q.· ·Okay, in addition to the prevailing wage              20· ·it's going to cost you, GEO, to provide the services to
    21· ·determinations and collective bargaining agreements do          21· ·the Federal Government are wrong, right, so, you know,
    22· ·you include as a labor cost nonexempt executive                 22· ·you've --
    23· ·compensation or administrators who might not have their 23· · · · A.· ·I'm sorry.· I didn't hear.
    24· ·salary or their wage determined by the Federal                  24· · · · Q.· ·Sure.· Okay, so I understand that you have a
    25· ·Government or the State Government?                             25· ·bed-day rate that you're paid by the Federal Government

                                                               Page 78                                                              Page 80
    ·1· · · · · · ·MR. DONOHUE:· Object to the form.                     ·1· ·as part of your contract?
    ·2· · · · · · ·THE WITNESS:· Can you be a little more                ·2· · · · A.· ·Uh-huh.· (Affirmative response)?
    ·3· · · · specific?                                                  ·3· · · · Q.· ·Yeah?
    ·4· ·BY MR. FREE:                                                    ·4· · · · · · ·And I understand it's a fixed price agreement?
    ·5· · · · Q.· ·Yeah.· Sure.                                          ·5· · · · A.· ·Yes.
    ·6· · · · · · ·So the Federal Government and the prevailing          ·6· · · · Q.· ·Not a cost plus agreement, not any other type
    ·7· ·wage sets, you know, wages for like various positions,          ·7· ·of agreements, a fixed price agreement, right?
    ·8· ·right?                                                          ·8· · · · A.· ·Correct.
    ·9· · · · A.· ·Correct.                                              ·9· · · · Q.· ·Okay, and I understand that to mean that you
    10· · · · Q.· ·All right, warden, an assistant warden are not        10· ·have calculated - GEO has calculated all of the costs
    11· ·within those wage rates, right?· GEO gets to figure out         11· ·that it's going to incur in order to meet the
    12· ·what it's going to pay those people?                            12· ·requirements that the Federal Government has set forth,
    13· · · · A.· ·I don't know if they are or aren't in those --        13· ·you figure that out and you've built it into your per -
    14· · · · Q.· ·Oh, okay.                                             14· ·your bed-day rate, right, and if your costs are more you
    15· · · · A.· ·-- DOL.                                               15· ·don't get to just as a matter of course pass those
    16· · · · Q.· ·Do you know the difference between exempt and 16· ·increased costs on to the Federal Government; is that
    17· ·nonexempt labor?                                        17· ·right?
    18· · · · A.· ·I don't.· I'm not a labor expert.                     18· · · · · · ·MR. DONOHUE:· Object to the form.
    19· · · · Q.· ·Fair enough.                                          19· · · · · · ·THE WITNESS:· That is correct.· If our model
    20· · · · · · ·I'm going to put the turtle on the table.             20· · · · was wrong we eat those costs.
    21· · · · · · ·MR. DONOHUE:· Oh, please don't.                       21· ·BY MR. FREE:
    22· ·BY MR. FREE:                                                    22· · · · Q.· ·Okay, so under a fixed price agreement if
    23· · · · Q.· ·Is profit one of the considerations that you          23· ·your - if you can find ways to say save like a dollar on
    24· ·put into the model when you're figuring out what - that         24· ·the - maybe like the clothing that you would procure for
    25· ·bed rate you're going to propose to the government?             25· ·the people who are there under what you thought then you


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    ·1· ·can really get more out of the per diem than what the          ·1· · · · A.· ·All of the contracts.
    ·2· ·expectation was, right?                                        ·2· · · · Q.· ·Are they in the text of the contract, these
    ·3· · · · · · ·MR. DONOHUE:· Object to the form.                    ·3· ·ceilings?
    ·4· · · · · · ·THE WITNESS:· Again if our cost estimates were       ·4· · · · A.· ·No.
    ·5· · · · high or low, yes, it would have an impact.                ·5· · · · Q.· ·How does the Federal Government set that
    ·6· ·BY MR. FREE:                                                   ·6· ·ceiling?
    ·7· · · · Q.· ·So if they're higher you eat the costs,              ·7· · · · A.· ·Through the -- Well, how do they set it? I
    ·8· ·conversely if they're lower you keep what the Federal          ·8· ·think it's set in the Federal Acquisition Regulations
    ·9· ·Government's giving you, right, under a fixed price            ·9· ·certain types of contracts that are permissible profit
    10· ·agreement?                                                     10· ·or profit margins, I don't know how that's defined
    11· · · · · · ·MR. DONOHUE:· Object to the form.                    11· ·there, and through the negotiation process through the
    12· · · · · · ·THE WITNESS:· Yes.                                   12· ·review of our proposal, cost proposal in particular they
    13· ·BY MR. FREE:                                                   13· ·will determine whether or not that profit is reasonable
    14· · · · Q.· ·Okay, so GEO will do everything it can I would       14· ·within the FAR.
    15· ·think in this round of procurement to make sure that           15· · · · Q.· ·Do you as you sit here today know what the
    16· ·you're able to ascertain as much as you can what               16· ·ceiling, if any, is at Adelanto on the acceptable level
    17· ·everything that you're going to give the government is         17· ·of profit that the Federal Government has set?
    18· ·going to cost GEO?                                             18· · · · A.· ·I don't know what the FAR ranges are.
    19· · · · · · ·MR. DONOHUE:· Object to the form.                    19· · · · Q.· ·Okay, so I think I understand your testimony
    20· · · · · · ·THE WITNESS:· We're certainly going to               20· ·to be that if I wanted to know what the Federal
    21· · · · validate the - the model to make sure that the cost       21· ·Government's using in setting that limit I could look at
    22· · · · is correct.                                               22· ·the Federal Acquisition Regulations; is that right?
    23· ·BY MR. FREE:                                                   23· · · · · · ·MR. DONOHUE:· Object to the form.
    24· · · · Q.· ·Okay, how would you validate the model?              24· · · · · · ·THE WITNESS:· That's where I would go.
    25· · · · A.· ·I don't know how they would validate the             25· ·BY MR. FREE:

                                                              Page 82                                                                 Page 84
    ·1· ·model.· Again it's just not my area of expertise, so --        ·1· · · · Q.· ·Okay.
    ·2· · · · Q.· ·All right, as a dumb guy when I think validate       ·2· · · · A.· ·Yes.
    ·3· ·the model I would think you figured out what it's going        ·3· · · · Q.· ·All right, do you know any facilities as you
    ·4· ·to cost you to buy soap.· GEO doesn't make soap, right,        ·4· ·sit here today where a profit ceiling is included in the
    ·5· ·so you're going to have to buy it from someone.· You           ·5· ·contract between GEO and ICE?
    ·6· ·figured out what it's going to cost you to buy soap and        ·6· · · · · · ·MR. DONOHUE:· Object to the form.
    ·7· ·you want to make sure that that cost is correct and            ·7· · · · · · ·THE WITNESS:· I'm not aware.
    ·8· ·validating the model would be just confirming that that        ·8· ·BY MR. FREE:
    ·9· ·is the actual price that it's going to cost us for soap,       ·9· · · · Q.· ·Okay.
    10· ·you know, as an input into this model.· Is that kind of        10· · · · · · ·Do you know whether GEO is still serving any
    11· ·what you're talking about?                                     11· ·debt obligations on its purchase of the Adelanto
    12· · · · · · ·MR. DONOHUE:· Object to the form.                    12· ·Detention Facility?
    13· · · · · · ·THE WITNESS:· I wouldn't - I wouldn't argue          13· · · · A.· ·I do not know.
    14· · · · with that.· I mean it's I'm sure one way of               14· · · · Q.· ·If GEO ends up having to spend more than it
    15· · · · validating.· I just don't know who does the               15· ·thought it was going to spend on any particular item,
    16· · · · validation, how they do it, what they compare             16· ·let's say the collective bargaining agreement, for
    17· · · · against.                                                  17· ·example, I believe you said they can seek an equitable
    18· ·BY MR. FREE:                                                   18· ·adjustment?· Are you -- Not about this specific
    19· · · · Q.· ·Okay, but someone at GEO does that?                  19· ·question, but there's an equitable adjustment process
    20· · · · A.· ·I'm sure there are many people that do that.         20· ·where you go back to the Federal Government and say it's
    21· · · · Q.· ·Okay, does the Federal Government as part of         21· ·going to cost us more, can we have more money?· Is that
    22· ·any of GEO's contracts set a ceiling on the profit             22· ·basically the way it works?
    23· ·margin the company can take?                                   23· · · · · · ·MR. DONOHUE:· Object to the form.
    24· · · · A.· ·Yes.                                                 24· · · · · · ·THE WITNESS:· There is a process to request a
    25· · · · Q.· ·Which contracts?                                     25· · · · rate adjustment.· I don't know all the


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    ·1· · · · circumstances that would trigger that, but there is    ·1· ·It's at the bottom here.· It's 480.
    ·2· · · · a process.                                             ·2· · · · A.· ·Oh.
    ·3· ·BY MR. FREE:                                             ·3· · · · Q.· ·
    ·4· · · · Q.· ·Okay, but unless the government agrees to pay  ·4·
    ·5· ·GEO more, GEO is going to receive the per diem rate that ·5· ·
    ·6· ·was proposed and agreed upon regardless of what GEO      ·6· ·
    ·7· ·actually ends up having to pay to deliver the service?   ·7· ·
    ·8· · · · · · ·MR. DONOHUE:· Object to the form.              ·8· · · · A.· ·
    ·9· · · · · · ·THE WITNESS:· Right.· The per diem rate is     ·9· · · · Q.· ·
    10· · · · what we would be paid.                              10· ·
    11· ·BY MR. FREE:                                             11· ·
    12· · · · Q.· ·Okay, so if costs go up or down to GEO again   12· · · · A.· ·
    13· ·you eat the up and you keep -- GEO eats the, you know, 13· · · · Q.· ·
    14· ·the increased costs and it keeps the benefit of the      14· · · · · · ·
    15· ·lower costs generally; is that right?                    15· ·
    16· · · · · · ·MR. DONOHUE:· Object to the form, asked and    16·
    17· · · · answered.                                           17·
    18· · · · · · ·THE WITNESS:· Correct.                         18· · · · · · ·MR. DONOHUE:·
    19· ·BY MR. FREE:                                             19· ·BY MR. FREE:
    20· · · · Q.· ·Okay, cool.                                    20· · · · Q.·
    21· · · · · · ·What is a blended per diem rate?               21· · · · A.· ·
    22· · · · A.· ·A blended per diem rate is - it's the - the    22· · · · Q.·
    23· ·guaranteed rate plus the incremental per diem, so if the 23· ·
    24· ·government decides to use the extra capacity the -       24· · · · · · ·THE VIDEOGRAPHER:·
    25· ·there's a different per diem rate for that and I believe 25· ·BY MR. FREE:

                                                          Page 86                                               Page 88
    ·1· ·you add the two, divide it and come up with a blended    ·1· · · · Q.· ·
    ·2· ·per diem rate.                                               ·2· ·
    ·3· · · · Q.· ·How does GEO determine the difference between ·3· ·
    ·4· ·what it's going to offer as the per diem, like the           ·4· ·
    ·5· ·guaranteed capacity and then the per diem for whatever       ·5· · · · A.· ·
    ·6· ·in addition that the government decides to use?              ·6· · · · Q.· ·
    ·7· · · · · · ·MR. DONOHUE:· Object to the form.                  ·7· ·
    ·8· · · · · · ·THE WITNESS:· That's all determined by the         ·8· ·
    ·9· · · · costs required to support the - the minimum             ·9· · · · A.· ·
    10· · · · guaranteed and all the services that we propose and     10· · · · Q.· ·
    11· · · · in the same for the incremental, so whatever costs      11· ·
    12· · · · are required to provide those services are factored     12· · · · A.· ·
    13· · · · in.                                                     13· · · · Q.· ·
    14· ·BY MR. FREE:                                                 14·
    15· · · · Q.· ·Okay, do you happen to know the blended per        15· ·
    16· ·diem at Adelanto?                                            16· · · · A.· ·
    17· · · · A.· ·I do not.                                          17· · · · Q.· ·
    18· · · · Q.· ·Do you know what the minimum bed guaranteed        18· ·
    19· ·cost is?                                                     19· · · · A.· ·
    20· · · · A.· ·The cost?                                          20· ·
    21· · · · Q.· ·The per diem, the minimum bed guaranteed per       21· ·
    22· ·diem rate.                                                   22·
    23· · · · A.· ·I do not.                                          23· ·
    24· · · · Q.· ·Okay, if you would please flip to page 480 on      24· ·
    25· ·the document in Exhibit One that's in front of you.          25· ·
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    ·1· ·                                                                   ·1· ·collective bargaining agreement between GEO and the
    ·2· · · · Q.· ·                                                         ·2· ·people who work there that might increase GEO's costs
    ·3· · · · A.· ·                                                         ·3· ·that is then going to need to be reflected in the - the
    ·4·                                                                     ·4· ·costs to GEO and therefore the bed-day rate.· Is that a
    ·5·                                                                     ·5· ·fair summarization of what's happening in this document?
    ·6· · · · Q.· ·Is it fair to say that either ICE or GEO could           ·6· · · · · · ·MR. DONOHUE:· Object to the form.
    ·7· ·initiate that change in per diem or try to initiate it             ·7· · · · · · ·THE WITNESS:· Your question again?
    ·8· ·if you're going to try and agree, so GEO could ask to              ·8· ·BY MR. FREE:
    ·9· ·increase the per diem or ICE could ask to reduce the per           ·9· · · · Q.· ·Do you recognize this document?
    10· ·diem?· Is that fair?                                               10· · · · A.· ·I don't.· It's the first time I've seen it.
    11· · · · · · ·MR. DONOHUE:· Object to the form.                        11· · · · Q.· ·Okay, do you know generally what this
    12· · · · · · ·THE WITNESS:· I don't think that the premise             12· ·government form, Standard Form 30 is?
    13· · · · is correct.· I mean there certainly is a process              13· · · · A.· ·By the title it's an amendment of the
    14· · · · that allows for GEO or a provider to initiate a               14· ·solicitation or modification of a contract.
    15· · · · request for an equitable adjustment and I would               15· · · · Q.· ·Who are the parties?
    16· · · · assume there's the same for the government to again 16· · · · A.· ·ICE and the City of Adelanto.
    17· · · · initiate GEO to submit a proposal for additional              17· · · · Q.· ·When you see in box two it says amendment
    18· · · · services or they could reduce services which could            18· ·modification number P19, do you see that?
    19· · · · impact the per diem as well.                                  19· · · · A.· ·Excuse me.· Yes.
    20· ·BY MR. FREE:                                                       20· · · · Q.· ·To me that means there's probably eighteen
    21· · · · Q.· ·So what part of the premise did you think was            21· ·modifications before that happens.· Is that what that
    22· ·incorrect in my question?                                          22· ·means to you?
    23· · · · A.· ·Well, I guess I just didn't completely                   23· · · · · · ·MR. DONOHUE:· Object to the form.
    24· ·understand where you're going with it, but there are               24· · · · · · ·THE WITNESS:· I do not know.
    25· ·prescribed processes in the FAR that allow either party            25· ·BY MR. FREE:

                                                           Page 90                                                                       Page 92
    ·1· ·to initiate.· For us it's a request I think on GEO.· On            ·1· · · · Q.· ·Okay, it's signed by the mayor on
    ·2· ·the Feds it would be not a request but you shall, but              ·2· ·October 28th, 2015.· That's box 15C.· Do you see that?
    ·3· ·I - again I know there is a process.                               ·3· · · · A.· ·I do.
    ·4· · · · Q.· ·Yeah?                                                    ·4· · · · Q.· ·So I understand this to mean that that's -
    ·5· · · · A.· ·Yeah.                                                    ·5· ·that's when this modification at least was signed by the
    ·6· · · · Q.· ·Just as a layperson it would seem to me that             ·6· ·City of Adelanto?· Is that your understanding of it as
    ·7· ·the only other option that GEO would have if the                   ·7· ·well?
    ·8· ·government says we're going to reduce your rate is,                ·8· · · · A.· ·That's what it appears to be.
    ·9· ·well, we don't want to do the contract anymore, right?             ·9· · · · Q.· ·Okay, and in box E14 - or excuse me - 14,
    10· · · · · · ·MR. DONOHUE:· Object to the form.                        10· ·description of amendment modification, do you see that?
    11· ·BY MR. FREE:                                                       11· · · · A.· ·Yes.
    12· · · · Q.· ·You're saying for the government it's not                12· · · · Q.· ·The, I guess, third line of text says, "The
    13· ·really a request?                                                  13· ·purpose of this modification is to incorporate the
    14· · · · · · ·MR. DONOHUE:· Object to the form.                        14· ·following:"· Have I read that right?
    15· · · · · · ·THE WITNESS:· If the government determines               15· · · · A.· ·Yes.
    16· · · · that they don't no longer need specific services              16· · · · Q.· ·
    17· · · · then we would have to adjust.                                 17·
    18· ·BY MR. FREE:                                                       18· ·
    19· · · · Q.· ·Okay, I'm going to hand you what we are                  19· ·
    20· ·marking as Exhibit Ten.                                            20· ·
    21· · · · · · ·(Whereupon, Exhibit 10 was marked)                       21· ·
    22· ·BY MR. FREE:                                                       22· ·
    23· · · · Q.· ·So Exhibit Ten is what I think you were                  23· ·
    24· ·talking about earlier or an example of what I think you            24· · · · A.· ·
    25· ·were talking about earlier when there's a different                25· · · · Q.· ·And the effective date looks like 9/1/2014.
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                                                                Page 93                                                 Page 95
    ·1· ·Do you see that?                                         ·1· · · · Q.· ·
    ·2· · · · A.· ·Yes.                                           ·2· · · · · · ·
    ·3· · · · Q.· ·It looks like it was signed on October 28th,   ·3· · · · · · ·
    ·4· ·2015.· When does the Federal fiscal year start?· What    ·4· ·
    ·5· ·date?                                                    ·5· ·
    ·6· · · · A.· ·October 1st.                                   ·6· ·
    ·7· · · · Q.· ·Okay.· All right, so you talked earlier about  ·7· · · · A.· ·
    ·8· ·you remembered there having been a modification based on ·8· · · · Q.· ·
    ·9· ·a collective bargaining agreement change.· I'm not       ·9· · · · A.· ·
    10· ·representing to you that that is that modification, but  10· · · · Q.· ·
    11· ·is this what you're talking about --                     11· · · · · · ·
    12· · · · · · ·MR. DONOHUE:· Object to the form.              12· ·
    13· ·BY MR. FREE:                                             13· ·
    14· · · · Q.· ·-- when you were thinking about changing the   14· ·
    15· ·bed-day rate based on this additional cost?              15· · · · A.· ·
    16· · · · A.· ·I mean this is the - the type of activity that 16· · · · Q.· ·
    17· ·would change it.                                         17· ·
    18· · · · Q.· ·Okay.· All right, and so this is GEO because   18· ·
    19· ·of the collective bargaining agreement and its           19·
    20· ·obligations under that agreement is going to increase    20· ·
    21· ·the detention - the pay of people in the CBA, right?     21· ·
    22· · · · · · ·MR. DONOHUE:· Object to the form.              22· · · · A.· ·
    23· · · · · · ·THE WITNESS:· Correct.                         23· · · · Q.· ·Okay, is this another example of a situation
    24· ·BY MR. FREE:                                             24· ·in which additional costs that GEO is going to have to
    25· · · · Q.· ·Okay, and then the bed-day rate is ICE and GEO 25· ·pay are resulting in an increase in the per diem rate so

                                                          Page 94                                                                Page 96
    ·1· ·are agreeing, or ICE and the City of Adelanto, which     ·1· ·you -- Do you understand my question?
    ·2· ·then GEO has assumed its obligations, are agreeing the           ·2· · · · · · ·MR. DONOHUE:· Object to the form.
    ·3· ·bed-day rate is going to increase; is that right?                ·3· · · · · · ·THE WITNESS:· I don't know who initiated the
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                      ·4· · · · request, but there was an agreement that the number
    ·5· · · · · · ·THE WITNESS:· Correct.                                 ·5· · · · of medical staff would increase therefore impacting
    ·6· ·BY MR. FREE:                                                     ·6· · · · the per diem rate.
    ·7· · · · Q.· ·Okay, so I'm going to hand you what we'll mark         ·7· ·BY MR. FREE:
    ·8· ·as Exhibit Eleven.                                               ·8· · · · Q.· ·Okay, so the more medical providers you have
    ·9· · · · · · ·(Whereupon, Exhibit 11 was marked)                     ·9· ·on site the more you're going to have to pay --
    10· · · · · · ·THE WITNESS:· Thank you.                               10· · · · · · ·MR. DONOHUE:· Object to --
    11· ·BY MR. FREE:                                                     11· ·BY MR. FREE:
    12· · · · Q.· ·This is another Standard Form 30 between it            12· · · · Q.· ·-- generally, right?
    13· ·looks like Immigration and Customs Enforcement in the            13· · · · · · ·MR. DONOHUE:· Object to the form.
    14· ·City of Adelanto under the GEO contract, right?                  14· · · · · · ·THE WITNESS:· Correct.
    15· · · · · · ·MR. DONOHUE:· Object to the form.                      15· ·BY MR. FREE:
    16· · · · · · ·THE WITNESS:· Yes.                                     16· · · · Q.· ·
    17· ·BY MR. FREE:                                                     17· ·
    18· · · · Q.· ·Okay, this - in box number two it says                 18· ·
    19· ·amendment modification number and it says P00003.· Do 19·
    20· ·you see that?                                                    20· · · · · · ·MR. DONOHUE:·
    21· · · · A.· ·Yes.                                                   21· · · · · · ·THE WITNESS:·
    22· · · · Q.· ·All right, it looks like it was signed box 16,         22· ·BY MR. FREE:
    23· ·see all the way on the bottom right on December 12th,            23· · · · Q.·
    24· ·2012?· Do you see that?                                          24· ·
    25· · · · A.· ·December 5th?                                          25· ·
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                                                               Page 97                                                          Page 99
    ·1· ·                                                         ·1· ·
    ·2· · · · A.· ·                                               ·2· · · · A.· ·
    ·3· · · · Q.· ·Okay.                                          ·3· · · · Q.· ·
    ·4· · · · · · ·MR. FREE:· This is going to be marked Twelve,  ·4· ·
    ·5· · · · Exhibit Twelve.                                     ·5· ·
    ·6· · · · · · ·(Whereupon, Exhibit 12 was marked)             ·6· ·
    ·7· ·BY MR. FREE:                                             ·7· · · · A.· ·
    ·8· · · · Q.· ·I don't know why they did this, but in Exhibit ·8· · · · Q.· ·
    ·9· ·Eleven it references P00004 in box 14 and I think that   ·9· · · · A.· ·
    10· ·that's this.· I think that's this document, okay?        10· · · · Q.· ·
    11· · · · A.· ·I'm sorry.· Which?                             11· · · · A.· ·
    12· · · · Q.· ·Yeah, let me show you.                         12· · · · Q.· ·                  .
    13· · · · · · ·So if you look back at Exhibit Eleven, the one 13· · · · A.· ·
    14· ·we looked at just a second ago --                        14· · · · Q.· ·
    15· · · · A.· ·Okay.                                          15· · · · A.·
    16· · · · Q.· ·-- and you look at paragraph -- Box 14.· Do    16· · · · Q.·
    17· ·you see in accordance with IGSA modification P00004? 17· ·
    18· · · · A.· ·Yes.                                           18· ·
    19· · · · Q.· ·Okay, this is P0004 I'm going to represent to  19· · · · A.· ·
    20· ·you that you're sitting and that you're looking at, and  20· · · · Q.· ·
    21· ·so we're going to look at Exhibit Twelve now.            21· ·
    22· · · · · · ·Do you see in box - box 12 on the first page   22· ·
    23· ·it says, "This supplemental agreement is entered         23· · · · A.· ·
    24· ·pursuant to the authority of" and it just has a check    24· · · · Q.· ·
    25· ·box and it says "Mutual agreement."· Do you see that? 25· ·

                                                               Page 98                                                        Page 100
    ·1· · · · A.· ·Yes.                                                  ·1· · · · A.· ·
    ·2· · · · Q.· ·All right, I understand this to mean that the         ·2· · · · Q.· ·
    ·3· ·parties to the contract have all agreed to this                 ·3· ·
    ·4· ·modification.· Do you have the same understanding?              ·4· ·
    ·5· · · · · · ·MR. DONOHUE:· Object to the form.                     ·5· ·
    ·6· · · · · · ·THE WITNESS:· Yes.                                    ·6· · · · A.· ·
    ·7· ·BY MR. FREE:                                                    ·7· · · · Q.· ·
    ·8· · · · Q.· ·Okay, and it appears to me in box 14 that             ·8· ·
    ·9· ·there's several modifications that are being included,          ·9· ·
    10· ·and I'll tell you why that is what I'm seeing.· I'm             10· ·
    11· ·seeing to change the bed-day rate, this is a quote, so          11· ·
    12· ·to change the bed -- Do you see where I'm reading?              12· ·
    13· ·Where it starts A to change the bed-day rate.                   13· ·
    14· · · · A.· ·Yes.                                                  14· ·
    15· · · · Q.· ·                                                      15· · · · · · ·MR. DONOHUE:·
    16· ·                                                                16· · · · · · ·THE WITNESS:·
    17· ·                                                                17· · · ·
    18· ·                                                                18· · · ·
    19· · · · A.· ·                                                      19· ·BY MR. FREE:
    20· · · · Q.· ·                                                      20· · · · Q.· ·And as a consequence GEO was going to have to
    21· · · · A.· ·                                                      21· ·incur more costs to pay those people; is that right?
    22· · · · Q.· ·                                                      22· · · · A.· ·Yes.
    23· ·                                                                23· · · · Q.· ·And consequently their per day value the per
    24· ·                                                                24· ·diem rate would increase for GEO, right?
    25· ·                                                                25· · · · A.· ·Correct.
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                                                              Page 101                                      Page 103
    ·1· · · · Q.· ·And then GEO and ICE agreed to increase the           ·1· ·
    ·2· ·contracts per day rates; is that right?                         ·2· ·
    ·3· · · · A.· ·Correct.                                              ·3· · · · A.· ·
    ·4· · · · Q.· ·Okay, so the - the -- Okay.· All right.               ·4· · · · Q.· ·
    ·5· · · · · · ·I'm going to hand you a document that we'll           ·5· ·
    ·6· ·mark as Exhibit Thirteen.                                       ·6· · · · A.· ·
    ·7· · · · · · ·(Whereupon, Exhibit 13 was marked)                    ·7· · · · Q.· ·
    ·8· ·BY MR. FREE:                                                    ·8· ·
    ·9· · · · Q.· ·This is another Standard Form 30.· In box 2 it        ·9· ·
    10· ·reads the amendment modification number is P00020.· Do 10· ·
    11· ·you see that?                                                   11· · · · A.· ·
    12· · · · A.· ·Yes.                                                  12· · · · Q.· ·
    13· · · · Q.· ·Did I read that correctly?                            13· · · · · · ·
    14· · · · A.· ·Yes.                                                  14· ·
    15· · · · Q.· ·Then if we look at box 13 or field 13 it              15· ·
    16· ·says - there's a checkmark by bilateral mutual agreement        16· ·
    17· ·of both parties.· Do you see where I've read that?              17· ·
    18· · · · A.· ·Yes.                                                  18· · · · · · ·MR. DONOHUE:·   .
    19· · · · Q.· ·                                                      19· · · · · · ·THE WITNESS:·       .
    20· ·                                                                20· ·BY MR. FREE:
    21· ·                                                                21· · · · Q.· ·
    22· ·                                                                22·
    23· ·                                                                23· ·
    24· ·                                                                24· · · · A.· ·
    25· ·                                                                25· · · · Q.· ·

                                                              Page 102                                      Page 104
    ·1· · · · A.· ·                                                      ·1· ·
    ·2· · · · Q.· ·                                                      ·2· ·
    ·3· · · · A.· ·                                                      ·3· · · · · · ·
    ·4· · · · · · ·                                                      ·4· ·
    ·5· · · · Q.· ·           .                                          ·5· ·
    ·6· · · · · · ·                                                      ·6· · · · A.· ·
    ·7· ·                                                                ·7· · · · Q.· ·
    ·8· ·                                                                ·8· · · · A.· ·
    ·9· ·                                                                ·9· · · · Q.· ·
    10·                                                                  10· ·
    11· ·                                                                11· ·
    12· · · · A.· ·                                                      12· ·
    13· · · · Q.· ·                                                      13· · · · A.· ·
    14· · · · A.· ·                                                      14· · · · Q.· ·                        .
    15· · · · Q.· ·                                                      15· ·
    16·                                                                  16· · · · A.· ·
    17· ·                                                                17· · · · Q.· ·
    18· · · · A.· ·                                                      18· ·
    19· · · · Q.· ·                                                      19· ·
    20· ·                                                                20· ·
    21·                                                                  21· ·
    22· ·                                                                22· · · · · · ·MR. DONOHUE:·
    23· · · · A.· ·                                                      23· · · · · · ·THE WITNESS:·
    24· · · · Q.·                                                        24· · · ·
    25· ·                                                                25· ·BY MR. FREE:
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                                       Page 105                         Page 107
    ·1· · · · Q.· ·                               ·1· ·
    ·2· · · · A.·                                 ·2· ·
    ·3·                                           ·3· ·
    ·4· ·                                   .     ·4· ·
    ·5· · · · Q.· ·                               ·5· ·
    ·6· ·                                         ·6· · · · A.· ·
    ·7· ·                                         ·7· · · · Q.· ·
    ·8· · · · A.·                                 ·8· ·
    ·9· · · · Q.· ·                               ·9· ·
    10· · · · A.· ·                               10· · · · A.· ·
    11· · · · Q.· ·                               11· · · · Q.· ·
    12· · · · · · ·                               12· ·
    13· · · · A.· ·                               13· · · · A.· ·
    14· · · · Q.· ·                               14· · · · Q.· ·
    15· ·                                         15·
    16·                                           16· · · · A.· ·
    17· · · · A.· ·                               17· · · · Q.· ·
    18· · · · Q.· ·                               18· · · · A.· ·
    19· ·                                         19· · · · Q.· ·
    20· · · · A.· ·                               20· ·
    21· · · · Q.· ·                               21· ·
    22· ·                                         22· · · · A.· ·
    23· · · · · · ·MR. DONOHUE:·                  23· · · · Q.· ·
    24· ·BY MR. FREE:                             24· ·
    25· · · · Q.·                                 25· · · · · · ·

                                       Page 106                         Page 108
    ·1· ·                                         ·1· ·
    ·2· ·                                         ·2· ·
    ·3· · · · A.· ·                               ·3· · · · A.· ·
    ·4· · · · Q.· ·                .              ·4· · · · Q.· ·
    ·5· · · · A.· ·                               ·5· · · · A.· ·
    ·6· · · · Q.· ·                               ·6· · · · Q.· ·
    ·7· ·                                         ·7· ·
    ·8· ·                                         ·8· · · · A.· ·
    ·9· ·                                         ·9· · · · Q.· ·   .
    10· ·                                         10· · · · A.· ·
    11· ·                                         11· · · · Q.· ·
    12· ·                                         12· · · · A.· ·
    13· · · · A.· ·                               13· · · · Q.· ·
    14· · · · Q.· ·   .                           14· ·
    15· · · · A.· ·                               15· ·
    16· · · · Q.· ·                               16· ·
    17· ·                                         17· ·
    18· ·                                         18· · · · A.· ·
    19·                                           19· · · · Q.· ·
    20· · · · A.· ·                               20· ·
    21· · · · Q.· ·                               21· ·
    22· · · · · · ·                               22· ·
    23· ·                                         23· ·
    24· · · · A.· ·                               24· ·                     ,
    25· · · · Q.· ·                               25· ·
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                                                         Page 109                                                          Page 111
    ·1· ·                                                           ·1· ·staffing plan address?
    ·2· ·                                                           ·2· · · · · · ·MR. DONOHUE:· Object to the form.
    ·3· · · · A.· ·                                                 ·3· · · · · · ·THE WITNESS:· Which program?
    ·4· · · · Q.·                                                   ·4· ·BY MR. FREE:
    ·5· ·                                                           ·5· · · · Q.· ·Yeah, so, you know, we've been talking about
    ·6· ·                                                           ·6· ·these categories.· You've got food service, you've got
    ·7· ·                                                           ·7· ·recreation, you've got medical.· Which category is this?
    ·8· · · · A.· ·                                                 ·8· · · · A.· ·This would be the security staff or the
    ·9· · · · · · ·                                                 ·9· ·detention officers.
    10· · · · Q.· ·                                                 10· · · · Q.·
    11· · · · A.· ·                             .                   11·
    12· · · · Q.· ·                                                 12· ·
    13· · · · · · ·                                                 13· · · · A.· ·
    14· ·                                                           14· · · · Q.· ·
    15· ·                                                           15·
    16· ·                                                           16· ·
    17· · · · A.· ·                                                 17· · · · · ·
    18· · · · Q.· ·                                                 18· · · · A.· ·
    19· ·                                                           19· · · · Q.· ·
    20· ·                                                           20· · · · A.· ·
    21· · · · A.· ·                                                 21· · · · Q.· ·
    22· · · · Q.· ·                                                 22· · · · A.· ·
    23·                                                             23· · · · Q.· ·
    24· ·                                                           24· · · · A.· ·
    25·                                                             25· · · · Q.· ·

                                                         Page 110                                                       Page 112
    ·1· · · · A.· ·                                                 ·1· · · · A.· ·
    ·2· · · · Q.·                                                   ·2· · · · Q.· ·
    ·3·                                                             ·3· ·
    ·4· · · · A.· ·                                                 ·4· ·
    ·5· · · · Q.· ·                                                 ·5· ·
    ·6· · · · · · ·                                                 ·6· · · · A.· ·
    ·7· ·                 .                                         ·7· · · · Q.· ·
    ·8· · · · · · ·                                                 ·8· ·
    ·9· ·                                                           ·9· ·
    10· ·                                                           10· ·
    11· · · · A.· ·                                                 11· ·
    12· · · · Q.· ·                                                 12· · · · A.· ·
    13· ·                                                           13· · · · Q.· ·
    14· · · · A.· ·                                                 14· ·
    15· · · · Q.· ·                                                 15· ·
    16·                                                             16· · · · A.·
    17· · · · A.· ·                                                 17· · · · Q.·
    18· · · · Q.· ·                                                 18· · · · · · ·
    19· · · · A.· ·                                                 19· ·
    20· · · · Q.· ·Okay, so then we have - we have what I think     20· ·
    21· ·is the difference between these two plans, and you'll      21· · · · A.· ·
    22· ·correct me if I'm wrong, if you look at the minimum plan   22· · · · Q.· ·
    23· ·on page 1838 it's cell G134.· Do you see it?               23· ·
    24· · · · A.· ·Yes.                                             24· ·
    25· · · · Q.· ·Which - which program does this part of the      25· · · · · · ·MR. DONOHUE:· Object to the form.
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    DAVID J. VENTURELLA· Volume I                                June 13, 2019
    NOVOA vs THE GEO GROUP                                             113–116
                                                              Page 113                                                                 Page 115
    ·1· ·BY MR. FREE:                                                    ·1· ·and provide a - a price to it for them to review and
    ·2· · · · Q.· ·Why -- I'll ask a different question.                 ·2· ·accept or negotiate to another - to another amount or
    ·3· · · · · · ·Why are the - the detention officers higher           ·3· ·reject it.
    ·4· ·for the second plan?                                            ·4· · · · Q.· ·How does GEO determine the additional level of
    ·5· · · · · · ·MR. DONOHUE:· The same objection.                     ·5· ·people that you would need based on the additional
    ·6· · · · · · ·THE WITNESS:· Because you - as you bring on           ·6· ·capacity when you're making these proposals to ICE?
    ·7· · · · more detainees you bring on or activate more pods          ·7· ·Like what factors does GEO take into consideration?
    ·8· · · · or dorms and so whether you have one detainee or           ·8· · · · · · ·MR. DONOHUE:· Object to the form.
    ·9· · · · five hundred in there you need a certain number of         ·9· · · · · · ·THE WITNESS:· It depends on the size of the -
    10· · · · officers to staff it, so it's based on the physical        10· · · · of the unit, it depends on the configuration.· It
    11· · · · plant and the number of staff needed to - to manage        11· · · · would also determine what kind of services, the
    12· · · · that particular unit.· I'm assuming it -- Excuse           12· · · · classification of the detainees, et cetera.· You
    13· · · · me.                                                        13· · · · know, it's a number of factors that we consider in
    14· · · · · · ·These are dorm units or beds where they -             14· · · · determining the appropriate number of staff to
    15· · · · where they sleep and spend most of their days, so          15· · · · support a housing unit.
    16· · · · as you activate those you need officers to staff           16· ·BY MR. FREE:
    17· · · · it.                                                        17· · · · Q.· ·Is that determination as far as you know
    18· · · · · · ·Like I said, whether it's one or sixty-four in        18· ·something that varies from contractor to contractor?· In
    19· · · · there you still need the same number of officers,          19· ·other words, does GEO make a determination based on its
    20· · · · so you can't pull officers from another unit to go         20· ·experience and present that determination to ICE for an
    21· · · · staff it.                                                  21· ·agreement that could be different than CoreCivic, for
    22· ·BY MR. FREE:                                                    22· ·example?
    23· · · · Q.· ·The officers can't do double duty on one unit         23· · · · · · ·MR. DONOHUE:· Object to the form.
    24· ·and another is what you're saying, right?                       24· · · · · · ·THE WITNESS:· I don't know what CoreCivic, how
    25· · · · A.· ·Correct.                                              25· · · · they developed their staffing models.

                                                             Page 114                                                                  Page 116
    ·1· · · · Q.· ·Okay, so if you're going to have - you said        ·1· ·BY MR. FREE:
    ·2· ·they're - you're going to open different pods?· Did I           ·2· · · · Q.· ·You don't?
    ·3· ·understand that right?· What did you mean when you said ·3· · · · A.· ·I don't.· No, I don't.
    ·4· ·pods, the additional pods?                                      ·4· · · · Q.· ·You couldn't reverse engineer it?
    ·5· · · · A.· ·Well, I'm assuming as you increase the                ·5· · · · A.· ·I don't know.· I haven't seen their staffing
    ·6· ·capacity you're going to have to house detainees in the         ·6· ·plan, so I don't know if I could or could not, but we
    ·7· ·housing units that are now currently idle and when you          ·7· ·don't have a need to.· We - we provide our proposal
    ·8· ·do that you have to add the appropriate number of staff.        ·8· ·based on like I said a number of factors to include the
    ·9· · · · Q.· ·Why?                                                  ·9· ·facility layout and that's up to ICE to accept or not.
    10· · · · A.· ·One, because those are the requirements of the        10· · · · · · ·MR. DONOHUE:· Okay, can we take a break and
    11· ·contract.· You need to provide safety and security and          11· · · · let him clear up his throat?
    12· ·all the other services that we proposed to provide to           12· ·BY MR. FREE:
    13· ·ICE that they agreed to.                                        13· · · · Q.· ·Do you need a break?
    14· · · · Q.· ·By we you're talking about GEO, right?                14· · · · A.· ·How much longer are we going to go?
    15· · · · A.· ·Correct.                                              15· · · · · · ·MR. DONOHUE:· Let's take a break.
    16· · · · Q.· ·Okay, and did I understand you to mean that           16· · · · · · ·THE WITNESS:· Okay.
    17· ·when you said the requirements of the contract what do          17· · · · · · ·MR. FREE:· So you're asking for a break?
    18· ·you mean?                                                       18· · · · · · ·MR. DONOHUE:· Yeah.
    19· · · · A.· ·There are specific requirements that are              19· · · · · · ·THE VIDEOGRAPHER:· We are going off the video
    20· ·outlined in - in an RFP and any modifications after that        20· · · · record 11:17 a.m.
    21· ·that say you shall do this or you shall do that and you         21· · · · · · ·(Whereupon, there was a brief recess observed)
    22· ·propose to GEO how you're going to implement that, how 22· · · · · · ·THE VIDEOGRAPHER:· We are back on the video
    23· ·would you manage that, how would you staff that and so          23· · · · record 11:27 a.m.
    24· ·as a result of those requirements we'll provide whether         24· ·BY MR. FREE:
    25· ·it's additional personnel or other services back to ICE         25· · · · Q.· ·Okay, Mr. Venturella, prior to the break to


                                                                                                             800.211.DEPO (3376)
                                                                                                             EsquireSolutions.com                 YVer1f
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    ·1· ·attend to your allergies, and again if you need a break    ·1· · · · A.· ·Yes.
    ·2· ·just let us know, okay?                                       ·2· · · · Q.· ·And then 118 through 121 looks like the new
    ·3· · · · A.· ·Thank you.                                          ·3· ·west expansion housing.· Do you see that?
    ·4· · · · Q.· ·                                                    ·4· · · · A.· ·Yes.
    ·5· ·                                                              ·5· · · · Q.· ·All right, but then -- So those are the pods
    ·6· ·                                                              ·6· ·you're talking about, I think, is that fair?
    ·7· ·                                                              ·7· · · · A.· ·Housing units.
    ·8· · · · · ·                                                      ·8· · · · Q.· ·Yeah.
    ·9· ·                                                              ·9· · · · A.· ·Sure.
    10· ·                                                              10· · · · Q.· ·Okay, but then you also have other things.
    11· ·                                                              11· ·You have the recreation yard -- I'm on page 1838 -- And
    12· ·                                                              12· ·GEO has the recreation yard in row 122, GEO has a guard
    13· ·                                                              13· ·or some staffing for the intake and release area in 123.
    14· ·                                                              14· ·Do you see those things?
    15· ·                                                              15· · · · A.· ·Yes.
    16· ·                                                              16· · · · Q.· ·All right, there's also detention officer
    17· ·                                                              17· ·positions it looks like in rows 1 - row 130 for food
    18· ·                                                              18· ·service.· Do you see that?
    19· ·                                                              19· · · · A.· ·Yes.
    20· · · · A.· ·                                                    20· · · · Q.· ·All right, and then if we look at page 1848 --
    21· · · · Q.· ·                                                    21· · · · A.· ·I'm sorry?· Which page?
    22· ·                                                              22· · · · Q.· ·1841.· Excuse me.
    23· · · · A.· ·                                                    23· · · · A.· ·41.
    24· · · · Q.· ·                                                    24· · · · Q.· ·The max staffing plan.
    25· ·                                                              25· · · · · · ·The equivalent basic structure you have east

                                                           Page 118                                                       Page 120
    ·1· ·                                                              ·1· ·housing, west housing, U.S. expansion housing, detention
    ·2· ·                                                              ·2· ·officers who are going to be there.· Those numbers
    ·3· ·                                                              ·3· ·increased from the minimum guaranteed to the max
    ·4· ·                                                              ·4· ·capacity staffing plans, right?
    ·5· · · · · · ·MR. DONOHUE:·                                       ·5· · · · A.· ·Yes.
    ·6· · · · · · ·THE WITNESS:·                                       ·6· · · · Q.· ·All right, and then you have - similarly you
    ·7· · · ·                                                          ·7· ·have detention officers who are going to be in food
    ·8· · · ·                                                          ·8· ·service in the law library and those are listed under
    ·9· · · ·                                                          ·9· ·the staffing plan as well?· Yeah?
    10· · · ·                                                          10· · · · A.· ·Yes.
    11· ·BY MR. FREE:                                                  11· · · · Q.· ·All right.
    12· · · · Q.· ·Okay.                                               12· · · · A.· ·That's what I'm reading.
    13· · · · · · ·THE VIDEOGRAPHER:· Right hand.                      13· · · · Q.· ·Okay, do you happen to know whether the
    14· ·BY MR. FREE:                                                  14· ·detention officer positions for, say, food service --
    15· · · · Q.· ·As I compare the detention officer positions        15· ·Let's take that as an example, okay, so we'll be real
    16· ·listed in each version of these staffing plans and the        16· ·specific.
    17· ·minimum and the maximum I don't just see pods.· I see a 17· · · · · · ·Do you know whether those detention officers
    18· ·pretty granular accounting of where these detention           18· ·are actually preparing the food on the one hand or on
    19· ·officers would work, and I'll tell you what I mean:           19· ·the other hand whether they're making sure that the
    20· ·There's a - there's a listing, for instance, in rows 110      20· ·people who are working there are secure?· Do you know
    21· ·through 113 that encompasses the east side of the             21· ·one way or the other?
    22· ·facility.· Do you see that?                                   22· · · · · · ·MR. DONOHUE:· Object to the form.
    23· · · · A.· ·Yes.                                                23· · · · · · ·THE WITNESS:· They are not preparing food.
    24· · · · Q.· ·And then 114 through 117 it looks like west         24· · · · They're providing security in the food and dining
    25· ·housing.· Do you see that?                                    25· · · · areas.
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                                                             Page 121                                                    Page 123
    ·1· ·BY MR. FREE:                                             ·1· · · · A.· ·That is correct.
    ·2· · · · Q.· ·Why does there have to be security in the food ·2· · · · Q.· ·Because there's no detainees there?
    ·3· ·and dining areas?                                        ·3· · · · A.· ·That is correct.
    ·4· · · · A.· ·It's a detention facility and you've got to    ·4· · · · Q.· ·
    ·5· ·control movements.· You've got to make sure people       ·5· ·
    ·6· ·aren't fighting, you've got to make sure that people are ·6·
    ·7· ·doing what they're supposed to be doing and where        ·7· ·
    ·8· ·they're supposed to be, so there is some level of        ·8· ·
    ·9· ·security and supervision that's required in all areas of ·9· ·
    10· ·the facility.                                            10· ·
    11· · · · Q.· ·Who would be fighting in the - the food        11· ·
    12· ·service areas?                                           12· ·
    13· · · · A.· ·I don't --                                     13· ·
    14· · · · · · ·MR. DONOHUE:· Object to form.                  14· · · · · · ·MR. DONOHUE:·
    15· · · · · · ·THE WITNESS:· I don't know.                    15· · · · · · ·THE WITNESS:·
    16· ·BY MR. FREE:                                             16· · · ·
    17· · · · Q.· ·Would it be GEO employees?                     17· · · ·
    18· · · · · · ·MR. DONOHUE:· Object to the form.              18· · · ·
    19· · · · · · ·THE WITNESS:· I - I don't know.                19· ·BY MR. FREE:
    20· ·BY MR. FREE:                                             20· · · · Q.· ·That was a bad example, yeah.
    21· · · · Q.· ·Okay.· Well, let's not beat around the bush.   21· · · · A.· ·-- where there are no detainees.
    22· · · · · · ·These detention officers are in the food       22· · · · Q.· ·Okay, that's a bad example.· I take your
    23· ·service area because people who are detained there are 23· ·point.· I think that's right.
    24· ·in the food service area; is that correct?               24· · · · · · ·They're not cooking, the detention officers
    25· · · · A.· ·There are detainees in - in that area, yes.    25· ·are not cooking, they're there to supervise is the first

                                                            Page 122                                                       Page 124
    ·1· · · · Q.· ·Well, that's not my question.· My question --     ·1· ·part, that's correct, right?
    ·2· · · · A.· ·I'm sorry.· I didn't understand your question.       ·2· · · · · · ·MR. DONOHUE:· Object to the form.
    ·3· · · · Q.· ·It's okay.                                           ·3· · · · · · ·THE WITNESS:· They are not cooking.· They're
    ·4· · · · · · ·My question was the detention officers are in        ·4· · · · providing security.
    ·5· ·the food service area because that's where detainees are ·5· ·BY MR. FREE:
    ·6· ·as well; is that right?                                        ·6· · · · Q.· ·Okay, the people over whom they are providing
    ·7· · · · · · ·MR. DONOHUE:· Object to the form.                    ·7· ·security are the people who are detained in the
    ·8· · · · · · ·THE WITNESS:· I guess I'm not understanding          ·8· ·facility, right?
    ·9· · · · your question.                                            ·9· · · · A.· ·Yes.
    10· ·BY MR. FREE:                                                   10· · · · Q.· ·Okay, so I looked at these two plans, I'm
    11· · · · Q.· ·Why do you need a detention officer in the           11· ·going to look at the minimum plan and I look at the food
    12· ·food service area was my original question and you said, 12· ·service part.· It's row 130.
    13· ·well, it's a secure facility, you've got to maintain     13· · · · A.· ·Which page?
    14· ·security, you don't want people fighting and I guess           14· · · · Q.· ·
    15· ·what I'm asking and what I'm getting at is it is because       15· · · · · · ·
    16· ·there are detainees in the food service area, that a           16·
    17· ·detention officer needs to be incorporated into that           17·
    18· ·staffing plan; is that right?                                  18· ·
    19· · · · · · ·MR. DONOHUE:· Object to the form.                    19·
    20· · · · · · ·THE WITNESS:· I understand so, yes, there are        20· · · · A.· ·
    21· · · · detainees in that area.                                   21· · · · Q.· ·
    22· ·BY MR. FREE:                                                   22· ·
    23· · · · Q.· ·Okay, you don't need a detention officer             23· ·
    24· ·necessarily in GEO's executive offices, you know, in an        24· · · · · · ·
    25· ·adjacent little annex, right?                                  25· ·
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                                                        Page 125                                                          Page 127
    ·1· ·                                                          ·1· ·BY MR. FREE:
    ·2· · · · A.· ·                                                ·2· · · · Q.· ·Other than an increased number of detained
    ·3· · · · Q.· ·                                                ·3· ·immigrants in that area of the facility in the food
    ·4· ·                                                          ·4· ·service area of the facility, can you think of anything
    ·5· ·                                                          ·5· ·else that would require GEO to double the number of
    ·6· ·                                                          ·6· ·detention officers there?
    ·7· · · · A.· ·                                                ·7· · · · · · ·MR. DONOHUE:· Object to the form.
    ·8· · · · Q.· ·                                                ·8· · · · · · ·THE WITNESS:· Scheduling.· Scheduling more --
    ·9· ·                                                          ·9· · · · Scheduling to accommodate the larger population so
    10·                                                            10· · · · they can attend, you know, for breakfast, lunch
    11· ·                                                          11· · · · and - and dinner.· That's about the only reason I
    12· ·                                                          12· · · · could think of that.
    13· ·                                                          13· ·BY MR. FREE:
    14· · · · A.· ·                                                14· · · · Q.· ·Okay, tell me why scheduling took on to
    15· · · · Q.· ·                                                15· ·accommodate the larger populations would double the
    16· · · · A.· ·                           .                    16· ·position?
    17· · · · Q.· ·                                                17· · · · A.· ·You would have people coming from another --
    18·                                                            18· ·I'm sorry -- Housing unit into that area, we may have to
    19· ·                                                          19· ·have the security officers move the other people out to
    20· ·                                                          20· ·accommodate.· Again I'm just - that would be, I think,
    21· ·                                                          21· ·the only reason, but I'm not the expert in that, so I
    22· · · · A.· ·                                                22· ·don't know.
    23· · · · Q.· ·Twice as many people providing security.· Can   23· · · · Q.· ·Would you concede that it is possible that GEO
    24· ·we agree on that in that area?                            24· ·doubled the number of officers in the food service area
    25· · · · A.· ·Correct.                                        25· ·because there are more detained immigrants in the food

                                                        Page 126                                                        Page 128
    ·1· · · · Q.· ·Okay, why do you need double the number of     ·1· ·service area when the population of the facility
    ·2· ·security officers in the food service area, if you know, ·2· ·increases?
    ·3· ·when you've got - between the two plans?                 ·3· · · · A.· ·No.
    ·4· · · · A.· ·I do not.                                      ·4· · · · · · ·MR. DONOHUE:· Object to the form.
    ·5· · · · Q.· ·You can - can you think of any reason why you  ·5· ·BY MR. FREE:
    ·6· ·would need to double the number of detention officers in ·6· · · · Q.· ·You would not concede that?
    ·7· ·the food service area between one plan or the other?     ·7· · · · A.· ·No.
    ·8· · · · A.· ·No.· I can't guess at that.· I don't know.     ·8· · · · Q.· ·Okay.
    ·9· · · · Q.· ·Okay, when GEO is constructing this plan I     ·9· · · · A.· ·Because I don't know.· I don't know --
    10· ·think you explained to me that when there are more       10· · · · Q.· ·You don't know?
    11· ·people in the facility you may have to have more         11· · · · A.· ·-- the reason or the basis for why the
    12· ·detention officers because, for instance, GEO has opened 12· ·increase.
    13· ·a new pod and so there will be more detainees that GEO 13· · · · Q.· ·Do you have any idea?
    14· ·is responsible for supervising, correct?                 14· · · · A.· ·No.
    15· · · · A.· ·Correct.                                       15· · · · · · ·MR. DONOHUE:· Object to the form.
    16· · · · Q.· ·Okay, does the same logic hold with GEO's      16· ·BY MR. FREE:
    17· ·staffing plan for the food service area?· In other       17· · · · Q.· ·Let's do it an easier way.
    18· ·words, there will be more detention officers in the food 18· · · · A.· ·Okay.
    19· ·service area under the second staffing plan because      19· · · · Q.· ·
    20· ·there will be more detained immigrants in the food       20· ·
    21· ·service area?                                            21·
    22· · · · · · ·MR. DONOHUE:· Object to the form.              22· ·
    23· · · · · · ·THE WITNESS:· I - I wouldn't say that the same 23· ·
    24· · · · logic follows that, excuse me, because I - I don't  24· · · · A.· ·
    25· · · · know how that is managed at Adelanto.               25· · · · Q.·
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    ·1· ·                                                             ·1· · · · · · ·How - you said that there would be more guards
    ·2· ·                                                             ·2· ·because potentially there would be more people -- You
    ·3· ·                                                             ·3· ·said in essence that one explanation other than the fact
    ·4· · · · · · ·MR. DONOHUE:·                                      ·4· ·that there's more people who were working, more
    ·5· · · · · · ·THE WITNESS:·                                      ·5· ·detainees who were working in the food service area an
    ·6· · · ·                                                         ·6· ·explanation that you offered is that there could be
    ·7· ·BY MR. FREE:                                                 ·7· ·because there are more people, I think, more people
    ·8· · · · Q.·                                                     ·8· ·going to that area to get food.· Do I understand that
    ·9· ·                                                             ·9· ·explanation as you've described it to me?
    10· · · · A.· ·                                                   10· · · · A.· ·What was the first part of your question?
    11· · · · Q.· ·                                                   11· · · · Q.· ·Yeah, so the first part of my question is I
    12· ·                                                             12· ·asked you if the reason you need twice as many detention
    13·                                                               13· ·officers, guards in the food service area if GEO needs
    14· · · · A.· ·                                                   14· ·twice as many guards in the food service area because
    15· · · · Q.· ·That's twice as many, right?                       15· ·there's more - twice as many -- There's more detainees
    16· · · · A.· ·Yes.                                               16· ·there and I don't think you've said yes to that.
    17· · · · Q.· ·Who uses the law library at Adelanto?              17· · · · A.· ·Right.· I said I don't know.
    18· · · · A.· ·The detainees.                                     18· · · · Q.· ·Yeah, and I think I asked if it's possible.
    19· · · · Q.· ·Anybody else?                                      19· ·If I haven't asked, let me just ask you, is it possible
    20· · · · A.· ·I don't know.                                      20· ·that's the reason you need twice - GEO needs twice as
    21· · · · Q.· ·Is it open to the public?                          21· ·many guards?
    22· · · · A.· ·No.                                                22· · · · · · ·MR. DONOHUE:· Object to the form, vague.
    23· · · · Q.· ·Does GEO make it available to ICE officials?       23· · · · · · ·THE WITNESS:· I don't know.
    24· · · · A.· ·I don't know.                                      24· ·BY MR. FREE:
    25· · · · Q.· ·Is GEO required to have a law library by this      25· · · · Q.· ·Okay, so you don't know whether GEO doubled

                                                           Page 130                                                                Page 132
    ·1· ·contract to your knowledge?                                  ·1· ·the number of detention officers in the food service
    ·2· · · · A.· ·Yes.                                               ·2· ·area because there would be more detainees there when
    ·3· · · · Q.· ·Why are there twice as many law library            ·3· ·there's more people in the facility, you don't know the
    ·4· ·detention officer positions in the second staffing plan      ·4· ·answer to that?
    ·5· ·than on the first?                                           ·5· · · · · · ·MR. DONOHUE:· Object to the form, vague, asked
    ·6· · · · · · ·MR. DONOHUE:· Object to the form.                  ·6· · · · and answered.
    ·7· · · · · · ·THE WITNESS:· I don't know.                        ·7· · · · · · ·THE WITNESS:· Correct.· I don't know.
    ·8· ·BY MR. FREE:                                                 ·8· ·BY MR. FREE:
    ·9· · · · Q.· ·No idea?                                           ·9· · · · Q.· ·Okay, and you have also told me, I believe,
    10· · · · A.· ·No idea.                                           10· ·that an alternate explanation is that more people will
    11· · · · Q.· ·What do you think?                                 11· ·need meals and so they're coming to the food service
    12· · · · A.· ·I don't know.                                      12· ·area and so maybe that's why you need twice as many
    13· · · · Q.· ·Let's look at recreation on the same page.         13· ·detention officers?· Do I understand the gist of that
    14· ·It's row 123.                                                14· ·explanation?
    15· · · · · · ·Excuse me.· Let's look at 125, utility escort.     15· · · · · · ·MR. DONOHUE:· Object to the form, vague, asked
    16· ·Do you see that?                                             16· · · · and answered, mischaracterizes.
    17· · · · A.· ·Yes.                                               17· · · · · · ·THE WITNESS:· Again I speculated on what could
    18· · · · Q.· ·                                                   18· · · · be a possible cause but I don't know that for a
    19· ·                                                             19· · · · fact.
    20· ·                                                             20· ·BY MR. FREE:
    21· · · · A.·                                                     21· · · · Q.· ·Okay.
    22· · · · Q.· ·Look back at 1838.                                 22· · · · · · ·If there are fewer detained immigrants at
    23· · · · · · ·The same number, right?                            23· ·Adelanto would you agree that GEO needs fewer guards?
    24· · · · A.· ·Correct.                                           24· · · · · · ·MR. DONOHUE:· Object to the form.
    25· · · · Q.· ·All right.                                         25· · · · · · ·THE WITNESS:· I guess it depends on what
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                                                           Page 133                                                             Page 135
    ·1· · · · you're defining as fewer and what the population        ·1· · · · Q.· ·Really?
    ·2· · · · is.                                                     ·2· · · · · · ·I mean I'm not trying to be difficult --
    ·3· ·BY MR. FREE:                                                 ·3· · · · A.· ·I know.
    ·4· · · · Q.· ·Are those two variables connected?                 ·4· · · · Q.· ·-- with you, honestly.
    ·5· · · · A.· ·I'm sorry?                                         ·5· · · · · · ·You're saying --
    ·6· · · · Q.· ·Are those two variables basically connected?       ·6· · · · A.· ·You're asking me --
    ·7· ·Are they related to each other, the number of detained       ·7· · · · Q.· ·-- to me you have no idea what - what a
    ·8· ·immigrants inside the facility to the number of guards       ·8· ·detainee is doing in the kitchen?
    ·9· ·that you must employ?· They have to be, right?               ·9· · · · A.· ·I don't know what --
    10· · · · · · ·MR. DONOHUE:· Object to the form.                  10· · · · · · ·MR. DONOHUE:· Objection.
    11· · · · · · ·THE WITNESS:· It depends on the - the number       11· ·BY MR. FREE:
    12· · · · and how ICE wants them housed, so -- It just            12· · · · Q.· ·They're not for recreation, are they?
    13· · · · depends on the requirements of the - of the client      13· · · · · · ·MR. DONOHUE:· Hang on a second.
    14· · · · in this case.                                           14· · · · · · ·MR. FREE:· Okay.· Sorry.
    15· ·BY MR. FREE:                                                 15· · · · · · ·MR. DONOHUE:· Yeah, let's not - let's not be
    16· · · · Q.· ·Okay.                                              16· · · · argumentative.
    17· · · · · · ·How is it that there could be an additional --     17· ·BY MR. FREE:
    18· ·Strike that.                                                 18· · · · Q.· ·You - you have - you do not know, you have no
    19· · · · · · ·How is it that the number of food service          19· ·idea, let me just say that, do you have any idea what a
    20· ·employees stays the same between both plans?                 20· ·detained immigrant at Adelanto would be doing in the
    21· · · · · · ·MR. DONOHUE:· Object to the form.                  21· ·food service area at that facility?
    22· · · · · · ·THE WITNESS:· I don't know.                        22· · · · · · ·MR. DONOHUE:· Object to the form, vague, and I
    23· ·BY MR. FREE:                                                 23· · · · don't know what a food service area means.
    24· · · · Q.· ·You have no idea?                                  24· ·BY MR. FREE:
    25· · · · A.· ·I don't.                                           25· · · · Q.· ·Let's -- This is GEO's staffing plan, right?

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    ·1· · · · Q.· ·How is GEO able to provide potentially almost      ·1· · · · A.· ·I'm sorry?
    ·2· ·five hundred more meals without paying any additional        ·2· · · · Q.· ·Okay, answer my first question.· You don't
    ·3· ·people?                                                      ·3· ·have any idea what a detained immigrant at Adelanto
    ·4· · · · A.· ·I don't know.                                      ·4· ·would be doing in the food service area?
    ·5· · · · · · ·MR. DONOHUE:· Object - object to form.             ·5· · · · · · ·MR. DONOHUE:· Yeah, and objection, vague,
    ·6· ·BY MR. FREE:                                                 ·6· · · · asked and answered about a thousand times.
    ·7· · · · Q.· ·You don't know?                                    ·7· · · · · · ·THE WITNESS:· I don't have any firsthand
    ·8· · · · · · ·What do you think?                                 ·8· · · · knowledge what they're - they're doing.
    ·9· · · · A.· ·I don't know.                                      ·9· ·BY MR. FREE:
    10· · · · Q.· ·Who prepares the meals at Adelanto?                10· · · · Q.· ·That's not what I asked.· I asked if you had
    11· · · · A.· ·I don't know.                                      11· ·any idea.
    12· · · · Q.· ·You told me earlier that there are detainees       12· · · · · · ·MR. DONOHUE:· And same objections.
    13· ·in the food service area, didn't you?                        13· · · · · · ·THE WITNESS:· I don't.
    14· · · · · · ·MR. DONOHUE:· Object to the form, vague.           14· ·BY MR. FREE:
    15· ·BY MR. FREE:                                                 15· · · · Q.· ·Have you been in the food service area at
    16· · · · Q.· ·Are there detainees in the food service area       16· ·Adelanto?
    17· ·at Adelanto?                                                 17· · · · A.· ·Yes.
    18· · · · · · ·MR. DONOHUE:· The same objection.                  18· · · · Q.· ·What did you see there?
    19· · · · · · ·THE WITNESS:· Yes.                                 19· · · · A.· ·I saw people in the food service area
    20· ·BY MR. FREE:                                                 20· ·performing cleaning, mopping, not -- I didn't actually
    21· · · · Q.· ·Yes.                                               21· ·see any meals being served at the time, so it was very
    22· · · · · · ·What are they doing there?                         22· ·early in the day.
    23· · · · A.· ·That I don't know.                                 23· · · · Q.· ·What time?
    24· · · · Q.· ·What do you think they're doing there?             24· · · · A.· ·Around 10:00 a.m.
    25· · · · A.· ·I don't know.                                      25· · · · Q.· ·Who - who were the people?


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    NOVOA vs THE GEO GROUP                                             137–140
                                                              Page 137                                                                Page 139
    ·1· · · · A.· ·I -- Both GEO employees and immigration               ·1· ·specific but, yeah, it's where they dine, where they
    ·2· ·detainees.                                                      ·2· ·have their meals.
    ·3· · · · Q.· ·Could you tell them apart?                            ·3· · · · Q.· ·The same thing though, right?
    ·4· · · · A.· ·Yes.                                                  ·4· · · · A.· ·The same thing.
    ·5· · · · Q.· ·How?                                                  ·5· · · · Q.· ·We're talking about the same --
    ·6· · · · A.· ·By their uniforms.                                    ·6· · · · A.· ·Sure.
    ·7· · · · Q.· ·Who was mopping?                                      ·7· · · · Q.· ·Okay, did you see any detainees working in the
    ·8· · · · A.· ·The detainees.                                        ·8· ·dining hall?
    ·9· · · · Q.· ·What were the GEO employees doing as you              ·9· · · · A.· ·No.· There was no one in the dining hall at
    10· ·recall?                                                         10· ·the time I was there.
    11· · · · A.· ·Working in the kitchen.                               11· · · · Q.· ·So it was empty?
    12· · · · Q.· ·Okay, so you do have some idea what the               12· · · · A.· ·Yes.
    13· ·detainees are doing in the food service area?                   13· · · · Q.· ·Okay.
    14· · · · A.· ·I can tell you what I saw.                            14· · · · · · ·Is there anything else that a food service
    15· · · · Q.· ·Please do.                                            15· ·line item could encompass other than the kitchen and the
    16· · · · A.· ·That's what I saw.· They were in the - the            16· ·dining hall?
    17· ·kitchen area, you say food service area, and they were          17· · · · · · ·MR. DONOHUE:· Object to the form.
    18· ·performing some tasks.                                          18· · · · · · ·THE WITNESS:· I don't know.
    19· · · · Q.· ·Anything other than mopping that you saw them         19· ·BY MR. FREE:
    20· ·do?                                                             20· · · · Q.· ·Can I just -- I'm just going to put -- I'm
    21· · · · A.· ·No.· I don't recall any specific activities.          21· ·going to be really honest with you.· I have a hard time
    22· · · · Q.· ·Did you tell me that it wasn't during a meal          22· ·understanding how GEO and how you can put together a per
    23· ·service?                                                        23· ·diem rate for these facilities without knowing the
    24· · · · A.· ·Right.· It wasn't during a meal service.              24· ·activities in each area and what the detention officers
    25· · · · Q.· ·Okay, did you see any GEO guards there?               25· ·are doing there.· I just don't - I don't understand why

                                                              Page 138                                                      Page 140
    ·1· · · · A.· ·Yes.                                                  ·1· ·you don't know that, and I'm not being argumentative.
    ·2· · · · Q.· ·What were they doing?                                 ·2· ·I'm just asking you like it would seem to me that you
    ·3· · · · A.· ·Supervising, providing security.                      ·3· ·saw people working in the kitchen, right?
    ·4· · · · Q.· ·As you read GEO's staffing plan that it               ·4· · · · A.· ·Yes.
    ·5· ·developed and submitted to ICE and that ICE agreed to in ·5· · · · Q.· ·You said - you told me you saw people work
    ·6· ·this modification and you say the food service area part        ·6· ·being in the kitchen?
    ·7· ·of the detention officer section I'm talking about row          ·7· · · · A.· ·I saw people, yes, in there.
    ·8· ·130 on page 1838.· Do you see that?                             ·8· · · · Q.· ·And so GEO knows that detainees work there?
    ·9· · · · A.· ·Yep.                                                  ·9· · · · · · ·MR. DONOHUE:· Object to the form.
    10· · · · Q.· ·What do you understand food service to refer          10· · · · · · ·THE WITNESS:· So there are people within GEO
    11· ·to?                                                             11· · · · who know what the activities are who participate in
    12· · · · A.· ·The kitchen, the cafeteria and I guess the            12· · · · putting together the staffing plans and develop the
    13· ·ability to provide meals outside of that area as well.          13· · · · cost.· I am not one of those individuals, so I'm --
    14· · · · Q.· ·Okay, did you see any cafeterias while you            14· · · · Basically I'm an outside observer watching what
    15· ·were there in February?                                         15· · · · happens there, but I don't know how they put it
    16· · · · A.· ·I'm sorry?                                            16· · · · together, I don't know what they're supposed to be
    17· · · · Q.· ·Did you see any cafeterias while you were at          17· · · · doing, when they're supposed to be doing it.· It's
    18· ·Adelanto in February?                                           18· · · · just not my area of expertise in the company.
    19· · · · A.· ·There was a dining hall.                              19· ·BY MR. FREE:
    20· · · · Q.· ·So the answer to my question is yes?                  20· · · · Q.· ·All right, I think I understand.
    21· · · · A.· ·Well, if a cafeteria and a dining hall are the        21· · · · · · ·You're telling me, tell me if I'm right here,
    22· ·same thing then yes.                                            22· ·that I'm asking you questions about what you don't have
    23· · · · Q.· ·You used the term cafeteria, so I'm just              23· ·personal knowledge?
    24· ·trying to understand what you mean.                             24· · · · A.· ·Correct, or no responsibility or no
    25· · · · A.· ·So I'm just being -- Yeah, I'm not being as           25· ·participation.


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    ·1· · · · Q.· ·Okay, can you help me understand who at GEO        ·1· ·should talk to?
    ·2· ·would know that?                                             ·2· · · · A.· ·They would have, one, the responsibility and,
    ·3· · · · A.· ·There are people in Operations that know           ·3· ·two, the expertise and the knowledge.
    ·4· ·exactly what - what staffings are required based on          ·4· · · · Q.· ·Anybody else?
    ·5· ·facilities, the facility layout, the contract                ·5· · · · A.· ·There are a lot of people who probably possess
    ·6· ·requirements.                                                ·6· ·that.· I don't -- Again I don't know who participates in
    ·7· · · · Q.· ·Who at - who at GEO within the Operations          ·7· ·that process.
    ·8· ·Department would be responsible for knowing that at          ·8· · · · Q.· ·All right, but you -- I mean I understand that
    ·9· ·Adelanto?                                                    ·9· ·it would be part of your role to know whether GEO's
    10· · · · A.· ·Certainly the Facility Administrator.              10· ·going to make money off a contract, right?
    11· · · · Q.· ·Was that James Janecka?                            11· · · · · · ·MR. DONOHUE:· Objection to form.
    12· · · · A.· ·Yes.                                               12· · · · · · ·THE WITNESS:· You know, I don't know, so when
    13· · · · Q.· ·Okay, anybody else?                                13· · · · you qualify an opportunity I look at more of are we
    14· · · · A.· ·I think all of the - the management team at        14· · · · able to provide those services then after we
    15· ·the facility, the Deputy Facility Administrator and          15· · · · qualify that then folks in Operations in other
    16· ·maybe the business manager.                                  16· · · · parts of the company determine whether or not
    17· · · · Q.· ·What are their names?                              17· · · · it's - it's viable from a financial perspective, so
    18· · · · A.· ·I don't -- I don't know.                           18· · · · I don't have that financial expertise.· My job is
    19· · · · Q.· ·Do the people that you've just named come up       19· · · · simply to qualify and determine whether or not this
    20· ·with the staffing plan?                                      20· · · · is an opportunity the company should pursue.· After
    21· · · · · · ·MR. DONOHUE:· Object to form.                      21· · · · a contract's awarded I have no involvement, no role
    22· · · · · · ·THE WITNESS:· I don't know their level of          22· · · · in the operations or the administration of the
    23· · · · participation in it.                                    23· · · · contract.· I move on to the next business
    24· ·BY MR. FREE:                                                 24· · · · development opportunity, so that's why I can't
    25· · · · Q.· ·Who at GEO approves this before giving it to       25· · · · answer a lot of these questions.

                                                           Page 142                                                             Page 144
    ·1· ·ICE, this staffing plan that I'm holding?· These are         ·1· ·BY MR. FREE:
    ·2· ·the -- Thirteen.                                             ·2· · · · Q.· ·I appreciate that.
    ·3· · · · A.· ·That would be the - Senior Vice-President of       ·3· · · · · · ·I want to make sure I understand some lingo
    ·4· ·Operations.                                                  ·4· ·that I think I just heard you use.· The verb was qualify
    ·5· · · · Q.· ·Who is that?                                       ·5· ·and the noun was opportunity.· What do you mean by
    ·6· · · · A.· ·Currently that is David Donahue.                   ·6· ·qualify?
    ·7· · · · Q.· ·All right, I appreciate you clarifying.            ·7· · · · A.· ·Well, it is -- So you may read something that
    ·8· · · · · · ·What I think you've told me is that I'm asking     ·8· ·suggests that there is a need for bed space somewhere
    ·9· ·you questions about this staffing plan that you don't        ·9· ·whether it's at the Federal, State or local level and so
    10· ·have personal knowledge of in your role as Senior            10· ·you try to find out whether or not that is a valid
    11· ·Vice-President for Business Development.· Did I              11· ·opportunity.· Somebody may have a need but they don't
    12· ·understand your answers correctly?                           12· ·have the funding, they don't have the ability to procure
    13· · · · A.· ·That is correct.                                   13· ·it and so once we go through all of that and determine,
    14· · · · Q.· ·                              .                    14· ·yeah, there may be a need but there's no ability to -
    15· · · · · · ·                                                   15· ·to proceed with a procurement then we back off.· If
    16· ·                                                             16· ·there is the ability then we'll find out, okay, well,
    17· ·                                                             17· ·when do you think it's going to be an opportunity, so
    18· · · · · · ·                                                   18· ·that's what I mean by qualify.
    19· ·                                                             19· · · · Q.· ·Okay, and what's an opportunity?
    20· ·                                                             20· · · · A.· ·Again the opportunity to either deliver a
    21· ·                                                             21· ·facility, build a facility and deliver the services that
    22· · · · A.· ·                                                   22· ·we provide to our government providers.
    23· · · · Q.· ·And is it James Donahue and potentially the        23· · · · Q.· ·Okay.
    24· ·Facility Administrator, James Janecka in Operations?         24· · · · · · ·Are the Operations people that you've
    25· ·Anybody else?· Are those two of the people that we           25· ·described to me in conjunction with the Chief Financial
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                                                       Page 145
    ·1· ·Officer the folks at GEO who are responsible for
    ·2· ·developing the per diem rate?
    ·3· · · · · · ·MR. DONOHUE:· Object to the form.
    ·4· ·BY MR. FREE:
    ·5· · · · Q.· ·Or is that you?
    ·6· · · · A.· ·No.· I do not develop the per diem rate.
    ·7· · · · Q.· ·Do you know how it's developed?
    ·8· · · · A.· ·I do not.· Not specifically.
    ·9· · · · Q.· ·Okay, you don't have personal knowledge of
    10· ·like the factors that go into it?
    11· · · · A.· ·I do not.
    12· · · · Q.· ·Okay, you don't -- And I'm not just talking
    13· ·about once the contract's -- Let me be clear.· I'm not
    14· ·just talking about once the contract has been agreed to,
    15· ·once the opportunity's been seized, right?· I'm also
    16· ·talking about proposals.· Is it the same answer as to
    17· ·proposals?
    18· · · · A.· ·Right.· It's - pricing is not within my area
    19· ·of responsibility, so I don't know how that is
    20· ·developed.
    21· · · · Q.· ·Okay.· I understand.
    22· · · · · · ·MR. FREE:· Did we order lunch?
    23· · · · · · ·MR. DONOHUE:· Yes.
    24· · · · · · ·Lunch?· The short answer's yes.
    25· · · · · · ·MR. FREE:· It's not here though?

                                                           Page 146
    ·1· · · · MR. DONOHUE:· It may be here.
    ·2· · · · MS. ARMSTRONG:· It's probably here.
    ·3· · · · MR. DONOHUE:· It's probably here.
    ·4· · · · I'm speculating.
    ·5· · · · MR. FREE:· I think we might be at like a -
    ·6· ·like a pivot point, but I don't - what I don't want
    ·7· ·to do is I don't want to go off the record and then
    ·8· ·wait for lunch because I don't want to keep the
    ·9· ·witness here longer than he needs to be, so I can
    10· ·move to the next section.
    11· · · · MR. DONOHUE:· Well, why don't we take --
    12· · · · MS. ARMSTRONG:· Take twenty seconds to check
    13· ·if it's here.
    14· · · · MR. FREE:· Let's do it.
    15· · · · THE VIDEOGRAPHER:· We are going off the video
    16· ·record 12:04 p.m.
    17
    18· · · · (Whereupon, there was a lunch recess observed)
    19
    20
    21· · · · · · · (CONTINUED TO VOLUME II)
    22
    23
    24
    25


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    16·   ·   ·   ·   ·    ·515 EAST LAS OLAS BOULEVARD, SUITE 1200
                                                                             15
    · ·   ·   ·   ·   ·    · · · · ·FORT LAUDERDALE, FLORIDA
                                                                             16·   · · ·(PREVIOUSLY MARKED EXHIBITS REFERENCED RAGSDALE
    17·   ·   ·   ·   ·    · · · · · 9:03 a.m. - 5:40 p.m.
    18                                                                       · ·   ·EXHIBIT 2)
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    · ·   ·APPEARING ON BEHALF OF THE PLAINTIFFS:                            ·2
    ·3                                                                       ·3· · · · · · ·THE VIDEOGRAPHER:· We are back on the video
    · ·   ·   ·   ·   ·   BURNS, CHAREST, LLP.
    ·4·   ·   ·   ·   ·   BY:· DANIEL H. CHAREST, ESQUIRE.                   ·4· · · · record 1:06 p.m.
    · ·   ·   ·   ·   ·   BY:· LYDIA A. WRIGHT, ESQUIRE.
    ·5·   ·   ·   ·   ·   365 CANAL STREET, SUITE 1170
                                                                             ·5
    · ·   ·   ·   ·   ·   NEW ORLEANS, LOUISIANA· 70130                      ·6· · · · · · · · ·DIRECT EXAMINATION CONTINUED
    ·6·   ·   ·   ·   ·   (504) 799-2845
    · ·   ·   ·   ·   ·   dcharest@burnscharest.com                          ·7· ·BY MR. FREE:
    ·7·   ·   ·   ·   ·   lwright@burnscharest.com                           ·8· · · · Q.· ·Mr. Venturella, what did you do to prepare for
    ·8
    ·9·   ·   ·   ·   ·   LAW OFFICE OF R. ANDREW FREE.                      ·9· ·today's deposition?
    · ·   ·   ·   ·   ·   BY:· R. ANDREW FREE, ESQUIRE.
    10·   ·   ·   ·   ·   BY:· HENRIETTE VINET-MARTIN, ESQUIRE.
                                                                             10· · · · · · ·Please don't tell me anything you've discussed
    · ·   ·   ·   ·   ·   2004 8th AVENUE SOUTH                              11· ·with your attorneys.
    11·   ·   ·   ·   ·   NASHVILLE, TENNESSEE 37204
    · ·   ·   ·   ·   ·   (844) 321-3221                                     12· · · · A.· ·Actually very little to prepare other than
    12·   ·   ·   ·   ·   andrew@immigrantvivilrights.com                    13· ·having my discussion with the attorneys here.
    13
    14                                                                       14· · · · Q.· ·Okay, did you look at any documents?
    · ·   ·APPEARING ON BEHALF OF THE DEFENDANT:                             15· · · · A.· ·Outside of the preparation with my attorneys?
    15
    · ·   ·   ·   ·   ·   HOLLAND & KNIGHT.                                  16· · · · Q.· ·During your preparation.
    16·   ·   ·   ·   ·   BY:· J. MATTHEW DONOHUE, ESQUIRE.
    · ·   ·   ·   ·   ·   BY:· SHANNON L. ARMSTRONG, ESQUIRE.                17· · · · A.· ·During, yes.
    17·   ·   ·   ·   ·   111 SOUTHWEST FIFTH AVENUE                         18· · · · Q.· ·Which documents do you recall looking at?
    · ·   ·   ·   ·   ·   2300 U.S. BANCORP TOWER
    18·   ·   ·   ·   ·   PORTLAND, OREGON· 97204                            19· · · · · · ·MR. DONOHUE:· I'm going to instruct him not to
    · ·   ·   ·   ·   ·   (503) 517-2913                                     20· · · · answer.· You're not entitled to learn the documents
    19·   ·   ·   ·   ·   shannon.armstrong@hklaw.com
    · ·   ·   ·   ·   ·   matt.donohue@hklaw.com                             21· · · · he looked at in prep with the attorneys.
    20
    21·   ·ALSO PRESENT:· FRANCES E. SIMKINS                                 22· · · · · · ·MR. FREE:· I'm not sure that that's true, but
    · ·   · · · · · · · · U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT           23· · · · you've made your instruction.
    22·   · · · · · · · · DON SAVOY/VIDEOGRAPHER
    23                                                                       24· ·BY MR. FREE:
    24                                                                       25· · · · Q.· ·Did you speak with anybody other than your
    25


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    ·1· ·attorneys in preparation for today's deposition?                ·1· · · · A.· ·No.
    ·2· · · · A.· ·No.                                                   ·2· · · · Q.· ·Have you ever received communications about
    ·3· · · · Q.· ·Prior to speaking with your attorneys did you         ·3· ·this litigation from anyone who's not your lawyer?
    ·4· ·have any knowledge about this lawsuit, the Novoa case           ·4· · · · A.· ·No.
    ·5· ·versus GEO and Adelanto?                                        ·5· · · · Q.· ·What do you understand to be the Plaintiff's
    ·6· · · · A.· ·Yes.                                                  ·6· ·claims without revealing anything that your lawyer's
    ·7· · · · Q.· ·What did you know about this lawsuit before           ·7· ·told you to your own understanding to be what's the -
    ·8· ·speaking with your attorneys?                                   ·8· ·the core of the Plaintiff's claim in these cases or in
    ·9· · · · · · ·MR. DONOHUE:· And I'm going to -- I assume            ·9· ·this case?
    10· · · · that you don't want him to divulge anything he             10· · · · A.· ·My understanding is that the - the Plaintiffs
    11· · · · learned from any attorney about those lawsuits.            11· ·believed that GEO should be paying detainees minimum
    12· · · · · · ·In other words, if he learned information from        12· ·wage based on the State minimum wage laws.
    13· · · · an attorney then -- Well, let me instruct you I            13· · · · Q.· ·Anything else?
    14· · · · don't want you to divulge that information.                14· · · · A.· ·That we're in violation of the trafficking,
    15· ·BY MR. FREE:                                                    15· ·Federal trafficking statutes.
    16· · · · Q.· ·Please answer the question.                           16· · · · Q.· ·Anything else?
    17· · · · A.· ·So all of the information that I received was         17· · · · A.· ·And something that I don't understand, unjust
    18· ·from our counsel.                                               18· ·enrichment, so whatever that is.
    19· · · · Q.· ·Who's our?                                            19· · · · Q.· ·Anything else?
    20· · · · A.· ·The GEO, general counsel.                             20· · · · A.· ·No.
    21· · · · Q.· ·Who's that?                                           21· · · · Q.· ·Okay, have you received any communications,
    22· · · · A.· ·The particular individual currently is Joseph         22· ·and I don't care if they're attorneys, but
    23· ·Negron.                                                         23· ·communications from people at ICE outside the presence
    24· · · · Q.· ·When you say current, does that imply there           24· ·of your lawyers about this litigation?
    25· ·was somebody before that?                                       25· · · · A.· ·About this litigation, no.

                                                              Page 152                                                                Page 154
    ·1· · · · A.· ·That is correct.                                      ·1· · · · Q.· ·Okay, have you had any communications with
    ·2· · · · Q.· ·Who was that?                                         ·2· ·anyone at ICE regarding the voluntary work program that
    ·3· · · · A.· ·John Bulfin.                                          ·3· ·GEO operates at the Adelanto Detention Center?
    ·4· · · · Q.· ·Okay.                                                 ·4· · · · A.· ·Not for the Adelanto Detention Facility, no.
    ·5· · · · A.· ·B-u-l-f-i-n.                                          ·5· · · · Q.· ·Have you had any communications, lawyers or no
    ·6· · · · Q.· ·Okay, and so everything that you know about           ·6· ·from ICE outside the presence of your counsel about the
    ·7· ·this lawsuit is based on communications with those two          ·7· ·voluntary work program lawsuits at other facilities?
    ·8· ·attorneys or their staff, their legal staff; is that            ·8· · · · A.· ·We've had -- Yes.· We've had communications
    ·9· ·right?                                                          ·9· ·with ICE about the - the other lawsuits.
    10· · · · A.· ·Correct.                                              10· · · · Q.· ·Who's we?
    11· · · · Q.· ·Okay, none of what you know about this lawsuit        11· · · · A.· ·I'm sorry.· That would be myself, John Bulfin,
    12· ·is based on any communications with non attorneys at            12· ·George Zoley, Amber Martin and Louis Carrillo.
    13· ·GEO; is that correct?                                           13· · · · Q.· ·With whom at ICE did you speak?
    14· · · · A.· ·Can you repeat that?                                  14· · · · A.· ·We spoke to Tom Homan, Tom Blank, Mike Davis,
    15· · · · · · ·MR. FREE:· Can you read it back, please.              15· ·Mike Davidson and there was other individuals present,
    16· · · · · · ·(Whereupon, the requested portion of the              16· ·but I don't recall who they were.
    17· ·record was read back).                                          17· · · · Q.· ·Was this one meeting or more than one meeting?
    18· · · · · · ·THE WITNESS:· I think that's correct.                 18· · · · A.· ·That was one meeting.
    19· ·BY MR. FREE:                                                    19· · · · Q.· ·What is Thomas Homan's position at ICE at the
    20· · · · Q.· ·Have you ever discussed the litigation with           20· ·time that you had these conversations?
    21· ·any non attorney, this - this litigation in this case?          21· · · · A.· ·He was the Acting Director or Acting
    22· · · · A.· ·No.                                                   22· ·Secretary.· I'm not sure which was --
    23· · · · Q.· ·Have you ever discussed this litigation or            23· · · · Q.· ·For Immigration and Customs Enforcement?
    24· ·communicated about this litigation with anybody who's           24· · · · A.· ·Correct.
    25· ·not your lawyer?                                                25· · · · Q.· ·How about Mr. Blank?


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    NOVOA vs THE GEO GROUP                                             155–158
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    ·1· · · · A.· ·He was the Chief of Staff.                        ·1· · · · Q.· ·Can you look at Exhibit One in front of you,
    ·2· · · · Q.· ·When did that meeting occur?                      ·2· ·please.
    ·3· · · · A.· ·Sometime in 2018.                                 ·3· · · · A.· ·One?
    ·4· · · · Q.· ·Where did it occur?                               ·4· · · · Q.· ·Yes, please.
    ·5· · · · A.· ·At the ICE headquarters.                          ·5· · · · A.· ·Okay.
    ·6· · · · Q.· ·In Washington D.C.?                               ·6· · · · Q.· ·If you could turn to 473, please.· Do you see
    ·7· · · · A.· ·I'm sorry.· In Washington D.C.                    ·7· ·a paragraph marked 20.1 with the heading
    ·8· · · · Q.· ·What was the purpose of that meeting?             ·8· ·Indemnification?
    ·9· · · · A.· ·To discuss our request for an equitable           ·9· · · · A.· ·Yes.
    10· ·adjustment regarding the legal expenses defending the       10· · · · Q.· ·It reads, "GEO agrees to indemnify and hold
    11· ·lawsuits regarding the voluntary work program that -        11· ·harmless the City and ICE, their officers, agents
    12· ·the violation of the trafficking laws.                      12· ·employee and their assigns from and against."· Correct?
    13· · · · Q.· ·Anything else?                                    13· ·Did I read that correctly?
    14· · · · A.· ·At that meeting?                                  14· · · · A.· ·You did.
    15· · · · Q.· ·Yes, sir.                                         15· · · · Q.· ·It lists six claims or demands arising from or
    16· · · · A.· ·No.· It was the primary focus of the meeting.     16· ·related to things.· Do you see those six - those six
    17· · · · Q.· ·Were there any secondary focuses?                 17· ·enumerated types of things?
    18· · · · A.· ·Not that I recall.                                18· · · · A.· ·Yes.
    19· · · · Q.· ·Were there any meetings after that meeting        19· · · · Q.· ·Do you see the sixth one?· It's Roman vi.
    20· ·that you had with any official at ICE?                      20· · · · A.· ·Yes.
    21· · · · A.· ·Regarding this lawsuit?                           21· · · · Q.· ·"Any claim of any kind by or on behalf of any
    22· · · · Q.· ·Yes, sir.                                         22· ·detainee or former detainee detained under GEO's
    23· · · · A.· ·No.                                               23· ·supervision and arising from detainee's treatment,
    24· · · · Q.· ·Or these - the voluntary work program             24· ·conditions of custody, care, property or any other claim
    25· ·litigation?                                                 25· ·arising from confinement of any detainee in the

                                                       Page 156                                                         Page 158
    ·1· · · · A.· ·No.                                            ·1· ·facility."· Have I read that correctly?
    ·2· · · · Q.· ·Okay, were there subsequent communications     ·2· · · · A.· ·You have.
    ·3· ·between you or anyone at GEO that you're aware of at ICE ·3· · · · Q.· ·The paragraph below reads, "GEO shall be
    ·4· ·regarding the voluntary work program lawsuits?           ·4· ·responsible for all costs, including but not limited to
    ·5· · · · A.· ·I'm not aware of any specific communications.  ·5· ·attorney's fees, expenses incurred and liabilities
    ·6· · · · Q.· ·Do you remember anything generally?            ·6· ·arising from any claim, demand, action, litigation,
    ·7· · · · A.· ·Well, we did make a request for an equitable   ·7· ·lawsuit or other proceeding related to the management
    ·8· ·adjustment at the time of that meeting, so we were       ·8· ·and operation of the facility."· Have I read that
    ·9· ·awaiting a response back from ICE, but I do not know     ·9· ·correctly?
    10· ·what the response was --                                 10· · · · A.· ·Yes.
    11· · · · Q.· ·Do you --                                      11· · · · Q.· ·Okay, do you recall the basis of the request
    12· · · · A.· ·-- because it wasn't directed to me.· It was   12· ·for the equitable adjustment?
    13· ·directed to Amber Martin who's the head of Contract      13· · · · A.· ·I don't.
    14· ·Administration.                                          14· · · · Q.· ·Do you agree that in this paragraph GEO has
    15· · · · Q.· ·What was the basis for the equitable           15· ·accepted indemnification of ICE and the City regarding
    16· ·adjustment again?                                        16· ·any claim of any kind brought by a detainee?
    17· · · · A.· ·The legal expenses that were incurred in       17· · · · · · ·MR. DONOHUE:· Object to the form.
    18· ·defending the lawsuits.                                  18· · · · · · ·THE WITNESS:· I'm not a lawyer but, yes, I
    19· · · · Q.· ·And you don't know whether ICE has approved or 19· · · · would say that that language does that.
    20· ·made a decision on the equitable adjustments?            20· ·BY MR. FREE:
    21· · · · A.· ·I don't have any firsthand knowledge of what   21· · · · Q.· ·Do you agree that GEO pursuant to this
    22· ·that outcome was.                                        22· ·paragraph is responsible for all costs, including
    23· · · · Q.· ·Can you look at Exhibit One, please, that's in 23· ·attorney's fees?
    24· ·front of you.                                            24· · · · · · ·MR. DONOHUE:· Object to the form.
    25· · · · A.· ·I'm sorry?                                     25· · · · · · ·THE WITNESS:· I don't know.


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                                                             Page 159                                                          Page 161
    ·1· ·BY MR. FREE:                                                   ·1· · · · A.· ·The GEO representatives and the ICE
    ·2· · · · Q.· ·Okay, but's that's what it says, right?              ·2· ·representatives.
    ·3· · · · A.· ·That's what I read.                                  ·3· · · · Q.· ·Which GEO representatives?
    ·4· · · · Q.· ·Okay, do you as you sit here today have any          ·4· · · · A.· ·John Bulfin primarily, maybe Louis Carrillo.
    ·5· ·understanding of why -- First of all, let me back up.          ·5· · · · Q.· ·Anybody else?
    ·6· · · · · · ·Did you discuss the indemnification provision        ·6· · · · A.· ·I don't recall.
    ·7· ·of this or any other contract involving the voluntary          ·7· · · · Q.· ·Which ICE representatives participated in that
    ·8· ·work program litigation during your meeting in D.C. with       ·8· ·part of the discussions?
    ·9· ·ICE?                                                           ·9· · · · · · ·THE COURT REPORTER:· I'm sorry?
    10· · · · A.· ·No.                                                  10· ·BY MR. FREE:
    11· · · · Q.· ·In any communications that you're aware of           11· · · · Q.· ·Which ICE representatives participated in that
    12· ·between GEO and ICE has the indemnification provision of 12· ·part of the discussion to your recollection?
    13· ·any contract been raised?                                      13· · · · A.· ·I don't recall.
    14· · · · A.· ·Not to my knowledge.                                 14· · · · Q.· ·Did Thomas Homan speak?
    15· · · · Q.· ·Okay, what was ICE's response during that            15· · · · A.· ·He did.
    16· ·meeting to the equitable adjustment request, if you            16· · · · Q.· ·What do you remember him saying?
    17· ·recall?                                                        17· · · · A.· ·I think he was the one who said that they
    18· · · · A.· ·That they would review the request and provide       18· ·would review the request and someone from ICE will get
    19· ·a response back.                                               19· ·back to GEO.
    20· · · · Q.· ·How long did the meeting last?                       20· · · · Q.· ·Anything else?
    21· · · · A.· ·An hour.                                             21· · · · A.· ·I don't recall.
    22· · · · Q.· ·Who spoke?                                           22· · · · Q.· ·Did anyone during this meeting ask ICE whether
    23· · · · A.· ·Everyone.                                            23· ·the Agency thought GEO was breaking the law?
    24· · · · Q.· ·You included?                                        24· · · · A.· ·Can you repeat that?
    25· · · · A.· ·Yes.                                                 25· · · · · · ·MR. FREE:· Can you read that back, please.

                                                           Page 160                                                            Page 162
    ·1· · · · Q.· ·What did you say?                                    ·1· · · · · · ·(Whereupon, the requested portion of the
    ·2· · · · A.· ·I don't recall.                                      ·2· ·record was read back).
    ·3· · · · Q.· ·Do you recall anything about what you said?          ·3· · · · · · ·THE WITNESS:· I don't recall anybody asking
    ·4· · · · A.· ·Sure.· I thanked them for taking the time to         ·4· · · · that question.
    ·5· ·meet with us, but I mean I don't remember specific             ·5· ·BY MR. FREE:
    ·6· ·discussions of what I said.                                    ·6· · · · Q.· ·Do you recall anyone discussing ICE's position
    ·7· · · · Q.· ·Do you remember specific discussions of what         ·7· ·regarding whether GEO is breaking the law?
    ·8· ·anybody said?                                                  ·8· · · · A.· ·No.
    ·9· · · · A.· ·No, I don't.                                         ·9· · · · Q.· ·Do you recall anyone discussing changes that
    10· · · · · · ·Primarily John Bulfin, our general counsel,          10· ·GEO would have to make in the performance of its
    11· ·was the one leading some of that discussion, but I - I         11· ·contracts with ICE if the Plaintiffs in any of these
    12· ·don't recall the specifics.                                    12· ·lawsuits are successful?
    13· · · · Q.· ·Which part of the discussion did Mr. Bulfin          13· · · · A.· ·No.
    14· ·lead?                                                          14· · · · Q.· ·Do you think that that could have been
    15· · · · A.· ·I don't recall.                                      15· ·discussed but that you might not remember it as you sit
    16· · · · Q.· ·Can you tell me everything you do recall about       16· ·here today?
    17· ·the substance of those discussions as you sit - you sit        17· · · · · · ·MR. DONOHUE:· Object to the form.
    18· ·here today, please?                                            18· · · · · · ·THE WITNESS:· I do not believe that was
    19· · · · A.· ·What I recall in general is that we presented        19· · · · discussed.
    20· ·the letter, they discussed aspects of the case, aspects        20· ·BY MR. FREE:
    21· ·of why - why we were issuing or making this request.           21· · · · Q.· ·Okay, you have no specific recollection of it
    22· · · · · · ·That's about all I recall.                           22· ·being discussed?
    23· · · · Q.· ·Who's they?                                          23· · · · A.· ·No, sir.
    24· · · · A.· ·I'm sorry?                                           24· · · · Q.· ·Are you aware of any changes that GEO would
    25· · · · Q.· ·Who's they?· You said they discussed aspects.        25· ·have to make in its performance of contracts in the


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    ·1· ·event of the Plaintiffs succeeding in any of these        ·1· ·we'll go about this case.
    ·2· ·lawsuits?                                                    ·2· · · · A.· ·No.
    ·3· · · · · · ·MR. DONOHUE:· Object to the form.                  ·3· · · · Q.· ·Okay, how often were you speaking with
    ·4· · · · · · ·THE WITNESS:· I am not.                            ·4· ·Mr. Homan when he was employed with ICE, approximately?
    ·5· ·BY MR. FREE:                                                 ·5· · · · A.· ·I don't know.· The best of my recollection a
    ·6· · · · Q.· ·Did anyone outside of ICE attend that meeting      ·6· ·few times.· Not often.
    ·7· ·other than GEO employees?                                    ·7· · · · Q.· ·Okay, did you have a way to contact him
    ·8· · · · A.· ·No.                                                ·8· ·directly when he was at ICE or did you have to go
    ·9· · · · Q.· ·Nobody from the Department of Justice?             ·9· ·through staff?
    10· · · · A.· ·No.                                                10· · · · A.· ·No.· I could contact him directly.
    11· · · · Q.· ·Nobody from the Department of Homeland             11· · · · Q.· ·At his office or on his cell phone?
    12· ·Security's Executive Office?                                 12· · · · A.· ·Both.
    13· · · · A.· ·No.                                                13· · · · Q.· ·Did he have a way to contact you directly?
    14· · · · Q.· ·Have there been any discussions that you are       14· · · · A.· ·Yes.
    15· ·aware of between the Secretary of Homeland Security's 15· · · · Q.· ·On - at your office or on your cell phone?
    16· ·Office and GEO regarding the voluntary work program   16· · · · A.· ·Both.
    17· ·litigation you discussed with ICE in that meeting?           17· · · · Q.· ·Did you all message or call each other at all
    18· · · · A.· ·Can you repeat the question?                       18· ·regarding your work with GEO?
    19· · · · · · ·I'm sorry.                                         19· · · · · · ·MR. DONOHUE:· Object to the form.
    20· · · · Q.· ·It's okay.                                         20· · · · · · ·THE WITNESS:· We've had communication, sure.
    21· · · · · · ·(Whereupon, the requested portion of the           21· ·BY MR. FREE:
    22· ·record was read back).                                       22· · · · Q.· ·Have any of those been in writing?
    23· · · · · · ·THE WITNESS:· Not that I'm aware of.               23· · · · A.· ·There may have been e-mails.
    24· ·BY MR. FREE:                                                 24· · · · Q.· ·Anything else?
    25· · · · Q.· ·Did you take any notes during that meeting?        25· · · · A.· ·Text messages.

                                                           Page 164                                                                 Page 166
    ·1· · · · A.· ·No.                                                ·1· · · · Q.· ·Anything else?
    ·2· · · · Q.· ·Did anyone take any notes during that meeting?     ·2· · · · A.· ·No.
    ·3· · · · A.· ·I don't know.                                      ·3· · · · Q.· ·Do you use an encrypted text application?
    ·4· · · · Q.· ·Did you observe anybody with a notepad during      ·4· · · · A.· ·No.
    ·5· ·that meeting?                                                ·5· · · · Q.· ·Do you know if Mr. Homan used an encrypted
    ·6· · · · A.· ·I did not.                                         ·6· ·text application?
    ·7· · · · Q.· ·Did you observe anyone with an open laptop         ·7· · · · A.· ·I do not.
    ·8· ·during that meeting?                                         ·8· · · · Q.· ·Do you know what Good is, G-o-o-d for
    ·9· · · · A.· ·No.                                                ·9· ·BlackBerry?
    10· · · · Q.· ·Were there any communications that you             10· · · · A.· ·I do not.
    11· ·received after that meeting from other GEO officials         11· · · · Q.· ·Okay, have you had any of your subordinates or
    12· ·regarding the meeting?                                       12· ·staffers communicating with Mr. Homan on your behalf or
    13· · · · A.· ·Not that I'm aware of, no.                         13· ·any of his staffers on his behalf?
    14· · · · Q.· ·Who asked for the meeting?                         14· · · · · · ·Sure.· I'm sorry.
    15· · · · A.· ·I made the formal request.                         15· · · · · · ·Have you had anybody who works for you reach
    16· · · · Q.· ·How did you do that?                               16· ·out to anyone who works for Mr. Homan to communicate
    17· · · · A.· ·I'm sorry?                                         17· ·regarding GEO's relationship with ICE or the
    18· · · · Q.· ·How did you do that?                               18· ·contracting?
    19· · · · A.· ·E-mail, a phone call probably.                     19· · · · A.· ·No.
    20· · · · Q.· ·To whom?                                           20· · · · Q.· ·No?
    21· · · · A.· ·To Mr. Homan.                                      21· · · · A.· ·My subordinate staff?
    22· · · · Q.· ·Okay, was that the first time that you had         22· · · · Q.· ·Uh-huh.· Yeah.
    23· ·spoken with Mr. Homan on behalf of GEO?                      23· · · · A.· ·No.
    24· · · · A.· ·About this case?                                   24· · · · Q.· ·Is it fair to say you two have dealt with each
    25· · · · Q.· ·Just generally.· We'll start there and then        25· ·other directly?


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    ·1· · · · A.· ·Yes.                                                   ·1· · · · A.· ·Where did I stay?· I don't know if we -- Like
    ·2· · · · Q.· ·Okay.· That's - I'm just making sure.                  ·2· ·I said, I can't recall if we went the night before or if
    ·3· · · · A.· ·Yeah.· I understand.                                   ·3· ·we flew up and flew out - flew back the same day.
    ·4· · · · Q.· ·Okay.· Thanks.                                         ·4· · · · Q.· ·How did you fly up there?
    ·5· · · · · · ·What time was the meeting?                             ·5· · · · A.· ·On a plane.
    ·6· · · · A.· ·What time was the meeting?                             ·6· · · · Q.· ·Was it a commercial jet or private jet?
    ·7· · · · Q.· ·Uh-huh.                                                ·7· · · · A.· ·I'm sorry?
    ·8· · · · A.· ·You know, I don't recall.                              ·8· · · · Q.· ·Was it a commercial jet, a private plane?
    ·9· · · · Q.· ·Was it in the morning or the afternoon?                ·9· · · · A.· ·I'm trying to remember.
    10· · · · A.· ·I honestly don't recall.                               10· · · · · · ·I think it's possibly private.
    11· · · · Q.· ·Did you fly up for the meeting?                        11· · · · Q.· ·Is it possible that you stayed at the Old Post
    12· · · · A.· ·Yes, we did.                                           12· ·Office, the Trump Hotel while you were there?
    13· · · · Q.· ·How far in advance did you arrive?                     13· · · · A.· ·If we stayed overnight?· Yes.
    14· · · · A.· ·I don't recall.· I don't recall if we went a           14· · · · Q.· ·Is it possible that in addition to staying
    15· ·day in advance or the morning of.                                15· ·there you went there?· Whether you did or not, did you
    16· · · · Q.· ·Did you meet at 12th Street Southwest, the ICE         16· ·go to that hotel when you were there?
    17· ·headquarters?                                                    17· · · · · · ·MR. DONOHUE:· Object to the form.
    18· · · · A.· ·Yes.                                                   18· · · · · · ·THE WITNESS:· I don't recall.
    19· · · · Q.· ·Did you log in when you met?                           19· ·BY MR. FREE:
    20· · · · A.· ·Yes.                                                   20· · · · Q.· ·Have you been there before?
    21· · · · Q.· ·Did you sign your name?                                21· · · · A.· ·To the Trump Hotel?
    22· · · · A.· ·Yes.                                                   22· · · · Q.· ·Uh-huh.
    23· · · · Q.· ·Did you log out when you left?                         23· · · · A.· ·Yes.
    24· · · · A.· ·Yes.                                                   24· · · · Q.· ·Have you put any GEO expensed credit cards on
    25· · · · Q.· ·Do you know if the other GEO officials did as          25· ·bills that you've accrued at the Trump Hotel?

                                                            Page 168                                                    Page 170
    ·1· ·well?                                                    ·1· · · · A.· ·Yes.
    ·2· · · · A.· ·Yes.                                           ·2· · · · Q.· ·All right, how many times?
    ·3· · · · Q.· ·Did you all leave together?                    ·3· · · · A.· ·I don't - I don't recall.
    ·4· · · · A.· ·Yes.                                           ·4· · · · Q.· ·More than one?
    ·5· · · · Q.· ·Okay, did the ICE officials stay or did you    ·5· · · · A.· ·Certainly more than one.
    ·6· ·all go out together after you left?                      ·6· · · · Q.· ·More than four?
    ·7· · · · A.· ·No.· The ICE officials stayed.                 ·7· · · · A.· ·Yes.
    ·8· · · · Q.· ·Okay, and did you see anyone with ICE while    ·8· · · · Q.· ·More than ten?
    ·9· ·you were in D.C. during that period?                     ·9· · · · A.· ·Yes.
    10· · · · A.· ·I'm sorry?                                     10· · · · Q.· ·More than twenty?
    11· · · · Q.· ·Apart from the meeting --                      11· · · · A.· ·That I don't know.
    12· · · · A.· ·Yeah.                                          12· · · · · · ·I don't think it's more than twenty.
    13· · · · Q.· ·-- when you were in D.C. did you see anyone or 13· · · · Q.· ·Okay, so somewhere between ten and twenty?
    14· ·meet with anyone with ICE apart from the meeting that    14· · · · A.· ·Correct.
    15· ·you had?                                                 15· · · · Q.· ·Okay, did you stay anywhere else after
    16· · · · A.· ·I don't recall.· I don't think so, but I don't 16· ·January, 2017 when you go to D.C.?
    17· ·recall having additional meetings with any ICE personnel 17· · · · A.· ·Yes.
    18· ·during that time.                                        18· · · · Q.· ·Where?
    19· · · · Q.· ·I'm not just talking about meetings.· I'm just 19· · · · A.· ·The Mandarin Hotel, the Hyatt.
    20· ·saying did you - did you see them socially?· Did you --  20· · · · Q.· ·Okay.
    21· · · · A.· ·Oh, no.                                        21· · · · · · ·I'll hand you a document we're going to mark
    22· · · · Q.· ·No.· Okay.                                     22· ·as Exhibit Fourteen.
    23· · · · · · ·Do you know if anybody else with GEO did?      23· · · · · · ·(Whereupon, Exhibit 14 was marked)
    24· · · · A.· ·I do not.                                      24· ·BY MR. FREE:
    25· · · · Q.· ·Where did you stay?                            25· · · · Q.· ·Do you recognize this document?


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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             171–174
                                                           Page 171                                                                           Page 173
    ·1· · · · A.· ·Yes.                                                        ·1· · · · · · ·THE WITNESS:· No.
    ·2· · · · Q.· ·What is it?                                                 ·2· ·BY MR. FREE:
    ·3· · · · A.· ·It's a letter to Mr. Homan regarding the issue              ·3· · · · Q.· ·Page four, Concerted Challenges to ICE
    ·4· ·we just discussed, the request for the equitable                      ·4· ·Authority and to the Federal Law.· Do you see where I
    ·5· ·adjustment.                                                           ·5· ·am?
    ·6· · · · Q.· ·For how much?                                               ·6· · · · A.· ·Yes.
    ·7· · · · A.· ·A little over two million dollars.                          ·7· · · · Q.· ·You wrote, "These lawsuits have placed GEO's
    ·8· · · · Q.· ·What is the date on the letter?                             ·8· ·operation of facilities at odds with Correctional -
    ·9· · · · A.· ·February 14th, 2018.                                        ·9· ·Congressional direction."· Do you see that?
    10· · · · Q.· ·Who's the letter from?                                      10· · · · A.· ·Yes.
    11· · · · A.· ·From me.                                                    11· · · · · · ·MR. DONOHUE:· Just for the record it says
    12· · · · Q.· ·You requested the meeting for the Thursday                  12· · · · operation of ICE facilities at odds.
    13· ·morning of February 22nd.· Do you believe -- That's on                13· · · · · · ·MR. FREE:· Thank you.
    14· ·the last page right above your signature.· Do you                     14· ·BY MR. FREE:
    15· ·believe that that's when the meeting happened?                        15· · · · Q.· ·You say, "Obviously, GEO does not engage in
    16· · · · A.· ·Thereabouts.· I don't know if it was exactly                16· ·forced labor that violates the TVPA."· Do you see that?
    17· ·the - the - February 22nd, but --                                     17· · · · A.· ·Yes.
    18· · · · Q.· ·Okay, when did you last review this letter?                 18· · · · Q.· ·GEO is a Federal Government contractor,
    19· · · · A.· ·With -- On Monday with -- Or Tuesday?                       19· ·correct?
    20· · · · Q.· ·Okay, don't --                                              20· · · · A.· ·Correct.
    21· · · · A.· ·Yeah.                                                       21· · · · Q.· ·GEO has contracts with the Department of
    22· · · · Q.· ·I don't --                                                  22· ·Homeland Security, correct?
    23· · · · · · ·Can you turn to page two.                                   23· · · · A.· ·Correct.
    24· · · · A.· ·Two.· Sure.                                                 24· · · · Q.· ·Those contracts are governed in part by the
    25· · · · Q.· ·It says State of California Lawsuit and                     25· ·Homeland Security Acquisition Regulations.· Do you - are

                                                                    Page 172                                                                  Page 174
    ·1· ·Legislation.· Do you see that?                                        ·1· ·you aware of that?
    ·2· · · · A.· ·Yes.                                                        ·2· · · · A.· ·Yes.
    ·3· · · · Q.· ·All right, that is the part of the letter that              ·3· · · · Q.· ·They're also governed by the Federal
    ·4· ·discusses the Novoa case that we're here on today.                    ·4· ·Acquisition Regulations?
    ·5· ·Would you agree?                                                      ·5· · · · A.· ·Correct.
    ·6· · · · A.· ·Yes.                                                        ·6· · · · Q.· ·You write, "To the extent that the Plaintiffs
    ·7· · · · Q.· ·Did you ever house minors in the State of                   ·7· ·allege -- To the extent that Plaintiffs allege that
    ·8· ·California?                                                           ·8· ·disciplinary segregation is an unlawful threat for
    ·9· · · · A.· ·No.                                                         ·9· ·refusal to work, this sanction comes directly from ICE
    10· · · · Q.· ·Does The GEO Group have any responses to                    10· ·policies which ICE should assist in defending."· Have I
    11· ·requests for information or requests for proposals                    11· ·read that correctly?
    12· ·regarding the detention of minors in the State of                     12· · · · A.· ·You have.
    13· ·California?                                                           13· · · · Q.· ·As you sit here today do you know what ICE
    14· · · · A.· ·Can you repeat that?                                        14· ·policy allows disciplinary segregation for a refusal of
    15· · · · · · ·(Whereupon, the requested portion of the                    15· ·a detained immigrant to work?
    16· ·record was read back).                                                16· · · · A.· ·I don't - I don't recall what specific policy
    17· · · · · · ·THE WITNESS:· Thank you.                                    17· ·contains that.
    18· · · · · · ·No, we do not.                                              18· · · · Q.· ·Do you know of any general policy that might
    19· ·BY MR. FREE:                                                          19· ·contain that?
    20· · · · Q.· ·Are you aware of any upcoming opportunities                 20· · · · A.· ·It would be - I would believe it's in the
    21· ·that GEO would try and qualify for regarding the housing 21· ·Detention Standards, the Perform - the Performance-Based
    22· ·of minors in the State of California?                    22· ·National Detention Standards.
    23· · · · · · ·THE COURT REPORTER:· Regarding?                             23· · · · Q.· ·Let me show you what's been marked as Exhibit
    24· · · · · · ·MR. FREE:· The housing of minors in the State               24· ·Two.
    25· · · · of California.                                                   25· · · · · · ·Do you have any idea as you sit here -- Before



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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             175–178
                                                            Page 175                                                      Page 177
    ·1· ·you start looking at the document, where in the          ·1· ·alone by yourself?
    ·2· ·standards I would find the disciplinary segregation for  ·2· · · · A.· ·No.
    ·3· ·refusal to work?                                         ·3· · · · Q.· ·So there can be multiple people in a special
    ·4· · · · A.· ·Either in the - in the detainee work program   ·4· ·management unit cell on disciplinary segregation?· Is
    ·5· ·or possibly any policies regarding administrative        ·5· ·that your testimony?
    ·6· ·segregation.                                             ·6· · · · A.· ·It's my understanding that those types of
    ·7· · · · Q.· ·Okay, let's take those in turn.                ·7· ·units do allow for more than one individual in a - in a
    ·8· · · · · · ·Let's start with the detainee work program, so ·8· ·unit or a pod.
    ·9· ·I'll turn you to Section 5.8 of the PBNDS which begins   ·9· · · · Q.· ·Do you have any understanding as to the up -
    10· ·in this version on page 405.                             10· ·the upward bound of that allowance?· In other words,
    11· · · · A.· ·Which page?                                    11· ·what's the maximum number that you think you can put
    12· · · · Q.· ·405.                                           12· ·into a special management unit cell?
    13· · · · A.· ·Oh.· 405.                                      13· · · · A.· ·I do not.
    14· · · · · · ·THE VIDEOGRAPHER:· Your microphone is          14· · · · Q.· ·In fact, like do you have any understanding of
    15· · · · slipping.                                           15· ·in practice how many people are actually in the special
    16· ·BY MR. FREE:                                             16· ·management unit cells?
    17· · · · Q.· ·Have you ever seen these Performance-Based     17· · · · A.· ·I do not.
    18· ·National Detention Standards before today in any         18· · · · Q.· ·Okay.· All right, I am not going to go through
    19· ·version?                                                 19· ·the entire 5.8, okay, point by point.· That's the
    20· · · · A.· ·Yes.                                           20· ·Performance-Based National Detention work standard
    21· · · · Q.· ·Aside from - before we dive into this, aside   21· ·governing the voluntary work program.
    22· ·from the voluntary work program standard and the         22· · · · A.· ·Okay.
    23· ·segregation standard is there anywhere else in the PBNDS 23· · · · Q.· ·But you would agree with me that it's called
    24· ·you believe would allow a contractor like GEO to         24· ·the voluntary work program, right?
    25· ·threaten disciplinary segregation for a detainee's       25· · · · A.· ·Yes.

                                                            Page 176                                                              Page 178
    ·1· ·refusal to work at an ICE Detention Center?                   ·1· · · · Q.· ·You would agree that under this standard all
    ·2· · · · A.· ·I don't think there is anywhere in here that        ·2· ·work with the exception, like a few very limited
    ·3· ·authorizes anyone to threaten a detainee.· There are          ·3· ·exceptions that I'll show you in a minute must be
    ·4· ·sanctions for refusing work assignments or instructions       ·4· ·voluntary in the voluntary work program, wouldn't you?
    ·5· ·but, no, not threaten.                                        ·5· · · · A.· ·Yes.
    ·6· · · · Q.· ·Okay, the sanctions that you just spoke of for      ·6· · · · Q.· ·Okay, so there is a Section -- I'm sorry.
    ·7· ·refusing work assignments or instructions include             ·7· ·Tell me again, you told me before, but I want to make
    ·8· ·disciplinary segregation as far as you understand it?         ·8· ·sure I understood your answer.· Tell me again what you
    ·9· · · · A.· ·Some form of segregation.· I don't know the         ·9· ·think the Performance-Based National Detention Standards
    10· ·specifics.                                                    10· ·allow GEO to threaten disciplinary segregation for on
    11· · · · Q.· ·Okay, and when you say segregation, do you          11· ·when a person refuses to work.· Like you said a couple
    12· ·mean a special management unit as that term is used in 12· ·of things, I think, like not showing up at assignments.
    13· ·the Performance-Based National Detention Standards? 13· ·Can you just tell me so that I understand the behavior
    14· ·What are you thinking of when you say segregation?            14· ·and can you explain to me what you think the behavior is
    15· · · · A.· ·Removal from the general population.                15· ·that a detainee worker can do where GEO can put them in
    16· · · · Q.· ·To where?                                           16· ·disciplinary segregation for refusal to work?
    17· · · · A.· ·To a unit where others who need that type of        17· · · · · · ·MR. DONOHUE:· Object to the form,
    18· ·housing are housed.                                           18· · · · mischaracterizes, compound, vague.
    19· · · · Q.· ·What type of housing?                               19· · · · · · ·THE WITNESS:· Again I think I stated that
    20· · · · A.· ·Either protective custody because they can't        20· · · · nowhere in here does it allow anyone to threaten a
    21· ·be in the general population or some other type of            21· · · · detainee, but there are, I think, examples in here
    22· ·qualifications that would allow them to be moved into -       22· · · · of when a detainee can be placed into segregation
    23· ·outside of the general population.                            23· · · · or some form of discipline being rendered in a - in
    24· · · · Q.· ·Would you agree that segregation is another         24· · · · a process that describes how - how that is managed
    25· ·way of saying being alone by yourself, being in a cell        25· · · · and - and executed by the contractor.


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    NOVOA vs THE GEO GROUP                                             179–182
                                                            Page 179                                                               Page 181
    ·1· ·BY MR. FREE:                                                     ·1· · · · A.· ·Yes.
    ·2· · · · Q.· ·In your letter to ICE you said, "To the extent         ·2· · · · Q.· ·Section C, personal housekeeping required, is
    ·3· ·that Plaintiffs allege that disciplinary segregation is          ·3· ·that what you were thinking of?
    ·4· ·an unlawful threat for refusal to work, this sanction            ·4· · · · A.· ·Yes.
    ·5· ·comes directly from ICE policies."· That's what you said         ·5· · · · Q.· ·Okay, so it says, "Work assignments are
    ·6· ·in your letter.· As you sit here today, do you see               ·6· ·voluntary."· Do you agree I read that correctly?
    ·7· ·anything in 5.8 that allows a threat of disciplinary             ·7· · · · A.· ·Uh-huh.· (Affirmative response).· Yes.
    ·8· ·segregation by GEO for a detainee's refusal to work?             ·8· · · · Q.· ·"However, all detainees are responsible for
    ·9· · · · · · ·MR. DONOHUE:· Object to the form.                      ·9· ·personal housekeeping."· Is - have I read that
    10· · · · · · ·THE WITNESS:· No.· I do not see anything that          10· ·correctly?
    11· · · · authorize - authorizes anyone to threaten a                 11· · · · A.· ·Yes.
    12· · · · detainee for refusal to work.                               12· · · · Q.· ·All right, and then, "Detainees are required
    13· ·BY MR. FREE:                                                     13· ·to maintain their immediate living areas in a neat and
    14· · · · Q.· ·The other standard that you mentioned I                14· ·orderly manner by:· One, making their bunk beds daily;
    15· ·believe was the disciplinary system.· Is that a fair             15· ·two, stacking loose papers; three, keeping the floor
    16· ·description of what you told me?                                 16· ·debris free of debris and dividers free of clutter; and
    17· · · · A.· ·Yes.                                                   17· ·four, refraining from hanging/draping clothing,
    18· · · · Q.· ·So we're going to look at 3.1 which begins on          18· ·pictures, keepsakes or other objects from beds, overhead
    19· ·215.                                                             19· ·lighting fixtures or other furniture."· Have I read that
    20· · · · · · ·Are you there with me?                                 20· ·correctly?
    21· · · · A.· ·Yes.                                                   21· · · · A.· ·Yes.
    22· · · · · · ·215?                                                   22· · · · Q.· ·As you sit here today do you understand any of
    23· · · · Q.· ·Yes, sir.                                              23· ·the lawsuits that you've written about to ICE on behalf
    24· · · · · · ·Excuse me.· It begins on 214.                          24· ·of GEO to include any of these four required personal
    25· · · · A.· ·Yes.                                                   25· ·housekeeping tasks?

                                                               Page 180                                                            Page 182
    ·1· · · · Q.· ·There you go.                                          ·1· · · · · · ·MR. DONOHUE:· Object to the form.
    ·2· · · · · · ·So this is the Performance-Based National              ·2· · · · · · ·THE WITNESS:· I guess I don't understand your
    ·3· ·Detention Standard Section 3.1 disciplinary system and           ·3· · · · question.
    ·4· ·the version that's in front of you is the PBNDS 2011             ·4· ·BY MR. FREE:
    ·5· ·revised in 2016.· Do you see that?                               ·5· · · · Q.· ·Let me see if I can help you.
    ·6· · · · A.· ·Yes.                                                   ·6· · · · A.· ·Yeah.· Thank you.
    ·7· · · · Q.· ·All right, is there any other standard that            ·7· · · · Q.· ·Look at page two of your letter.
    ·8· ·you could have been referring to when you wrote this             ·8· · · · A.· ·Yeah.
    ·9· ·letter, or is this the one you were talking about?               ·9· · · · Q.· ·You summarize for ICE the allegations as GEO
    10· · · · A.· ·I thought there might have been a section that         10· ·understands them, I think.· I'm starting at the second
    11· ·covered housekeeping.                                            11· ·sentence, "Novoa, a former detainee at the Adelanto
    12· · · · Q.· ·Okay.· Well, let's look back.· I'm just                12· ·Detention Center, alleges that GEO maintains a corporate
    13· ·going --                                                         13· ·policy and uniform practice of withholding sufficient
    14· · · · A.· ·Okay.                                                  14· ·food, water and hygiene products from detainees at
    15· · · · Q.· ·-- to help you because I think I know what             15· ·Adelanto.· As a result, detainees are forced to either
    16· ·you're talking about.                                            16· ·purchase these daily necessities from the facility's
    17· · · · A.· ·Okay.                                                  17· ·commissary or go without.· Novoa further alleges that by
    18· · · · Q.· ·All right?                                             18· ·maintaining these harsh conditions and purposely
    19· · · · · · ·Let's look back at 5.8.                                19· ·withholding necessities from detainees, GEO ensures an
    20· · · · A.· ·What page was that again?                              20· ·available pool of labor" -- excuse me -- "An available
    21· · · · Q.· ·It is -- I'm sorry.· I'm just getting to it            21· ·labor pool of detainees will work for only one dollar
    22· ·myself.                                                          22· ·per day," and "Finally, Novoa alleges that the VWP is
    23· · · · · · ·It's 407.                                              23· ·not 'voluntary' because detainees that refuse to
    24· · · · · · ·Excuse me.· 406.                                       24· ·participate in the voluntary work program are placed
    25· · · · · · ·Do you see that page?                                  25· ·into solitary confinement," so you've also summarized


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    NOVOA vs THE GEO GROUP                                             183–186
                                                            Page 183                                                               Page 185
    ·1· ·the other lawsuits in your letter to - in GEO's letter          ·1· · · · sentence from a letter that he wrote, but I don't
    ·2· ·to ICE, haven't you?· And that's at page one and page           ·2· · · · always get what I want.
    ·3· ·two.                                                            ·3· · · · · · ·MR. FREE:· We're not doing this.
    ·4· · · · A.· ·Yes.                                                  ·4· ·BY MR. FREE:
    ·5· · · · Q.· ·Okay, so we're going to bracket out the State         ·5· · · · Q.· ·What allegations were you referring to when
    ·6· ·of Washington lawsuits on page two because those are            ·6· ·you wrote this letter on behalf of GEO to ICE?
    ·7· ·about minimum wage, right?                                      ·7· · · · A.· ·I don't have those documents in front of me,
    ·8· · · · A.· ·Yes.                                                  ·8· ·so I --
    ·9· · · · Q.· ·All right, so the only other thing we're going        ·9· · · · Q.· ·Okay.
    10· ·to be talking about is the State of Colorado lawsuit.           10· · · · A.· ·-- can't answer.
    11· · · · · · ·When you're saying disciplinary segregation           11· · · · Q.· ·As you sit here today are you aware -- Now
    12· ·for refusal to work is an ICE policy, it's really the           12· ·that we've looked at the personal housekeeping
    13· ·lawsuit you could be talking about, right?                      13· ·requirement are you aware of any policy that would
    14· · · · · · ·MR. DONOHUE:· Object to the form,                     14· ·permit GEO, any ICE policy that would permit GEO to use
    15· · · · mischaracterizes.                                          15· ·disciplinary segregation as a threat for refusing to
    16· · · · · · ·THE WITNESS:· Can you repeat the question?            16· ·work?
    17· · · · · · ·I'm sorry.                                            17· · · · A.· ·I don't -- Yeah, I don't know.
    18· ·BY MR. FREE:                                                    18· · · · Q.· ·Okay.
    19· · · · Q.· ·So the only other lawsuit if - if Mr. Novoa's         19· · · · · · ·Did you know the answer to that question when
    20· ·lawsuit does not mention anything and your - and your           20· ·you wrote this letter?
    21· ·summarization of the allegations in this case don't say         21· · · · · · ·MR. DONOHUE:· Object to the form.
    22· ·anything about personal housekeeping, right, which is           22· · · · · · ·THE WITNESS:· And what was the question?
    23· ·the situation in which you think you can be put in              23· ·BY MR. FREE:
    24· ·solitary under ICE policies, the only other case where          24· · · · Q.· ·Did you know the answer to the question I just
    25· ·that could be true is this Colorado case, right?                25· ·asked you about whether there's an ICE policy that

                                                              Page 184                                                      Page 186
    ·1· · · · A.· ·I'm thinking.· I'm sorry.                             ·1· ·allows GEO to threaten disciplinary segregation on a
    ·2· · · · Q.· ·We'll do it easier.                                   ·2· ·detainee for refusal to work when you wrote the letter?
    ·3· · · · A.· ·Yeah.· I don't think I'm tracking here.               ·3· ·Is it possible, in other words, that you knew that -
    ·4· · · · Q.· ·Where is this coming from?· You say -- Just           ·4· ·what you were talking about but it's been sixteen months
    ·5· ·help me understand where you think any of these                 ·5· ·and you just forgot?
    ·6· ·lawsuits -- No.· So we're back at page four.                    ·6· · · · · · ·MR. DONOHUE:· Object to the form,
    ·7· · · · · · ·"To the extent that Plaintiffs allege that            ·7· · · · mischaracterizes, vague.
    ·8· ·disciplinary segregation is an unlawful threat for              ·8· · · · · · ·THE WITNESS:· I just can't recall the source
    ·9· ·refusal to work, this sanction comes directly from ICE          ·9· · · · of that information.
    10· ·policies."· Do you see that - that sentence or part of          10· ·BY MR. FREE:
    11· ·the sentence?                                                   11· · · · Q.· ·Okay.
    12· · · · A.· ·Yes.                                                  12· · · · · · ·Lower down the page at the fourth - fifth to
    13· · · · Q.· ·Have I read it correctly?                             13· ·the last line -- I'm sorry.
    14· · · · A.· ·Yes.                                                  14· · · · · · ·You signed this letter, right?
    15· · · · Q.· ·What allegation are you talking about?                15· · · · A.· ·Yes.
    16· · · · · · ·MR. DONOHUE:· Do you want to give him the             16· · · · Q.· ·Okay, and you reviewed it on Monday, right?
    17· · · · Complaint?                                                 17· · · · A.· ·I think it was Tuesday.
    18· · · · · · ·MR. FREE:· No.                                        18· · · · Q.· ·Whenever.
    19· · · · · · ·MR. DONOHUE:· If you can answer that without          19· · · · · · ·Did you believe it was true when you signed
    20· · · · looking at the Complaint which has lots of                 20· ·it?
    21· · · · different obligations then go ahead.                       21· · · · A.· ·Yes.
    22· · · · · · ·MR. FREE:· I really would appreciate it if you        22· · · · Q.· ·Do you still believe it's true?
    23· · · · didn't testify throughout this.                            23· · · · A.· ·Yes.
    24· · · · · · ·MR. DONOHUE:· Well, I'd appreciate it if you          24· · · · Q.· ·Okay, so you still believe?
    25· · · · wouldn't torture him on - and take out of context a        25· · · · A.· ·Yeah.· I just can't point to the policy right


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    NOVOA vs THE GEO GROUP                                             187–190
                                                            Page 187                                                      Page 189
    ·1· ·at this currently.                                            ·1· ·not asking you all the reasons that GEO can impose
    ·2· · · · Q.· ·Okay.                                               ·2· ·discipline on an ICE detainee in the Adelanto facility
    ·3· · · · · · ·How do you know it's true?                          ·3· ·or anywhere else.· What I'm asking you is other than
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                   ·4· ·these four specified things in the personal housekeeping
    ·5· · · · · · ·THE WITNESS:· I believe there is policy or          ·5· ·section of Section 5.8 of the PBNDS, which I appreciate
    ·6· · · · language contained in these documents that allow         ·6· ·you pointed me to that, what other work assignment could
    ·7· · · · for some form of discipline for individuals who          ·7· ·GEO give an ICE detainee that ICE's policies would allow
    ·8· · · · refuse assignments, orders and jeopardize the            ·8· ·GEO to impose disciplinary segregation if they refused?
    ·9· · · · security of the facility, but again I cannot at          ·9· · · · · · ·MR. DONOHUE:· Object to the form.
    10· · · · this - right now find that - that document.              10· · · · · · ·THE WITNESS:· Other than those four I don't -
    11· ·BY MR. FREE:                                                  11· · · · I don't - I don't know what other work assignments
    12· · · · Q.· ·And that's -- We're talking about the               12· · · · would be available at the - at the facility.
    13· ·voluntary work program and not the personal                   13· ·BY MR. FREE:
    14· ·housekeeping, right?                                          14· · · · Q.· ·Do you believe that there are other work
    15· · · · · · ·MR. DONOHUE:· Object to the form.                   15· ·assignments available at any facility that do not
    16· · · · · · ·THE WITNESS:· I am referring to the allegation      16· ·include the four enumerated tasks in personal
    17· · · · that says that we put people in disciplinary             17· ·housekeeping?· In other words, are there - is there
    18· · · · segregation for refusing work assignments.               18· ·anything else other than these four things according to
    19· ·BY MR. FREE:                                                  19· ·your understanding that GEO could tell a detainee you've
    20· · · · Q.· ·Okay, and you're saying in this letter, "To         20· ·got to do this thing, this task and if they don't ICE's
    21· ·the extent that the Plaintiffs allege that disciplinary       21· ·policy say GEO can put them in disciplinary segregation,
    22· ·segregation is an unlawful threat for refusal to work,        22· ·any other work that GEO could task a detainee with apart
    23· ·this sanction comes directly from ICE policies"?              23· ·from these four enumerated tasks?
    24· · · · · · ·MR. DONOHUE:· Object to the form.                   24· · · · A.· ·I understand --
    25· · · · · · ·THE WITNESS:· Again I don't recall the source       25· · · · · · ·MR. DONOHUE:· Hang on a second.

                                                          Page 188                                                              Page 190
    ·1· · · · document that I was referring to when I was writing      ·1· · · · · · ·THE WITNESS:· Sure.
    ·2· · · · that, but again it was more I believe to                 ·2· · · · · · ·MR. DONOHUE:· Sorry.
    ·3· · · · individuals, detainees refusing orders or                ·3· · · · · · ·THE WITNESS:· No.· It's okay.
    ·4· · · · assignments not necessarily tied to the voluntary        ·4· · · · · · ·MR. DONOHUE:· Object to the form.
    ·5· · · · work program.                                            ·5· · · · · · ·THE WITNESS:· So, no, I don't think there are
    ·6· ·BY MR. FREE:                                                  ·6· · · · other work assignments that GEO could assign a
    ·7· · · · Q.· ·What assignments to your understanding when         ·7· · · · detainee and if they refuse that would result in
    ·8· ·you wrote this letter could GEO have given a detainee         ·8· · · · some form of discipline.
    ·9· ·that would under ICE policy result in disciplinary            ·9· ·BY MR. FREE:
    10· ·segregation if the detainee refused?                          10· · · · Q.· ·Is your understanding of any of the claims
    11· · · · A.· ·You're asking for a specific example of?            11· ·that you discussed with ICE during this meeting either
    12· · · · Q.· ·I'm asking the question --                          12· ·in this case or in the Colorado case, because that's the
    13· · · · · · ·(Whereupon, the requested portion of the            13· ·only other TVPA case, right, a forced labor case, is
    14· ·record was read back).                                        14· ·your understanding of the claims that the - that the
    15· · · · · · ·THE WITNESS:· If they refused to clean their -      15· ·Plaintiffs are bringing that ICE - that GEO should be
    16· · · · their areas, the personal housekeeping                   16· ·held liable for forcing them to do one of these four
    17· · · · requirements, a form of discipline could be imposed      17· ·things under the threat of solitary confinement?· Do you
    18· · · · but not automatically disciplinary segregation.          18· ·think that that's what the Plaintiffs are saying?
    19· ·BY MR. FREE:                                                  19· · · · · · ·MR. DONOHUE:· Object to the form.
    20· · · · Q.· ·Anything else?                                      20· · · · · · ·THE WITNESS:· I don't understand the question.
    21· · · · A.· ·There could be fighting, there could be other       21· ·BY MR. FREE:
    22· ·things, activities where discipline can be imposed.           22· · · · Q.· ·Well, these -- I mean over and over again in
    23· · · · Q.· ·That's not my question.· My question --             23· ·this letter you referred to the voluntary work program.
    24· · · · A.· ·Refusing to stand for counts.                       24· · · · · · ·We'll start at page one.· It's in the second
    25· · · · Q.· ·Okay, before you go down this rabbit hole, I'm      25· ·full paragraph.· That's the Colorado lawsuit.· It says,


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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             191–194
                                                                  Page 191                                                             Page 193
    ·1· ·"The suit alleges that GEO's payment of a dollar per day            ·1· · · · A.· ·Yes.
    ·2· ·to detainees who work in the voluntary work program as              ·2· · · · Q.· ·Okay, so in - in this case we went over the
    ·3· ·authorized by ICE and mandated by ICE's PBNDS and GEO'S             ·3· ·allegations on top of page three, "Novoa alleges that
    ·4· ·contract violates the minimum wage law" and then they               ·4· ·the VWP is not voluntary because detainees that refused
    ·5· ·say, "The suit also alleges that detainees are entitled             ·5· ·to participate in the VWP are placed into solitary
    ·6· ·to disgorgement of money under a theory of unjust                   ·6· ·confinement," I think I understand you to have said that
    ·7· ·enrichment for work performed by detainees."· Did I read            ·7· ·ICE policies would not allow GEO to impose a threat of
    ·8· ·that correctly?                                                     ·8· ·disciplinary segregation for refusing to participate in
    ·9· · · · A.· ·Yes.                                                      ·9· ·the voluntary work program.· Did I understand your
    10· · · · Q.· ·Okay, and then -- No.· I see it.· At the top              10· ·testimony correctly?
    11· ·of that paragraph -- We're not turning the page yet.· At            11· · · · · · ·MR. DONOHUE:· Object to the form.
    12· ·the top of that paragraph you say, "Menocal versus The              12· · · · · · ·THE WITNESS:· Correct.
    13· ·GEO Group, et al, a class action suit by former                     13· ·BY MR. FREE:
    14· ·detainees at the Aurora Colorado ICE Processing Facility            14· · · · Q.· ·In other words, nothing - ICE is not going to
    15· ·has been pending since 2014 and represents the first                15· ·allow GEO - as far as you understand it, ICE's policies
    16· ·lawsuit claiming that GEO by having detainees at the                16· ·would not allow GEO to throw somebody in segregation for
    17· ·Aurora facility perform basic housekeeping chores for no            17· ·refusal to work, correct?
    18· ·pay under the alleged threat of solitary confinement,               18· · · · A.· ·Under the VWP?
    19· ·has engaged in forced labor in violation of the                     19· · · · Q.· ·Yes, sir.
    20· ·Trafficking - Trafficking Victims Protection Act." Did I            20· · · · A.· ·Correct.
    21· ·read that correctly?                                                21· · · · Q.· ·Okay, and ICE's policies would not allow GEO
    22· · · · A.· ·Yes.                                                      22· ·to threaten segregation - threaten imposition of
    23· · · · Q.· ·Okay, is - is that allegation as you have                 23· ·segregation on a detainee, so the first question was
    24· ·summarized it in this letter on behalf of GEO to ICE the            24· ·about actually imposing segregation.· My next - this
    25· ·allegation that you're referring to on page four that               25· ·question is about GEO threatening to impose segregation

                                                                  Page 192                                                       Page 194
    ·1· ·disciplinary segregation is an unlawful threat for                  ·1· ·for refusal to work in the VWP.· Do you understand the
    ·2· ·refusal to work?                                                    ·2· ·distinction between the two questions that I'm asking?
    ·3· · · · A.· ·Can you ask the question again?                           ·3· · · · A.· ·I do.
    ·4· · · · Q.· ·I can.                                                    ·4· · · · Q.· ·Okay, so this -- You've said, "Novoa alleges
    ·5· · · · A.· ·I'm sorry.· I just -- I'm not a lawyer, so                ·5· ·that the VWP is not voluntary because detainees that
    ·6· ·it's hard for me to track some of this stuff.                       ·6· ·refused to participate in the VWP are placed into
    ·7· · · · Q.· ·I'm just trying to understand what you were               ·7· ·solitary confinement," and I think we agree that there
    ·8· ·thinking when you wrote this, and I know you're not a               ·8· ·is no ICE policy that would allow GEO to impose solitary
    ·9· ·lawyer, but --                                                      ·9· ·confinement for refusing to participate in the VWP.· Do
    10· · · · A.· ·Right.                                                    10· ·we agree on that?
    11· · · · Q.· ·-- I'm just reading your words.                           11· · · · · · ·MR. DONOHUE:· Object to the form.
    12· · · · A.· ·Yeah.                                                     12· · · · · · ·THE WITNESS:· I would agree that there's no
    13· · · · Q.· ·Okay?· And I just want to make sure that it's             13· · · · policy that - that would allow the contractor to
    14· ·clear, and I think you do too, right?                               14· · · · put someone in a - segregation for refusing to
    15· · · · A.· ·Yes.                                                      15· · · · participate in the VWP.
    16· · · · Q.· ·Yes.                                                      16· ·BY MR. FREE:
    17· · · · · · ·Okay, so, you know, you've said, "To the                  17· · · · Q.· ·Including GEO?
    18· ·extent that Plaintiffs allege that disciplinary                     18· · · · A.· ·Including GEO.
    19· ·segregation is an unlawful threat for refusal to work               19· · · · Q.· ·All right, so then what you're talking about,
    20· ·and this sanction comes directly from ICE policies," and            20· ·I think -- I'm sorry.· Did you have something to -- I
    21· ·you've only in the letter talked about two instances -              21· ·didn't --
    22· ·you know, you've summarized these two cases, right, the 22· · · · A.· ·No.· No.· No.
    23· ·Colorado case and this case that involved disciplinary              23· · · · Q.· ·-- want to interrupt.
    24· ·segregation for refusal to work.· You following me so               24· · · · A.· ·No.· I'm was just clearing my throat.
    25· ·far?                                                                25· · · · Q.· ·Okay, I think what you're talking about then


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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             195–198
                                                         Page 195                                                          Page 197
    ·1· ·the only other thing you could be talking about is back  ·1· · · · Q.· ·Okay.· When you wrote this letter do you know
    ·2· ·on page one which is having detainees at the Aurora         ·2· ·if - do you remember if you knew what the potential
    ·3· ·facility perform basic housekeeping chores for now pay      ·3· ·monetary damages GEO could be facing would be in terms
    ·4· ·under the alleged threat of solitary confinement?           ·4· ·of an actual number?· Had anybody told you that or did
    ·5· · · · A.· ·That would be correct.                            ·5· ·you know it?
    ·6· · · · Q.· ·Okay, and so your understanding when you're       ·6· · · · A.· ·No, I did not.
    ·7· ·writing this letter is that the Aurora case is about        ·7· · · · Q.· ·Okay, the fifth page it says, "Monetary
    ·8· ·detainees refusing to do the four things in the personal    ·8· ·damage - damages in each of the Colorado, Washington and
    ·9· ·housekeeping tasks?                                         ·9· ·California cases could reach several millions of
    10· · · · A.· ·Correct.                                          10· ·dollars."· Do you see that?
    11· · · · Q.· ·Okay, if GEO were doing things outside - if       11· · · · A.· ·Yes.
    12· ·GEO were forcing people at Aurora to do anything other 12· · · · Q.· ·Have I read it correctly?
    13· ·than these four things, these four enumerated tasks, do     13· · · · A.· ·You have.
    14· ·you understand ICE's policies to permit the threat or       14· · · · Q.· ·Turn to page one, please.
    15· ·imposition of solitary - segregation on a detainee by       15· · · · · · ·In the first paragraph you wrote on behalf of
    16· ·GEO?                                                        16· ·GEO to ICE, "GEO cannot bear the costs of this defense
    17· · · · · · ·MR. DONOHUE:· Object to the form.                 17· ·on its own."· Do you see that?
    18· · · · · · ·THE WITNESS:· I don't think ICE would allow us    18· · · · A.· ·Yes.
    19· · · · to - to make any additional assignments beyond         19· · · · Q.· ·Why did you write that?· What were you basing
    20· · · · those four as it relates to housekeeping.              20· ·that statement on?
    21· ·BY MR. FREE:                                                21· · · · A.· ·It was based on the amount of expense that we
    22· · · · Q.· ·Okay.· I understand.                              22· ·incurred and the belief that the government had some
    23· · · · A.· ·Okay.                                             23· ·interest or equities in these cases and that they should
    24· · · · Q.· ·I think we're there.                              24· ·be part of it.
    25· · · · A.· ·Okay.                                             25· · · · Q.· ·Okay, and to be fair to you it's a compound

                                                         Page 196                                                          Page 198
    ·1· · · · Q.· ·In the next paragraph you say on page four,    ·1· ·sentence.· I've only read you the first clause.· It
    ·2· ·"Likewise, the demand that GEO pay a state mandated      ·2· ·says, "GEO cannot bear the cost of this defense on its
    ·3· ·minimum wage is directly contrary to Federal law in the     ·3· ·own."· I understand that you've said a couple of other
    ·4· ·terms of ICE and GEO's contracts."· Did I read that         ·4· ·things, but I just want to focus you on - you kind of
    ·5· ·correctly?                                                  ·5· ·brought in the Federal Government's interests and things
    ·6· · · · A.· ·What page are you on?                             ·6· ·like that, but I'm just asking you about the costs of
    ·7· · · · Q.· ·On page four, fourth paragraph.                   ·7· ·defense.· You've asked them for a little over two
    ·8· · · · A.· ·Yes.                                              ·8· ·million dollars, okay, and then you've projected in the
    ·9· · · · Q.· ·Is the Federal law that you are talking about     ·9· ·final page several millions of dollars each, right?
    10· ·included in this letter?                                    10· · · · A.· ·At which page?
    11· · · · · · ·MR. DONOHUE:· Object to the form.                 11· · · · Q.· ·The final page.· Five.
    12· · · · · · ·THE WITNESS:· Yes.                                12· · · · A.· ·Yes.· Yes.
    13· ·BY MR. FREE:                                                13· · · · Q.· ·All right, you don't know -- I think you just
    14· · · · Q.· ·It's the next couple sentences.                   14· ·told me you don't know what those actual costs would be,
    15· · · · A.· ·Yes.                                              15· ·but you've told ICE, GEO has told ICE you can't bear
    16· · · · Q.· ·Is there any other Federal law that GEO           16· ·those costs on your own, right?
    17· ·contends that you on behalf of GEO were thinking about 17· · · · A.· ·Correct.
    18· ·that a state mandated minimum wage would be directly 18· · · · Q.· ·Why not?
    19· ·contrary to?                                                19· · · · A.· ·Again as this continues every single day more
    20· · · · · · ·MR. DONOHUE:· Object to the form.                 20· ·and more individuals are added to the class.· If there
    21· ·BY MR. FREE:                                                21· ·were to be an adverse outcome, yeah, that could be
    22· · · · Q.· ·Directly contrary to.                             22· ·millions and millions of dollars expense to GEO, so I
    23· · · · A.· ·No.                                               23· ·think that's what I was referring to.
    24· · · · Q.· ·Just this?                                        24· · · · Q.· ·Remember a moment ago when we were talking
    25· · · · A.· ·Just this.                                        25· ·about the indemnification provision of your


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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             199–202
                                                      Page 199                                                       Page 201
    ·1· ·intergovernmental services agreement between GEO, ICE ·1· ·told that they expect the market for immigration
    ·2· ·and the City of Adelanto?                                   ·2· ·detention to continue and that GEO will stay profitable,
    ·3· · · · A.· ·Yeah.· Yes.                                       ·3· ·right?
    ·4· · · · Q.· ·And do you remember agreeing that GEO is going    ·4· · · · · · ·MR. DONOHUE:· Object to the form.
    ·5· ·to bear the risk or at least the terms of that contract     ·5· · · · · · ·THE WITNESS:· They have made those statements,
    ·6· ·would indicate that GEO is going to bear the risk of any    ·6· · · · correct.
    ·7· ·of that litigation?                                         ·7· ·BY MR. FREE:
    ·8· · · · A.· ·Of litigation, yes.                               ·8· · · · Q.· ·GEO has disclosed this litigation to its
    ·9· · · · Q.· ·And those costs including expenses and            ·9· ·shareholders, but are you aware of any communication of
    10· ·attorney's fees, do you remember that?                      10· ·shareholders that says GEO's going to have to cease to
    11· · · · A.· ·I do remember that.                               11· ·function as an entity if the Plaintiffs win?
    12· · · · Q.· ·Okay, what are GEO's annual revenues ballpark?    12· · · · A.· ·I'm not aware of any communication like that.
    13· · · · A.· ·Annual revenues?· 2.5 billion.                    13· · · · Q.· ·Are you aware of any communication to the
    14· · · · Q.· ·You've asked ICE for two million dollars,         14· ·shareholders or anyone that says if we have to pay
    15· ·right?                                                      15· ·several million dollars to the Plaintiffs in Colorado,
    16· · · · A.· ·Correct.                                          16· ·Washington and California we cannot bear the costs of
    17· · · · Q.· ·What's GEO's annual profit?                       17· ·the defense and --
    18· · · · A.· ·That I don't know.                                18· · · · A.· ·You're asking if I'm aware of any
    19· · · · Q.· ·What's GEO's current market capitalization?       19· ·communication?
    20· · · · A.· ·Precisely?                                        20· · · · Q.· ·Yes, sir.
    21· · · · Q.· ·Yeah.· Ballpark.                                  21· · · · A.· ·No.
    22· · · · A.· ·Three billion.                                    22· · · · Q.· ·Do you think there has been such?
    23· · · · Q.· ·Do you know ballpark profits?                     23· · · · A.· ·I do not know.
    24· · · · A.· ·I don't.                                          24· · · · Q.· ·All right, when's the last time that -- You
    25· · · · Q.· ·So you don't have -- Do you have any idea what    25· ·own GEO stock?

                                                         Page 200                                                                 Page 202
    ·1· ·the - on the revenue is, you don't have any idea how     ·1· · · · A.· ·I do.
    ·2· ·much of it is a profit?                                     ·2· · · · Q.· ·When's the last time you sold GEO stock?
    ·3· · · · A.· ·I don't.                                          ·3· · · · A.· ·Maybe about fourteen months ago.
    ·4· · · · Q.· ·Is GEO currently operating at a loss?             ·4· · · · Q.· ·Like August of 2017, something like that or
    ·5· · · · A.· ·As a company overall?                             ·5· ·20 -- I've got it.· Never mind.
    ·6· · · · Q.· ·Yes, sir.                                         ·6· · · · · · ·About fourteen months ago you said?
    ·7· · · · A.· ·No.                                               ·7· · · · A.· ·I think so.
    ·8· · · · Q.· ·Is GEO currently profitable?                      ·8· · · · Q.· ·How many shares did you sell?
    ·9· · · · A.· ·I would say yes.                                  ·9· · · · A.· ·I don't recall the precise number.
    10· · · · Q.· ·Has GEO's profit increased since August of        10· · · · Q.· ·Is it like around twenty thousand, twenty-five
    11· ·2016 until today?                                           11· ·thousand, something like that?
    12· · · · A.· ·That I don't know.                                12· · · · A.· ·I don't remember.
    13· · · · Q.· ·I'm pegging August of 2016 because that's when    13· · · · Q.· ·Were these restricted -- Do you own shares
    14· ·the stock got cut.· You know what I'm talking about,        14· ·that are restricted or shares that are -- In other
    15· ·right?                                                      15· ·words, could you dispose - could you tomorrow go and
    16· · · · A.· ·Yes.                                              16· ·just liquidate your GEO stock options?
    17· · · · Q.· ·That's the leaked memo and the fifty percent      17· · · · A.· ·I cannot.
    18· ·in a day or something that - the market cut that you        18· · · · Q.· ·Okay, do you know ballpark how much you sold?
    19· ·lost?                                                       19· · · · A.· ·I don't.
    20· · · · A.· ·Correct.                                          20· · · · Q.· ·All right, and as an officer you had to clear
    21· · · · Q.· ·All right, since then it's been an upward         21· ·that, right, through various channels?
    22· ·trend, right, in terms of revenues and profitability?       22· · · · A.· ·Yes.
    23· · · · A.· ·Yes.                                              23· · · · Q.· ·Yeah.
    24· · · · Q.· ·And in each shareholder call whether it's Mr.     24· · · · · · ·Okay, you have to disclose it as well, I
    25· ·Zoley, Mr. Bulfin or others GEO's shareholders are being 25· ·think, right?


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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             203–206
                                                             Page 203                                                            Page 205
    ·1· · · · A.· ·Correct.                                             ·1· ·to cover to sell those shares?
    ·2· · · · Q.· ·Do you know about how much you got from the          ·2· · · · A.· ·More than - more than the amount that I got
    ·3· ·sale?                                                          ·3· ·for the shares.
    ·4· · · · A.· ·I don't.                                             ·4· · · · Q.· ·You don't remember what the expense was?
    ·5· · · · Q.· ·Why did you sell?                                    ·5· · · · A.· ·Yeah.· I mean do I have to disclose what my
    ·6· · · · A.· ·Why did I sell?                                      ·6· ·personal expenses are?
    ·7· · · · Q.· ·Yes, sir.                                            ·7· · · · Q.· ·I don't want to know what it's for,
    ·8· · · · A.· ·I had an expense that I needed to take care          ·8· ·Mr. Venturella.· I'm not trying -- I'm just trying to
    ·9· ·of.                                                            ·9· ·understand --
    10· · · · Q.· ·All right, did you get it taken care of?             10· · · · A.· ·Well, what are you trying to understand?
    11· · · · A.· ·Yes.                                                 11· · · · Q.· ·If you could, please, if you can answer that
    12· · · · Q.· ·All right.· Good.                                    12· ·question I'd really appreciate it.
    13· · · · · · ·Do you know comparatively where the GEO's            13· · · · · · ·Thank you.
    14· ·share price was at the time that you sold to historical        14· · · · A.· ·Do I -- So ask the question again.
    15· ·prices?                                                        15· · · · · · ·MR. DONOHUE:· Ask the question again.
    16· · · · · · ·MR. DONOHUE:· Object to the form.                    16· ·BY MR. FREE:
    17· · · · · · ·THE WITNESS:· I don't recall the precise price       17· · · · Q.· ·I'm just asking ballpark what was the expense
    18· · · · the day I sold, but it's certainly a lot less than        18· ·that you were trying to cover?
    19· · · · when they were granted to me.                             19· · · · · · ·MR. DONOHUE:· The amount of the expense.
    20· ·BY MR. FREE:                                                   20· ·BY MR. FREE:
    21· · · · Q.· ·You said it was a lot less when they were            21· · · · Q.· ·Yeah, the amount.
    22· ·granted to you?                                                22· · · · · · ·MR. DONOHUE:· You don't have to say anything
    23· · · · A.· ·I believe so.                                        23· · · · more.
    24· · · · Q.· ·How much less?                                       24· ·BY MR. FREE:
    25· · · · A.· ·I don't - I don't know.                              25· · · · Q.· ·I don't want to know that.· Yeah.

                                                           Page 204                                                         Page 206
    ·1· · · · Q.· ·Does about twenty-five dollars a share sound     ·1· · · · · · ·MR. DONOHUE:· You don't have to say anything
    ·2· ·right?                                                     ·2· · · · more and then he's going to be done with this
    ·3· · · · · · ·MR. DONOHUE:· Object.                                ·3· · · · because we're so far afield that I can understand
    ·4· ·BY MR. FREE:                                                   ·4· · · · why you would feel it's intrusive, so just if you
    ·5· · · · Q.· ·Twenty-five seventy is what you sold at?             ·5· · · · can give him the amount then we'll move on.
    ·6· · · · A.· ·I -- It sounds right.                                ·6· · · · · · ·THE WITNESS:· All right, it was over eight
    ·7· · · · Q.· ·All right.                                           ·7· · · · hundred thousand.
    ·8· · · · A.· ·Close.                                               ·8· ·BY MR. FREE:
    ·9· · · · Q.· ·What was it worth when you got it?                   ·9· · · · Q.· ·Okay, and did the sale cover the expense?
    10· · · · A.· ·When I - when I was granted the stock?               10· · · · · · ·MR. DONOHUE:· Asked and answered.
    11· · · · Q.· ·Uh-huh.                                              11· · · · · · ·THE WITNESS:· It did not.
    12· · · · A.· ·I don't know.                                        12· ·BY MR. FREE:
    13· · · · Q.· ·Then how do you know it's a lot less?                13· · · · Q.· ·Did not.· Okay.
    14· · · · A.· ·I know our share price was in the thirties at        14· · · · · · ·All right, so as you sit here today do you
    15· ·one point, so --                                               15· ·still believe that GEO cannot bear the cost of its
    16· · · · Q.· ·When's the last time it was in the thirties?         16· ·defense on its own?
    17· · · · A.· ·I don't recall the date.                             17· · · · A.· ·I believe the expense is extraordinary so,
    18· · · · Q.· ·Ballpark.                                            18· ·yes.
    19· · · · A.· ·2014, 2015.                                          19· · · · Q.· ·On what do you base that belief that the
    20· · · · Q.· ·It's been awhile, right?                             20· ·expense is extraordinary?
    21· · · · A.· ·Yeah.· Yeah.                                         21· · · · A.· ·Again I base it on the potential of an adverse
    22· · · · Q.· ·You -- How much was the expense just ballpark        22· ·decision in - in these cases and the fact that hundreds,
    23· ·that you had to cover to sell these shares?                    23· ·if not thousands of people go through our detention
    24· · · · A.· ·I'm sorry?                                           24· ·facilities every single day and if they're - they become
    25· · · · Q.· ·How much was the expense ballpark that you had 25· ·a member or class member of these cases then that number


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    ·1· ·is - is high, it's great.· I don't know what it will be  ·1· · · · A.· ·I don't recall.
    ·2· ·at the end, but I think it's pretty extraordinary.       ·2· · · · Q.· ·Okay, you don't know why you didn't include
    ·3· · · · Q.· ·Do you have any understanding regarding the    ·3· ·the criminal aspect of the TVPA?
    ·4· ·monetary damages on page five that you - that GEO wrote  ·4· · · · A.· ·No.
    ·5· ·to ICE about, you wrote to them on behalf of GEO, do you ·5· · · · Q.· ·And what you say is there's the potential for
    ·6· ·have any understanding as to what those monetary damages ·6· ·damages under the TVPA reaching as many as sixty
    ·7· ·would be?                                                ·7· ·thousand detainees at the Aurora facility, right?
    ·8· · · · A.· ·No.                                            ·8· · · · A.· ·Yes.
    ·9· · · · Q.· ·Okay.                                          ·9· · · · Q.· ·Would this judgment put GEO out of business in
    10· · · · A.· ·No.· No.· Not in specifics, no.                10· ·your estimation?
    11· · · · Q.· ·A couple of them were minimum wage cases,      11· · · · A.· ·I don't know.· I don't know.
    12· ·right?                                                   12· · · · Q.· ·Who -- Did you write this letter by yourself?
    13· · · · A.· ·Correct.                                       13· · · · A.· ·I did not.
    14· · · · Q.· ·So you assume that the monetary damages would  14· · · · Q.· ·Who else collaborated on this letter?
    15· ·be the minimum wage or the difference between the wage   15· · · · A.· ·Our Office of General Counsel.
    16· ·and what they're getting, a dollar for the work they     16· · · · Q.· ·Anybody else?
    17· ·performed, right?                                        17· · · · A.· ·Contract Administration.
    18· · · · A.· ·Correct.                                       18· · · · Q.· ·Who in Contract Administration?
    19· · · · Q.· ·And you're telling me that -- You haven't told 19· · · · A.· ·That would be Amber Martin.
    20· ·me yet.                                                  20· · · · Q.· ·Anybody else?
    21· · · · · · ·The paragraph above that you said, "Thus far,  21· · · · A.· ·No.
    22· ·GEO's legal fees and costs in Menocal exceed 1.6 million 22· · · · Q.· ·Any other departments aside from the General
    23· ·dollars which will increase sharp - sharply now that the 23· ·Counsel and the Office of Contract Administration?
    24· ·Tenth Circuit has affirmed the class-certification.· In  24· · · · A.· ·No.
    25· ·the Washington litigation the defense fees and costs are 25· · · · Q.· ·Did you write multiple drafts of it?

                                                           Page 208                                                                       Page 210
    ·1· ·already approximately four hundred and forty thousand                ·1· · · · A.· ·I would assume we did, yes.
    ·2· ·dollars and could quickly exceed one million once                    ·2· · · · Q.· ·Do you know one way or the other?
    ·3· ·discovery begins or increase exponentially if                        ·3· · · · A.· ·I would say, yes, we did.
    ·4· ·class-certification is granted in each lawsuit."· Do you             ·4· · · · Q.· ·Did you personally write any of the passages
    ·5· ·see that?                                                            ·5· ·in this letter?
    ·6· · · · A.· ·I do.                                                      ·6· · · · A.· ·I don't recall which - which portions were
    ·7· · · · Q.· ·Have I read that correctly?                                ·7· ·mine.
    ·8· · · · A.· ·Yes.                                                       ·8· · · · Q.· ·But there are some portions that are yours?
    ·9· · · · Q.· ·And then it says, "Even more concerning is                 ·9· · · · A.· ·Yes.
    10· ·that there is the potential for damages under the TVPA               10· · · · Q.· ·Which ones?· You don't recall which ones?
    11· ·reaching as many as sixty thousand detainees at the                  11· · · · A.· ·I don't recall.
    12· ·Aurora facility over ten years and claims for the                    12· · · · Q.· ·That's fine.
    13· ·disgorgement of unpaid wages to VWP participants                     13· · · · · · ·MR. DONOHUE:· Can we take a break?
    14· ·stemming back multiple years."· Did I read that                      14· · · · · · ·MR. FREE:· No.
    15· ·correctly?                                                           15· · · · · · ·I mean is the witness asking for a break?
    16· · · · A.· ·Yes.                                                       16· · · · · · ·MR. DONOHUE:· What?
    17· · · · Q.· ·Why is that even more concerning?                          17· · · · · · ·MR. FREE:· I'm --
    18· · · · A.· ·Again I don't recall the source of that. I                 18· · · · · · ·MR. DONOHUE:· Are you saying we cannot take a
    19· ·think that's - the TVP is also criminals based on I                  19· · · · break?
    20· ·think my limited knowledge of that, so I think that's                20· · · · · · ·MR. FREE:· I would prefer to power through if
    21· ·one of the reasons why I spoke to or mention that.                   21· · · · it's possible.
    22· · · · Q.· ·Why didn't you include that in that letter or              22· · · · · · ·MR. DONOHUE:· Well, I would prefer to take a
    23· ·in that --                                                           23· · · · break, so --
    24· · · · A.· ·I don't --                                                 24· · · · · · ·MR. FREE:· Okay.· Take a break.
    25· · · · Q.· ·-- sentence?                                               25· · · · · · ·MR. DONOHUE:· Thank you.


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    ·1· · · · · · ·THE VIDEOGRAPHER:· We are going off the video          ·1· ·The GEO Group and it's redacted, but I think the
    ·2· · · · record 2:24 p.m.                                            ·2· ·Executive VP for Contract Administration here in Boca
    ·3· · · · · · ·(Whereupon, there was a brief recess observed)         ·3· ·Raton based on your testimony is Amber Martin; is that
    ·4· · · · · · ·THE VIDEOGRAPHER:· We are back on the video            ·4· ·correct?
    ·5· · · · record 2:39 p.m.                                            ·5· · · · A.· ·That is correct.
    ·6· ·BY MR. FREE:                                                     ·6· · · · Q.· ·All right, and so this - combining these two
    ·7· · · · Q.· ·Mr. Venturella, I'm going to hand you an               ·7· ·letters, you know, you submitted the one on 20 - on
    ·8· ·exhibit that we're marking as Number Fifteen.                    ·8· ·February 14th for all of the cases and then on
    ·9· · · · · · ·(Whereupon, Exhibit 15 was marked)                     ·9· ·April 18th you submitted individual contract equitable
    10· ·BY MR. FREE:                                                     10· ·adjustment requests based on Exhibit Fifteen and then
    11· · · · Q.· ·Have you seen this document before?                    11· ·this is a response to that individual equitable
    12· · · · A.· ·I have not.                                            12· ·adjustment request for Adelanto; is that right?
    13· · · · Q.· ·It appears to be a letter from Chairman and            13· · · · · · ·MR. DONOHUE:· Object to the form.
    14· ·CEO George Zoley of The GEO Group to Pete Edge, Acting 14· · · · · · ·THE WITNESS:· Yes.
    15· ·Deputy Director of ICE dated May 30th regarding the              15· ·BY MR. FREE:
    16· ·equitable adjustment request that you sent on                    16· · · · Q.· ·Okay, on page - the second page of this
    17· ·February 14th, 2018.· Have I accurately characterized            17· ·document I'm reading - the last numbers are 4013 or 6060
    18· ·what this letter looks like?                                     18· ·depending on which one you look at.
    19· · · · A.· ·Yes.                                                   19· · · · · · ·There's a bunch of redactions and then it
    20· · · · Q.· ·This is following up on your 20 - your letter          20· ·says, "Based on the above, GEO's REA, request for
    21· ·of February 14th, right?                                         21· ·equitable adjustment is denied in its entirety."· Do you
    22· · · · A.· ·Yes.                                                   22· ·see that?
    23· · · · Q.· ·Okay, were you involved in the April 18th              23· · · · A.· ·Yes.
    24· ·updated individual requests for equitable adjustments            24· · · · Q.· ·Have I read that correctly?
    25· ·out of Adelanto, Aurora and Tacoma that is reflected in          25· · · · A.· ·Yes.

                                                               Page 212                                                        Page 214
    ·1· ·this letter?                                                     ·1· · · · Q.· ·"As a threshold matter, GEO has failed to show
    ·2· · · · A.· ·No.                                                    ·2· ·its entitlement to such a modification under the IGSA
    ·3· · · · Q.· ·Okay, did you know that those updated                  ·3· ·terms or applicable laws and regulations."· Do you see
    ·4· ·individual requests for equitable adjustments had been           ·4· ·that?
    ·5· ·submitted to ICE on behalf of GEO?                               ·5· · · · A.· ·Yes.
    ·6· · · · A.· ·I was not aware of their submittal, but                ·6· · · · Q.· ·All right, "Additionally, GEO has failed to
    ·7· ·aware - I was aware that they were being prepared.               ·7· ·address the reasonableness or provide adequate
    ·8· · · · Q.· ·Okay, and how did you know that?                       ·8· ·supporting data for the quantum sought."· Do you see
    ·9· · · · A.· ·With counsel.                                          ·9· ·that?
    10· · · · Q.· ·Okay, have you had any communications with             10· · · · A.· ·Yes.
    11· ·anyone at ICE about this letter?· I know you haven't             11· · · · Q.· ·Did I read that correctly?
    12· ·seen it before today, but --                                     12· · · · A.· ·Yes.
    13· · · · A.· ·No.                                                    13· · · · Q.· ·And then it points GEO to a disputes clause in
    14· · · · Q.· ·Okay.                                                  14· ·the intergovernmental services agreement and then a
    15· · · · A.· ·Excuse me.                                             15· ·contract disputes act.· Do you see that?
    16· · · · Q.· ·That's all right.                                      16· · · · A.· ·Yes.
    17· · · · · · ·And do you know if anybody else at GEO has             17· · · · Q.· ·I believe you testified earlier that you did
    18· ·followed up on this May 30th letter?                             18· ·not know the result of your February 14th or February --
    19· · · · A.· ·I do not.                                              19· ·What was the date?· I'm sorry.· Your Valentine's Day
    20· · · · Q.· ·I'm going to show you Sixteen, Exhibit Sixteen         20· ·letter, right?
    21· ·now.                                                             21· · · · A.· ·Right.
    22· · · · · · ·(Whereupon, Exhibit 16 was marked)                     22· · · · Q.· ·So you didn't - you didn't know what the
    23· ·BY MR. FREE:                                                     23· ·result was; is that right?
    24· · · · Q.· ·This appears to be a letter dated June 21st,           24· · · · A.· ·Correct.
    25· ·2018 from U.S. Immigration and Customs Enforcement to 25· · · · Q.· ·Okay, do you now understand that the request


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    ·1· ·for equitable adjustment has been denied?                         ·1· ·that?
    ·2· · · · A.· ·I do.· Yeah, it's the first time I've seen              ·2· · · · A.· ·I do.
    ·3· ·this but, yes, I do.                                              ·3· · · · Q.· ·Okay, or someone did it on your behalf, right?
    ·4· · · · Q.· ·All right.                                              ·4· · · · A.· ·Right.
    ·5· · · · · · ·GEO appears to still be operational, correct?           ·5· · · · Q.· ·Okay.
    ·6· · · · A.· ·Correct.                                                ·6· · · · A.· ·Right.
    ·7· · · · Q.· ·All right, so at least since Valentine's Day            ·7· · · · Q.· ·At the time in 2015 you're the Senior
    ·8· ·2018 up to today, June 13th, 2019 GEO has borne the               ·8· ·Business - Senior Vice-President of Business Development
    ·9· ·costs of its defense on its own?                                  ·9· ·for GEO?
    10· · · · A.· ·We have.                                                10· · · · · · ·We're back on this one.
    11· · · · Q.· ·Okay.                                                   11· · · · · · ·True?
    12· · · · · · ·I think we should clear some brush because I -          12· · · · A.· ·Yes.
    13· ·I worry about some of that stuff getting folded into the          13· · · · Q.· ·The declaration was based on your personal
    14· ·exhibits in front of you, so I'm going to let your                14· ·knowledge in your capacity as the person responsible for
    15· ·counsel kind of move the PBNDS out of the way.· Yes.              15· ·proposals at GEO and is described herein, true?
    16· · · · · · ·MR. DONOHUE:· Can you take those and just put 16· · · · A.· ·True.
    17· · · · it back into one exhibit.                          17· · · · Q.· ·And then you explained that you went to GEO in
    18· ·BY MR. FREE:                                                      18· ·2012 and prior to that you were employed at ICE for
    19· · · · Q.· ·Oh, I did mean to ask, I know you hadn't seen           19· ·twenty-two years where you held various positions,
    20· ·that.· Let's just -- I'm sorry.· Let's go back to --              20· ·right?
    21· ·Yes, Exhibit Fifteen.· I know you haven't seen that               21· · · · A.· ·Correct.
    22· ·letter before that's in front of you, Exhibit Fifteen,            22· · · · Q.· ·Did you review this declaration in preparation
    23· ·but were you aware of any - that this had gone out?               23· ·for the deposition?
    24· · · · A.· ·I was not.                                              24· · · · A.· ·No.
    25· · · · Q.· ·Okay, and did you attend or know about any              25· · · · Q.· ·All right, when's the last time you saw this

                                                       Page 216                                                                         Page 218
    ·1· ·meetings regarding the preparation or submission of    ·1· ·declaration?
    ·2· ·this?                                                  ·2· · · · A.· ·Probably December 22nd, 2015.
    ·3· · · · A.· ·No.                                                     ·3· · · · Q.· ·Okay, fair enough.
    ·4· · · · Q.· ·Okay, is it fair to say that you have not been          ·4· · · · · · ·All right, you say in paragraph three since
    ·5· ·in the loop on subsequent communications about the                ·5· ·GEO was founded in 1984.· Was it called GEO in 1984 do
    ·6· ·equitable adjustment sought to ICE by GEO for voluntary ·6· ·you know?
    ·7· ·work regarding lawsuits?                                ·7· · · · A.· ·No.· It was part of the Wackenhut Group.
    ·8· · · · A.· ·That would be fair.                                     ·8· · · · Q.· ·Okay, so when you're referring to GEO's
    ·9· · · · Q.· ·Okay, Mr. Venturella, I'm going to hand you a           ·9· ·founding you're talking about Wackenhut, right?
    10· ·document we're marking as Exhibit Seventeen.                      10· · · · A.· ·Correct.
    11· · · · · · ·(Whereupon, Exhibit 17 was marked)                      11· · · · Q.· ·Probably the Corrections Department of
    12· ·BY MR. FREE:                                                      12· ·Wackenhut, right?
    13· · · · Q.· ·Have you ever seen this document before?                13· · · · A.· ·I don't know.
    14· · · · A.· ·Yes.                                                    14· · · · Q.· ·Okay, that's fine.
    15· · · · Q.· ·What is it?                                             15· · · · · · ·You are not the company historian, I think,
    16· · · · A.· ·It's a declaration.                                     16· ·right?
    17· · · · Q.· ·By whom?                                                17· · · · A.· ·That is correct.
    18· · · · A.· ·By me.                                                  18· · · · Q.· ·Cool.
    19· · · · Q.· ·Okay, if you turn to the last page.· It's on            19· · · · · · ·At the time you had twelve detention
    20· ·the back of the package, page ten.· What date did you             20· ·facilities of different types for ICE, that's paragraph
    21· ·sign this letter?                                                 21· ·four, right?
    22· · · · A.· ·December 22nd, 2015.                                    22· · · · A.· ·Correct.
    23· · · · Q.· ·Okay, and you submitted this letter on behalf           23· · · · Q.· ·And GEO - so GEO had twelve detention
    24· ·of GEO to the United States District Court from the               24· ·facilities, not you, David Venturella?
    25· ·Southern District of New York.· Do you remember doing             25· · · · A.· ·GEO.· Correct.


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    ·1· · · · Q.· ·Okay.                                              ·1· · · · Q.· ·Okay, "Representing approximately
    ·2· · · · · · ·If I said you and you've responded probably        ·2· ·sixty-five percent of the total facility costs."· Do you
    ·3· ·GEO.                                                         ·3· ·see that?
    ·4· · · · · · ·There were seventy-five thousand beds overseen     ·4· · · · A.· ·Yes.
    ·5· ·by GEO in the United States in sixty-four different          ·5· · · · Q.· ·Did I read that correctly?
    ·6· ·places, correct?                                             ·6· · · · A.· ·You did.
    ·7· · · · A.· ·Correct.                                           ·7· · · · Q.· ·Is that true?
    ·8· · · · Q.· ·Turn to page three.· Paragraph twelve, pricing     ·8· · · · A.· ·That is true.
    ·9· ·information staffing plans, do you see that?                 ·9· · · · Q.· ·Okay, "The labor costs are calculated based on
    10· · · · A.· ·Yes.                                               10· ·the application of the company's proprietary staffing
    11· · · · Q.· ·You testified under oath, "A bed-day or per        11· ·plan to the design and operation of the facility with
    12· ·diem rate is the daily rate paid by the con - by the         12· ·personnel decision" -- Excuse me -- "Personnel positions
    13· ·government to a contractor for the comprehensive secure 13· ·priced in accordance with the minimum wages and benefits
    14· ·residential care of detainees at a CDF."· That's a           14· ·set forth in the Department of Labor wage determination
    15· ·contract detention facility, right?                          15· ·issue for that particular RFP in the geographical area
    16· · · · A.· ·Correct.                                           16· ·that facility will serve."· Did I read that correctly?
    17· · · · Q.· ·And the bed-day or per diem rates are the          17· · · · A.· ·You did.
    18· ·things we were talking about earlier, right?                 18· · · · Q.· ·The RFP is a request for proposal?
    19· · · · A.· ·Correct.                                           19· · · · A.· ·Yes.
    20· · · · Q.· ·And you were saying about that's how you           20· · · · Q.· ·Okay, you say, "Each company has its own
    21· ·established the price in - for a fixed rate contract?        21· ·proprietary approach to staffing based on its analysis -
    22· ·Yeah?                                                        22· ·based upon its analysis of the RFP work statement
    23· · · · A.· ·Correct.                                           23· ·requirements, company philosophy and operational
    24· · · · Q.· ·Okay, so this is the same thing we're talking      24· ·policies."· Is that right?
    25· ·about?                                                       25· · · · A.· ·Yes.

                                                           Page 220                                                      Page 222
    ·1· · · · A.· ·Correct.                                       ·1· · · · Q.· ·Okay, so when you say each company, you're
    ·2· · · · Q.· ·Okay, "The bed-day rate broadly includes all   ·2· ·talking about private corporations that are doing
    ·3· ·daily operating costs of the facility including          ·3· ·immigration detention contracts, correct?
    ·4· ·personnel, food, health care, supplies, utilities,       ·4· · · · A.· ·Or detention contracts.
    ·5· ·maintenance, infrastructure, depreciation, cost of       ·5· · · · Q.· ·Okay.
    ·6· ·capital, overhead and profit," correct?                  ·6· · · · A.· ·Yeah.
    ·7· · · · A.· ·Correct.                                       ·7· · · · Q.· ·All right, broader than just immigration?
    ·8· · · · Q.· ·All right, has any of that changed since 2015  ·8· · · · A.· ·Right.
    ·9· ·or is that what the bed-day or per diem rate encompasses ·9· · · · Q.· ·Okay, this is industry wide, right?
    10· ·still?                                                   10· · · · A.· ·Correct.
    11· · · · A.· ·Broadly, yes.                                  11· · · · Q.· ·Okay, then you say, "The bed-day rates and
    12· · · · Q.· ·Anything that is - it's leaving out?           12· ·staffing plans contained in the contractor's proposal or
    13· · · · A.· ·No.· I don't think so.                         13· ·bid are incorporated into the final contract unless they
    14· · · · Q.· ·Okay.                                          14· ·are revised as a result of subsequent negotiation with
    15· · · · A.· ·I think those are broad categories.            15· ·ICE."· Is that right?
    16· · · · Q.· ·Okay.· Okay, when you say broadly, what you're 16· · · · A.· ·Yes.
    17· ·saying is these are just kind of high level descriptions 17· · · · Q.· ·That's what you said and that's what's true,
    18· ·of what's in the bed-day rate?                           18· ·right?
    19· · · · A.· ·Correct.                                       19· · · · A.· ·Yes.
    20· · · · Q.· ·Okay, the next sentence says, "Of these costs  20· · · · Q.· ·And we've seen reflections of that already in
    21· ·the largest single cost is for personnel."· That's still 21· ·the documents we've - we've looked at, right?
    22· ·at the bottom of three.· Do you see that?                22· · · · A.· ·Yes.
    23· · · · A.· ·Yes.                                           23· · · · Q.· ·We saw the initial bed-day rate in the initial
    24· · · · Q.· ·Is that true?                                  24· ·IGSA of ninety-nine dollars per bed-day at a certain
    25· · · · A.· ·Yes.                                           25· ·level and then something lower at a secondary level


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                                                         Page 223                                                             Page 225
    ·1· ·after the minimum guarantee, right?                     ·1· · · · · · ·Is it fair to say that this facility staffing
    ·2· · · · A.· ·Yes.                                          ·2· ·plan reflects the cost of the labor, at least some of
    ·3· · · · Q.· ·Yeah, and then you get the blended rate going ·3· ·them as you've described here?
    ·4· ·forward it moves.· We've seen some of the modifications ·4· · · · · · ·MR. DONOHUE:· Object to the form.
    ·5· ·that say we're going to increase the bed-day rate based ·5· · · · · · ·THE WITNESS:· Yes.
    ·6· ·on an increased cost that GEO has to bear, right?       ·6· ·BY MR. FREE:
    ·7· · · · A.· ·Correct.                                      ·7· · · · Q.· ·Okay, so the facility - "A facility staffing
    ·8· · · · Q.· ·Okay, so we looked at the one regarding the   ·8· ·plan" -- This is paragraph fourteen -- "Contains every
    ·9· ·collective bargaining agreement for guards, right?      ·9· ·position that the contractor intends to employ or retain
    10· · · · A.· ·Yes.                                          10· ·for the operation of the facility and includes the shift
    11· · · · Q.· ·We looked at the one regarding medical        11· ·that position will be required to work, generally
    12· ·staffing - medical staffing being increased, right?     12· ·morning, afternoon or night, relief factor, reflecting
    13· · · · A.· ·Yes.                                          13· ·the number of persons required to fill each position
    14· · · · Q.· ·And so that increased cost increased the      14· ·taking into account whether the position is a part-time
    15· ·bed-day rate, correct?                                  15· ·or full-time (five or seven day) post and how company -
    16· · · · A.· ·Correct.                                      16· ·many company specific sick days, vacation days, jury
    17· · · · Q.· ·And you've said, you know, labor is           17· ·duty days, et cetera must be taken into account in the
    18· ·approximately sixty-five percent of the total costs,    18· ·relief factor calculation for each position, whether the
    19· ·correct?                                                19· ·position is a fixed or a static post, the hourly or
    20· · · · A.· ·Correct.                                      20· ·annual wage to be paid for each such position and the
    21· · · · Q.· ·Yeah.                                         21· ·payroll tax and benefit costs for each position."· Have
    22· · · · · · ·Okay, and I think the next sentence explains  22· ·I read that correctly?
    23· ·what we've been looking at.· "Over the duration of the  23· · · · A.· ·Yes.
    24· ·contract, there are often minor modifications that may  24· · · · Q.· ·Is that still as true today as it was in 2015?
    25· ·adjust the bed-day rate and overall contract pricing."  25· · · · A.· ·Yes.

                                                         Page 224                                                       Page 226
    ·1· ·Is that right?· That's in paragraph thirteen.            ·1· · · · Q.· ·Okay, "Every one of these calculations and
    ·2· · · · A.· ·Oh, okay.                                      ·2· ·considerations can and will affect the overall cost
    ·3· · · · Q.· ·Is that right?                                 ·3· ·calculation associated with a facility's labor costs."
    ·4· · · · A.· ·Yes.                                           ·4· ·Did I read that correctly?
    ·5· · · · Q.· ·Okay, I've read it correctly and that's still  ·5· · · · A.· ·Yes.
    ·6· ·true?                                                    ·6· · · · Q.· ·Is that true?
    ·7· · · · A.· ·Yes.                                           ·7· · · · A.· ·Yes.
    ·8· · · · Q.· ·All right, then you describe a facility        ·8· · · · Q.· ·Okay, if you have to pay someone to do a job
    ·9· ·staffing plan.· Do you see in paragraph fourteen?        ·9· ·and then you for - let's say the prevailing wage change,
    10· · · · A.· ·Yes.                                           10· ·it goes up.· That's an example of what you're talking
    11· · · · Q.· ·And you explain that -- Well, first do you     11· ·about when it says every one of these calculations --
    12· ·remember when we were looking at the minimum staffing 12· ·I'm just giving you an example to make sure I
    13· ·plan of fourteen fifty-five beds and the max staffing    13· ·understand, that every one of these calculations and
    14· ·plan of nineteen-forty beds?                             14· ·considerations can and will affect the overall cost
    15· · · · A.· ·I do.                                          15· ·calculation associated with the facility's labor costs?
    16· · · · Q.· ·Is that a facility staffing plan?              16· ·So is that an example of one of the - like one of the
    17· · · · A.· ·Yes.                                           17· ·things that you have to take into consideration in this
    18· · · · Q.· ·Is that what you're referring to here when you 18· ·calculation of the labor costs?
    19· ·say a facility staffing plan?                            19· · · · A.· ·The changing --
    20· · · · · · ·MR. DONOHUE:· Object to the form.              20· · · · Q.· ·Yes, sir.
    21· ·BY MR. FREE:                                             21· · · · A.· ·-- wage, yes.
    22· · · · Q.· ·Or not that specific document, but that's the  22· · · · Q.· ·Okay, what about if you're required to give an
    23· ·kind of document you're talking about, right?            23· ·employee some type of fringe benefit like an individual,
    24· · · · A.· ·Yes.                                           24· ·like an employer mandate or something for insurance,
    25· · · · Q.· ·Okay.· Thank you.                              25· ·would that affect your labor costs?


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    ·1· · · · A.· ·Yes.                                           ·1· ·competitive contract.· Do you see that?
    ·2· · · · Q.· ·And what about if you were required to give    ·2· · · · A.· ·I do.
    ·3· ·some form of paid time off, that would affect your labor ·3· · · · Q.· ·But that wasn't a detention contract?
    ·4· ·costs?                                                   ·4· · · · A.· ·No, but it was an example of a competitive
    ·5· · · · A.· ·Yes.                                           ·5· ·contract.
    ·6· · · · Q.· ·And similarly if you had to pay greater        ·6· · · · Q.· ·Okay.· I see.
    ·7· ·payroll tax rates because they change, for example, that ·7· · · · · · ·The next one is Guantanamo Bay it looks like,
    ·8· ·would affect the labor costs?                            ·8· ·a migrant operation center in GTMO?· Do you see that?
    ·9· · · · A.· ·Yes.                                           ·9· · · · A.· ·Yes.
    10· · · · Q.· ·It says, "In so much as the - inasmuch as the  10· · · · Q.· ·That was in 2011?
    11· ·labor costs," I'm still at page - excuse me, paragraph   11· · · · A.· ·Yes.
    12· ·fourteen.· "Inasmuch as the labor costs are such a major 12· · · · Q.· ·Okay, above that in paragraph twenty you
    13· ·part of the overall facility pricing, these models are   13· ·describe the process of ICE -- I'll just tell you what
    14· ·highly proprietary and confidential.· GEO's proposed     14· ·you said.· You said, "Based on my information and
    15· ·staffing plans submitted with its bid become part of its 15· ·belief, there are four factors that affect ICE CDF -
    16· ·contract."· Do you see where I read that?                16· ·that affect competition for ICE CDF contracts."· Have I
    17· · · · A.· ·I do.                                          17· ·read that correctly?
    18· · · · Q.· ·Did I read it correctly?                       18· · · · A.· ·Yes.
    19· · · · A.· ·Yes.                                           19· · · · Q.· ·The first one is, "ICE identifies a restricted
    20· · · · Q.· ·Okay, if you could look at paragraph           20· ·geographic radius typically fifty miles in reasonable
    21· ·twenty-one you've given four examples of competitive     21· ·proximity to the permanent ICE field office or an
    22· ·contracts in the DHS ICE market.· Do you see that?       22· ·airport that ICE uses for detainee transportation."· Did
    23· · · · A.· ·Yes.                                           23· ·I read that correctly?
    24· · · · Q.· ·All right, are these four examples facilities  24· · · · A.· ·You did.
    25· ·that -- So the first one is the 2015 contract detention  25· · · · Q.· ·"Such locations and participating airports are

                                                              Page 228                                                         Page 230
    ·1· ·facility in the Houston area.· Did I read that                  ·1· ·relatively static but nonetheless drive the geographic
    ·2· ·correctly?                                                      ·2· ·requirements for the proposed CDF."· Did I read that
    ·3· · · · A.· ·Yes.                                                  ·3· ·correctly?
    ·4· · · · Q.· ·You've listed the known competitors as GEO,           ·4· · · · A.· ·Yes.
    ·5· ·CCA and Emerald?                                                ·5· · · · Q.· ·I'm going to take a pause.
    ·6· · · · A.· ·Correct.                                              ·6· · · · · · ·Do you remember the RFI that ICE put out that
    ·7· · · · Q.· ·The second one involves it appears Southern           ·7· ·we talked about earlier for the State of California?
    ·8· ·Border Transportation.· Do you see that?                        ·8· · · · A.· ·Yes.
    ·9· · · · A.· ·Yes.                                                  ·9· · · · Q.· ·Is it geographically limited to fifty miles in
    10· · · · Q.· ·Is that a detention contract?                         10· ·radius from an ICE field office for the airport?
    11· · · · A.· ·No.· It's a transportation contract.                  11· · · · A.· ·I don't recall.
    12· · · · Q.· ·Okay, do you use the same staffing and bed-day 12· · · · Q.· ·Okay.· Thank you.
    13· ·situation with transportation contracts as you do               13· · · · · · ·All right, the second is, "The prescribed ICE
    14· ·detention?                                                      14· ·geographic area the acceptable radius is regulated by
    15· · · · A.· ·I'm sorry?                                            15· ·local county and city ordinances that restrict the
    16· · · · Q.· ·ICE -- Okay, so when we're talking about              16· ·establishment of such a facility and are subject to
    17· ·bed-day rates and per diems --                                  17· ·vocal opposition by neighboring residents."· Do you see
    18· · · · A.· ·Right.                                                18· ·that?
    19· · · · Q.· ·-- I understood all of the staffing plan              19· · · · A.· ·Yes.
    20· ·bed-day rate stuff that you said in this declaration to         20· · · · Q.· ·So that's your second of the four factors
    21· ·pertain to detention centers, right?                            21· ·affecting the competition for ICE CDF contracts, right?
    22· · · · A.· ·Uh-huh.· (Affirmative response).· Correct.            22· · · · A.· ·Yes.
    23· · · · Q.· ·So here I see a transportation cost and it            23· · · · Q.· ·When you wrote this or now do you understand
    24· ·says the price and staffing plan are determining factors        24· ·that there is any contractor that would be more
    25· ·in GEO's loss of the Southern Border Transportation             25· ·susceptible, that would be at a competitive disadvantage


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    ·1· ·because of these local regulations and vocal opposition  ·1· · · · A.· ·-- in which --
    ·2· ·by neighboring residents?                                ·2· · · · Q.· ·All right, the third factor is, "The cap - the
    ·3· · · · · · ·MR. DONOHUE:· Object to the form.              ·3· ·third CDFs are capital intensive and typically cost
    ·4· ·BY MR. FREE:                                             ·4· ·several tens of millions of dollars due to ICE's
    ·5· · · · Q.· ·I guess I just don't understand -- Go ahead,   ·5· ·objectives in achieving economies of scale pricing
    ·6· ·sir.                                                     ·6· ·through larger facilities and the application of the new
    ·7· · · · A.· ·No.· No.· I was going ask --                   ·7· ·ICE 2011 Performance-Based National Detention
    ·8· · · · Q.· ·Do you understand my question?· You look       ·8· ·Standards."· Why is that a competitive factor?
    ·9· ·confused.                                                ·9· · · · A.· ·The amount of capital that needs to be
    10· · · · A.· ·Yeah, I don't.                                 10· ·invested could possibly limit some companies from
    11· · · · Q.· ·I don't know why - I just don't know why       11· ·participating.
    12· ·that - these two things affect - why competitors are     12· · · · Q.· ·Okay, and then the fourth, "The typical
    13· ·actually like at a disadvantage as to each other as to   13· ·contract term of one base year plus several one year
    14· ·these two things.· Can you explain that?                 14· ·options creates a very risky investment thesis for many
    15· · · · · · ·MR. DONOHUE:· Object to the form.              15· ·potential competitors."· Did I read that correctly?
    16· · · · · · ·THE WITNESS:· So your question is why is this  16· · · · A.· ·You did.
    17· · · · a consideration?                                    17· · · · Q.· ·Was that true then?
    18· ·BY MR. FREE:                                             18· · · · A.· ·Yes.
    19· · · · Q.· ·Yeah.· Why is that the four factors that       19· · · · Q.· ·Is it still true now?
    20· ·affects competition price among CDF contracts among the 20· · · · A.· ·Yes.
    21· ·competitors that you've listed, CCA, MTC, CSC and        21· · · · Q.· ·Can you think of any ICE GEO detention
    22· ·Emerald.                                                 22· ·contract where this risk has actually been realized?
    23· · · · A.· ·If you have to site a new facility depending   23· · · · A.· ·There have been facilities that have been
    24· ·on as I said in there the ordinances or statutes or what 24· ·discontinued.· I just don't recall where and how many.
    25· ·regulations may not allow for such a facility to be      25· · · · Q.· ·Facilities between ICE and GEO?

                                                            Page 232                                                        Page 234
    ·1· ·built, I mean that has to be one of the considerations        ·1· · · · A.· ·ICE - ICE and GEO or ICE in the private
    ·2· ·of where you would site a facility to qualify for ICE         ·2· ·sector?
    ·3· ·consideration or a government agency's consideration.         ·3· · · · Q.· ·I'm asking - asking specifically about ICE and
    ·4· · · · · · ·You could have a facility that is - meets all       ·4· ·GEO's contracts.· I'm asking if you know whether there's
    ·5· ·their standards but it's outside their radius and             ·5· ·ever been a situation where there's a contract term of
    ·6· ·wouldn't qualify.· Trying to site one closer in a county      ·6· ·one base - one base year plus several one year options
    ·7· ·that is not receptive would impact your ability to bid.       ·7· ·and then ICE did not exercise one or more of those
    ·8· · · · Q.· ·When you say you, you mean GEO?                     ·8· ·options in its contract with GEO, do you know of any
    ·9· · · · A.· ·GEO or a company's ability to bid.                  ·9· ·situation in which that's happened?
    10· · · · Q.· ·I understand what you mean.· I mean it, too.        10· · · · A.· ·Not in my time there, no.
    11· · · · · · ·The - and you're saying that that -- I think        11· · · · Q.· ·Okay, what would cause ICE to do that, if you
    12· ·you're saying here that that could actually affect one        12· ·know?
    13· ·of these competitors more than the other.· If it's one        13· · · · · · ·MR. DONOHUE:· Object to form.
    14· ·of the four factors then GEO could be more at a               14· · · · · · ·THE WITNESS:· I don't.· I don't know.
    15· ·disadvantage based - based on, for instance, vocal            15· ·BY MR. FREE:
    16· ·opposition by neighboring residents than say maybe            16· · · · Q.· ·Would non-performance or inadequate
    17· ·Emerald?                                                      17· ·performance be a part of that risk?· By the contractor I
    18· · · · A.· ·More disadvantage?                                  18· ·mean.
    19· · · · Q.· ·Or less.· Maybe they have a better position.        19· · · · · · ·MR. DONOHUE:· Object to the form.
    20· · · · A.· ·I think it could be either or.                      20· · · · · · ·THE WITNESS:· I think that could be a factor
    21· · · · Q.· ·Okay, so you're saying it's variable as to the      21· · · · that's considered, yes.
    22· ·company based --                                              22· ·BY MR. FREE:
    23· · · · A.· ·Not to the company but I guess to the - to the      23· · · · Q.· ·What about health or safety issues that were
    24· ·geographic area --                                            24· ·created by the contractor's failure to comply, could
    25· · · · Q.· ·Okay.                                               25· ·that be a factor in ICE choosing not to exercise one or


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    ·1· ·more of its option years?                                        ·1· · · · A.· ·Yes.
    ·2· · · · A.· ·It could be a factor.                                  ·2· · · · Q.· ·Are you aware of any responses to
    ·3· · · · Q.· ·Okay, does GEO in its operations take that             ·3· ·competitively bid intergovernmental service agreements
    ·4· ·into consideration in computing these contracts, that            ·4· ·from ICE that GEO has responded to?
    ·5· ·risk?                                                            ·5· · · · A.· ·That we have responded to?· I don't recall.
    ·6· · · · A.· ·Yes.                                                   ·6· · · · Q.· ·Okay, I will save -- There's one that you list
    ·7· · · · Q.· ·Okay.· I think what we're talking about with           ·7· ·in this I think right below that in 2003.· You might not
    ·8· ·Adelanto is in paragraph twenty-three, it's on page              ·8· ·remember that just right off the bat, but do you see as
    ·9· ·seven.· You testified under oath, "ICE also obtains              ·9· ·an example in October, 2003 this is in paragraph
    10· ·detention services under IGSAs awarded to counties and 10· ·twenty-three at the bottom of page seven.· Do you see
    11· ·cities.· ICE selects specific facilities, in some cases 11· ·that?· So I'm here.
    12· ·between competing city or county facilities that are             12· · · · A.· ·Yeah.· No.· No.· I --
    13· ·geographically close to each other.· While the IGSA              13· · · · Q.· ·Yeah.· You're just reading the whole sentence?
    14· ·process is not as formal and structured as a competitive         14· · · · A.· ·Yeah.
    15· ·procurement, the evaluation and award of an IGSA are             15· · · · Q.· ·Okay, so, "As an example in October, 2003 GEO
    16· ·based on similar factors, i.e., detention capacity,              16· ·responded to a county RFP --
    17· ·compliance with National Detention Standards and ICE             17· · · · A.· ·Right.
    18· ·policy and procedures, the level and types of services           18· · · · Q.· ·-- to provide management services for the
    19· ·provided and most importantly - most importantly the             19· ·Reeves.· GEO was selected to manage the Reeves County
    20· ·daily per diem rate/cost."· Is that - is that true?              20· ·Detention Complex which at the time provided services to
    21· · · · A.· ·Yes.                                                   21· ·the BOP, Bureau of Prisons, under an IGSA."· Did I read
    22· · · · Q.· ·Okay, it was true then, it's still true now?           22· ·that right?
    23· · · · A.· ·Yes.                                                   23· · · · A.· ·Correct.
    24· · · · Q.· ·Do those competitive factors -- Excuse me.             24· · · · Q.· ·"Similarly in 2007, GEO responded to an RFP to
    25· · · · · · ·Do the -- Turn back to paragraph twelve,               25· ·provide maintenance and operation -- Similarly in 2007,"

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    ·1· ·pricing information and staffing plans.· This is the one         ·1· ·I'm sorry, "GEO responded to an RFP to provide
    ·2· ·about the bed-day rate that we read.· Do you see that?           ·2· ·maintenance and operation of a facility to house Federal
    ·3· · · · A.· ·Yes.                                                   ·3· ·prisoners from Montgomery County, Texas."· Do you see
    ·4· · · · Q.· ·Is everything that you've written in paragraph         ·4· ·that?
    ·5· ·twelve regarding the bed-day rate and what's included in         ·5· · · · A.· ·Yes.
    ·6· ·the cost applicable to intergovernmental service                 ·6· · · · Q.· ·Did I read that correctly?
    ·7· ·agreement contracts --                                           ·7· · · · A.· ·You did.
    ·8· · · · · · ·MR. DONOHUE:· Object to the form.                      ·8· · · · Q.· ·When you say Federal prisoners, I think you're
    ·9· ·BY MR. FREE:                                                     ·9· ·distinguishing prisoners in Federal custody, in other
    10· · · · Q.· ·-- like what you've described in twenty-three?         10· ·words, criminally convicted or criminally detained
    11· · · · A.· ·Yes.                                                   11· ·prisoners or pretrial detainees from immigration
    12· · · · Q.· ·Okay, so when you say most importantly the             12· ·detainees.· Is that the distinction that you're making
    13· ·daily per diem rate/cost I can know what you mean when I 13· ·by saying Federal prisoners?
    14· ·look at paragraph twelve, right?                                 14· · · · A.· ·Yes.
    15· · · · · · ·MR. DONOHUE:· Object to the form.                      15· · · · Q.· ·Okay, you are excluding immigrant detention -
    16· · · · · · ·THE WITNESS:· Yes.                                     16· ·civil immigration detention from that definition, right?
    17· ·BY MR. FREE:                                                     17· · · · A.· ·Correct.
    18· · · · Q.· ·Thank you.                                             18· · · · Q.· ·Okay, immigration detention is civil, not
    19· · · · · · ·And then, "Subcontracts to provide services as         19· ·criminal, right?
    20· ·an operator on behalf of a county or a city under IGSA           20· · · · A.· ·Correct.
    21· ·can also be competitively bid."· Do you see that?                21· · · · Q.· ·Okay, and ICE has the standards in place to
    22· · · · A.· ·Yes.                                                   22· ·recognize that distinction, right?
    23· · · · Q.· ·Did I read that correctly?                             23· · · · A.· ·Correct.
    24· · · · A.· ·Yes.                                                   24· · · · Q.· ·Okay, and if you're in immigration detention
    25· · · · Q.· ·All right, is that true?                               25· ·you're not there as punishment; correct?


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    ·1· · · · A.· ·That is correct.                                   ·1· · · · Q.· ·Is that true?
    ·2· · · · Q.· ·And there's - it might not even necessarily be     ·2· · · · A.· ·Yes.
    ·3· ·because you've - because you are going to be deported?       ·3· · · · Q.· ·Okay, then and now, right?
    ·4· ·In other words, lots of people who are in immigration        ·4· · · · A.· ·Yes.
    ·5· ·detention end up getting out and winning their cases,        ·5· · · · Q.· ·This - the business hasn't changed since
    ·6· ·right?                                                       ·6· ·you're discussing it in 2015, right?
    ·7· · · · A.· ·Yes.· That's an outcome.                           ·7· · · · A.· ·It is not.
    ·8· · · · Q.· ·So the purpose of the detention -- You know,       ·8· · · · Q.· ·In terms of this particular element of the
    ·9· ·would you agree that the purpose of immigration              ·9· ·staffing plan being - that's the labor being the most
    10· ·detention, civil immigration detention is to ensure          10· ·important part of your per diem?
    11· ·that, you know, some people who have been ordered            11· · · · A.· ·It's --
    12· ·removed are going to be present for ICE's execution of       12· · · · · · ·MR. DONOHUE:· Object to the form.
    13· ·their removal order, number one, would you agree with        13· · · · · · ·Go ahead.
    14· ·that?                                                        14· · · · · · ·THE WITNESS:· Sorry.
    15· · · · A.· ·Yes.                                               15· · · · · · ·It's been the same.
    16· · · · Q.· ·Okay, and then second that for some people who 16· ·BY MR. FREE:
    17· ·are either ineligible for a bond by statute or who don't     17· · · · Q.· ·Okay, and then you say, "A competitor could
    18· ·qualify because the judge says I don't think you're          18· ·develop a cost model of the staffing component of GEO's
    19· ·going to show up or you're a danger to the community         19· ·bed-day rate as described in paragraph fourteen above,"
    20· ·that those people are housed as well in secure               20· ·we've been through that and "It could then," the
    21· ·facilities?                                                  21· ·competitor, "Could then identify the relative
    22· · · · A.· ·That would be correct.                             22· ·percentages of the remaining approximately
    23· · · · Q.· ·Yeah, so awaiting your removal proceeding or       23· ·thirty-five percent in direct and indirect costs with a
    24· ·awaiting your deportation is the reason you're in an         24· ·percentage breakdown estimate of GEO's food, health
    25· ·immigration detention center, right, civil immigration       25· ·care, supplies, utilities, maintenance,

                                                          Page 240                                                         Page 242
    ·1· ·detention center?                                            ·1· ·infrastructure -- Utilities, maintenance,
    ·2· · · · · · ·MR. DONOHUE:· Object to the form.                  ·2· ·infrastructure, depreciation cost of capital, overhead
    ·3· · · · · · ·THE WITNESS:· Yes.                                 ·3· ·profit."· Is that true?
    ·4· ·BY MR. FREE:                                                 ·4· · · · A.· ·Yes.
    ·5· · · · Q.· ·Okay.· Okay, so I want to look at paragraph        ·5· · · · Q.· ·That's a competitor sort of
    ·6· ·twenty-four on page eight and I'm looking at the fifth       ·6· ·reverse-engineering what GEO's doing if it had GEO's
    ·7· ·line down that begins - it's the first full sentence         ·7· ·staffing plan, right?
    ·8· ·that says, "The bed-day rate broadly includes all daily      ·8· · · · A.· ·Correct.
    ·9· ·operating costs of the facility, including personnel,        ·9· · · · Q.· ·They can take your sixty-five percent labor
    10· ·food, health care, supplies, utilities, maintenance,         10· ·costs and then they can take the other
    11· ·infrastructure, depreciation, cost of capital, overhead      11· ·thirty-five percent and attempt to figure out what the
    12· ·and profit."· Did I read that correctly?                     12· ·relative percentages are in the direct and indirect
    13· · · · A.· ·You did.                                           13· ·costs captured in the thirty-five percent food, health
    14· · · · Q.· ·Was that true then?                                14· ·care, supplies utilities, maintenance, infrastructure
    15· · · · A.· ·Yes.                                               15· ·depreciation, cost of capital, overhead and profit and
    16· · · · Q.· ·Is it true now?                                    16· ·they can try and underbid you, right?
    17· · · · A.· ·Yes.                                               17· · · · A.· ·Correct.
    18· · · · Q.· ·All right, so a - the next sentence says, "A       18· · · · Q.· ·All right, and you can do the same to a
    19· ·staffing plan is the most important component of a           19· ·competitor?
    20· ·contractor's overall pricing model because the costs         20· · · · · · ·MR. DONOHUE:· Object to the form.
    21· ·associated with the overall staffing of a facility           21· · · · · · ·THE WITNESS:· If - if we had access to that
    22· ·constitute approximately sixty-five percent or more of       22· · · · information.
    23· ·the facility's total operating costs."· Did I read that      23· ·BY MR. FREE:
    24· ·correctly?                                                   24· · · · Q.· ·Yeah, you would need their staffing plan?
    25· · · · A.· ·You did.                                           25· · · · A.· ·Right.


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    ·1· · · · Q.· ·So the staffing plan tells you how you could               ·1· · · · A.· ·No.
    ·2· ·do that?                                                             ·2· · · · Q.· ·Okay, do you know whether any injury has
    ·3· · · · A.· ·In large part it does.                                     ·3· ·happened?
    ·4· · · · Q.· ·I guess.                                                   ·4· · · · A.· ·No.
    ·5· · · · · · ·So you could reverse-engineer a bed-day rate,              ·5· · · · Q.· ·Okay.
    ·6· ·right?                                                               ·6· · · · A.· ·Nor was I aware that any staffing plans or
    ·7· · · · · · ·MR. DONOHUE:· Object to the form.                          ·7· ·bed-day rates were released, so I wasn't aware of that
    ·8· · · · · · ·THE WITNESS:· You could.                                   ·8· ·outcome.
    ·9· ·BY MR. FREE:                                                         ·9· · · · Q.· ·Okay, in fact, you said in this declaration
    10· · · · Q.· ·Okay, have you, you ever?                                  10· ·essentially that if they were released then a competitor
    11· · · · A.· ·No.                                                        11· ·could reverse-engineer it and underbid you, right?
    12· · · · Q.· ·Okay, have you done it just as like a thought              12· · · · A.· ·Yes.
    13· ·exercise?                                                            13· · · · Q.· ·Has GEO's competitive position suffered
    14· · · · A.· ·No.                                                        14· ·vis-a-vis - I think CoreCivic is the only real market
    15· · · · Q.· ·All right, then you say in twenty-seven,                   15· ·competitor with the capital, right?
    16· ·paragraph twenty-seven on page nine the second sentence, 16· · · · · · ·MR. DONOHUE:· Object to the form.
    17· ·"GEO's pricing strategy" -- I'm reading part of the                  17· · · · · · ·THE WITNESS:· I would say that's accurate.
    18· ·sentence.                                                            18· ·BY MR. FREE:
    19· · · · · · ·It says, "GEO's pricing strategy, based on a               19· · · · Q.· ·Okay.· We're going to look at a document we'll
    20· ·proprietary staffing plan is the same" and I'll read the             20· ·mark as Exhibit Eighteen.
    21· ·whole paragraph so you know what we're talking about.                21· · · · · · ·(Whereupon, Exhibit 18 was marked)
    22· · · · · · ·"In some procurements, GEO has no competition              22· ·BY MR. FREE:
    23· ·for CDF solicitations and in other procurements for CDF              23· · · · Q.· ·This appears to be a supplement - supplemental
    24· ·solicitations it faces competition."· Did I read that                24· ·declaration by you.· Do you see that at the top?
    25· ·correctly?                                                           25· · · · A.· ·Yes.

                                                                   Page 244                                                                Page 246
    ·1· · · · A.· ·You did.                                                   ·1· · · · Q.· ·I'm going to represent to you that it was
    ·2· · · · Q.· ·Is that true?                                              ·2· ·filed in the same case, the Detention Watch Network and
    ·3· · · · A.· ·That is true.                                              ·3· ·Center For Constitutional Rights versus ICE and DHS.· Do
    ·4· · · · Q.· ·In the California City versus Adelanto RFI it              ·4· ·you see - do you see that at the very top?
    ·5· ·might be a procurement if ICE puts out an RFP that we                ·5· · · · A.· ·Yes.
    ·6· ·were talking about earlier today.· Do you remember when ·6· · · · Q.· ·Okay, on page nine you signed this
    ·7· ·we were talking about that in the deposition earlier?                ·7· ·declaration?
    ·8· · · · A.· ·Yes.                                                       ·8· · · · A.· ·I did.
    ·9· · · · Q.· ·Okay, so that could be a situation in which                ·9· · · · Q.· ·Do you see your signature --
    10· ·GEO does face competition, right?                                    10· · · · A.· ·I do.
    11· · · · A.· ·Yes.                                                       11· · · · Q.· ·-- on page nine?
    12· · · · Q.· ·Okay.                                                      12· · · · A.· ·Yes.
    13· · · · · · ·All right, in twenty-eight it says - actually              13· · · · Q.· ·You signed it on February 26th, 2016.· Do you
    14· ·look at paragraph thirty-five.· It's the last page.· It              14· ·see that?
    15· ·says, "Therefore, the ultimate outcome of releasing the              15· · · · A.· ·Yes.
    16· ·ICE records pursuant to the Plaintiff's FOIA request                 16· · · · Q.· ·Have you seen this declaration since you
    17· ·will not only be substantial competitive injury to The               17· ·signed it?
    18· ·GEO Group but to all other detention facilities both                 18· · · · A.· ·No.
    19· ·public and private."· That's what you wrote on                       19· · · · Q.· ·Okay, again you explained you're the SVP for
    20· ·December 22nd, 2015; is that right?                                  20· ·Business Development at GEO, it's based on personal
    21· · · · A.· ·Yes.                                                       21· ·knowledge, you're the person responsible for proposals
    22· · · · Q.· ·As you sit here today can you identify any                 22· ·at GEO.
    23· ·injury that GEO has suffered from the release of the                 23· · · · · · ·Now I'd like to turn your attention to page
    24· ·bed-day rates and staffing plans in this FOIA                        24· ·three.· In paragraph six at the bottom the final
    25· ·litigation?                                                          25· ·sentence it says, "Such harm would result from a


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                                                            Page 247                                                                 Page 249
    ·1· ·competitor using GEO's proprietary bed-day rates and          ·1· ·appropriate taxes."· Did I read that correctly?
    ·2· ·staffing plans to reverse-engineer the build-up of GEO's      ·2· · · · A.· ·Yes.
    ·3· ·pricing and arrive at a lower per diem bed-day rate than      ·3· · · · Q.· ·Is that true?
    ·4· ·GEO's expected per diem rate."· Do you see that?              ·4· · · · A.· ·Yes.
    ·5· · · · A.· ·Yes.                                                ·5· · · · Q.· ·Is that a complete summary of the non labor
    ·6· · · · Q.· ·Did I read that correctly?                          ·6· ·whether it's exempt or non-exempt nonprofit component
    ·7· · · · A.· ·You did.                                            ·7· ·parts of a per diem rate?
    ·8· · · · Q.· ·Is that true?                                       ·8· · · · A.· ·Is it complete?· I couldn't say if it was a
    ·9· · · · A.· ·Yes.                                                ·9· ·hundred percent complete, but it's --
    10· · · · Q.· ·Okay, you then say in paragraph seven, "Using       10· · · · Q.· ·Is there anything that you can think of as you
    11· ·the 'CCA staffing plan," and that's in quotes, "For a         11· ·sit here today that's left out of this list?
    12· ·state contracted Correctional facility, which I               12· · · · A.· ·Not at this moment.
    13· ·understand was attached to one of the filings in this         13· · · · Q.· ·Okay, and then the fourth part is profit,
    14· ·case (as it was released in response to a State Freedom       14· ·right?
    15· ·of Information Request) it is possible to specifically        15· · · · A.· ·Yes.· That's what it says there.
    16· ·show how a competitor could use this information to           16· · · · Q.· ·So I just want to make sure I understand,
    17· ·reverse-engineer a contractor's proprietary per diem          17· ·parts one and two are labor, right?· Parts one and two
    18· ·rates and cause competitive harm in competing for a CDF 18· ·you've said contractors proprietary bed-day or per diem
    19· ·procurement contract.· The same analysis could be done        19· ·rate in an amount composed of several elements, elements
    20· ·using a GEO staffing plan such as one of those attached       20· ·one and two are labor, correct?
    21· ·to its contracts with ICE."· Do you see that?                 21· · · · A.· ·Correct.
    22· · · · A.· ·Yes.                                                22· · · · Q.· ·Three is basically overhead, your costs,
    23· · · · Q.· ·And did I read that correctly?                      23· ·correct?
    24· · · · A.· ·You did.                                            24· · · · A.· ·Correct.
    25· · · · Q.· ·Okay, so in the next paragraph, paragraph           25· · · · Q.· ·And four is profit, right?

                                                            Page 248                                                                 Page 250
    ·1· ·eight you say -- Is that true before we go on?                ·1· · · · A.· ·Correct.
    ·2· · · · A.· ·That paragraph?                                     ·2· · · · Q.· ·All right, so labor is sixty-five percent or
    ·3· · · · Q.· ·Yeah.                                               ·3· ·more of the per diem based on your testimony, right?
    ·4· · · · A.· ·Yes.                                                ·4· · · · A.· ·Yes.
    ·5· · · · Q.· ·Everything is okay.· Cool.                          ·5· · · · Q.· ·And then costs and profit are
    ·6· · · · · · ·The next paragraph you've listed four parts of      ·6· ·thirty-five percent or less, correct?
    ·7· ·a proprietary bed-day or per diem rate and they're            ·7· · · · A.· ·Correct.
    ·8· ·composed of several elements per part.· The first part        ·8· · · · Q.· ·Okay, of the per diem rate, right?
    ·9· ·is labor - "Labor charges for non-exempt hourly staff         ·9· · · · · · ·"In order to reverse-engineer a contractor's
    10· ·used to operate the facility."· Do you see that?              10· ·proprietary per diem rates, a competitor could first use
    11· · · · A.· ·Yes.                                                11· ·the contractor's staffing plan to break down the
    12· · · · Q.· ·Is that true?                                       12· ·contractor's proprietary per diem rates into these
    13· · · · A.· ·Yes.                                                13· ·component parts," right?
    14· · · · Q.· ·The second part is, "Labor charges for exempt       14· · · · A.· ·Yes.
    15· ·salaried staff in management and supervisory positions." 15· · · · Q.· ·And so if you working for GEO were trying to
    16· ·Do you see that?                                              16· ·deliver to the Federal Government, specifically ICE, a
    17· · · · A.· ·Yes.                                                17· ·lower per diem rate than CoreCivic, for example, or
    18· · · · Q.· ·True?                                               18· ·Emerald or MTC you would benefit from saving money on
    19· · · · A.· ·Yes.                                                19· ·any one of these four component parts?· In other words,
    20· · · · Q.· ·The third part is -- Sorry -- "Medical              20· ·if you lower any one of these four elements of the per
    21· ·services and supplies, food service, inmate expenses,         21· ·diem rate then the per diem rate will be - you know, it
    22· ·security expenses, utilities (based on local research on      22· ·will go down, right?
    23· ·rates), program expenses, repairs and maintenance,            23· · · · · · ·MR. DONOHUE:· Object to the form.
    24· ·leases, insurance, professional fees, personnel               24· · · · · · ·THE WITNESS:· Yes.
    25· ·expenses, travel expenses, administration expenses and 25· ·BY MR. FREE:


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                                                           Page 251                                                        Page 253
    ·1· · · · Q.· ·Okay, so if you spend less on exempt labor     ·1· · · · Q.· ·Okay, so if you have an option between two per
    ·2· ·that's element two, the per diem rate goes lower?        ·2· ·diem rates and one of them has a ten percent profit
    ·3· · · · A.· ·Yes.                                           ·3· ·margin, the other one has a twelve percent profit margin
    ·4· · · · Q.· ·Spend less on non-exempt labor, element one,   ·4· ·and you think that there's two ways to -- Let me say
    ·5· ·it goes lower?                                           ·5· ·this a different way so it's really clear, okay?
    ·6· · · · A.· ·Yes.                                           ·6· · · · · · ·Let's say you can arrive at the same per diem
    ·7· · · · Q.· ·Costs, food service, inmate expenses, medical  ·7· ·rate as you, GEO can arrive at the same per diem rate
    ·8· ·services and supplies, if you spend less on that your    ·8· ·weighting these four elements differently.· Do you
    ·9· ·per diem rate goes lower, correct?                       ·9· ·understand the premise of --
    10· · · · A.· ·Yes.                                           10· · · · A.· ·I do.
    11· · · · Q.· ·And if you take less of a profit, that's       11· · · · Q.· ·-- of what I'm about to ask?
    12· ·element four, your per diem rate goes lower, right?      12· · · · · · ·Okay, so you know, you can - you can come out
    13· · · · A.· ·Yes.                                           13· ·with a hundred dollar per diem spending a little bit
    14· · · · Q.· ·Okay, and you have the incentive to lower a    14· ·more on labor and a little bit less on profit or you can
    15· ·per diem rate as GEO in a competitive market environment 15· ·come out with a hundred dollar per diem spending a
    16· ·so that you can get the contract, correct?               16· ·little bit less on labor and a little bit more on profit
    17· · · · · · ·MR. DONOHUE:· Object to the form.              17· ·but you know you're going to be able to do a hundred
    18· · · · · · ·THE WITNESS:· Yes.                             18· ·dollar per diem.· Do you understand the premise, the
    19· ·BY MR. FREE:                                             19· ·second premise?
    20· · · · Q.· ·Okay, would you agree that generally all       20· · · · A.· ·I do.
    21· ·things being equal the - the lowest bid will be the one  21· · · · Q.· ·Okay, you have a fiduciary duty to choose the
    22· ·most likely to be approved by the government?            22· ·second one, right?
    23· · · · · · ·MR. DONOHUE:· Object to the form.              23· · · · · · ·MR. DONOHUE:· Object to the form.
    24· · · · · · ·THE WITNESS:· All things being equal all the   24· · · · · · ·THE WITNESS:· I have a responsibility to be
    25· · · · evaluation factors being equal?                     25· · · · able to win the procurement.· That's my role and

                                                           Page 252                                                           Page 254
    ·1· ·BY MR. FREE:                                                 ·1· · · · responsibility.
    ·2· · · · Q.· ·Yes, sir.                                          ·2· ·BY MR. FREE:
    ·3· · · · A.· ·Yes.                                               ·3· · · · Q.· ·I - I don't think you answered my question.
    ·4· · · · Q.· ·So I'm bracketing out like a contractor with       ·4· · · · A.· ·Okay.
    ·5· ·just a pitiful performance record, you know, maybe their     ·5· · · · Q.· ·It's okay.
    ·6· ·facility burned down or something like that.· I'm            ·6· · · · · · ·The per diem rate's the same, so the weighting
    ·7· ·bracketing them out, but if everything else is basically     ·7· ·of it doesn't have anything to do with whether you win
    ·8· ·equal per diem is going to determine whether GEO gets        ·8· ·because we've just discussed that all things being equal
    ·9· ·the contract over a competitor?                              ·9· ·between the two competitors the per diem rate with the
    10· · · · · · ·MR. DONOHUE:· Object to the form.                  10· ·lower - the competitor with the lower per diem rate is
    11· ·BY MR. FREE:                                                 11· ·going to win, right?
    12· · · · Q.· ·Right?                                             12· · · · A.· ·Correct.
    13· · · · A.· ·Yes.                                               13· · · · Q.· ·Okay, let's say you know this one hundred
    14· · · · Q.· ·Okay, now GEO also has a fiduciary duty to its     14· ·dollars is probably going to be the most competitive
    15· ·shareholders to maximize profit, correct?                    15· ·because you've done your due diligence, you've
    16· · · · · · ·MR. DONOHUE:· Object to the form.                  16· ·reversed-engineered if you can as much as possible what
    17· · · · · · ·THE WITNESS:· I don't know about maximize          17· ·these four elements look like for your competitors,
    18· · · · profit, but deliver profit, sure.                       18· ·right?· Let's say you've done that, which I think you
    19· ·BY MR. FREE:                                                 19· ·do.
    20· · · · Q.· ·Well, if you --                                    20· · · · · · ·MR. DONOHUE:· Object to the form.
    21· · · · A.· ·I don't know what that means, maximize profit.     21· ·BY MR. FREE:
    22· · · · Q.· ·To get the most that you can.                      22· · · · Q.· ·Right?
    23· · · · · · ·MR. DONOHUE:· The same objection.                  23· · · · A.· ·Correct.
    24· · · · · · ·THE WITNESS:· Yes.                                 24· · · · Q.· ·Do you do that?
    25· ·BY MR. FREE:                                                 25· · · · A.· ·Correct.· Correct.


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                                                          Page 255                                                                Page 257
    ·1· · · · Q.· ·You do?                                           ·1· · · · accurate as possible.
    ·2· · · · A.· ·We do an analysis to determine, right.            ·2· ·BY MR. FREE:
    ·3· · · · Q.· ·Okay, and we as GEO?                              ·3· · · · Q.· ·Okay.· Well, let's do what you did.· In
    ·4· · · · A.· ·We as GEO.                                        ·4· ·paragraph twelve, page five you've talked about how you
    ·5· · · · Q.· ·Okay.                                             ·5· ·would reverse-engineer a per diem for a competitor, "The
    ·6· · · · A.· ·Correct.                                          ·6· ·first step is to evaluate the labor portion of the
    ·7· · · · Q.· ·So as between a per diem rate of a hundred        ·7· ·incumbent's per diem bed-day rate for non-exempt hourly
    ·8· ·dollars that has a twelve percent profit and one of a       ·8· ·staff," right?
    ·9· ·hundred dollars that has an eight percent profit GEO        ·9· · · · A.· ·Yes.
    10· ·would want the twelve percent profit, right?                10· · · · Q.· ·And then you do the second - in paragraph
    11· · · · · · ·MR. DONOHUE:· Object to the form.                 11· ·thirteen you do the second thing - you do the same
    12· · · · · · ·THE WITNESS:· We would -- It's just not as        12· ·exercise for each non-exempt position of the plan,
    13· · · · simple as that.                                        13· ·right?
    14· · · · · · ·If we're submitting a proposal they also look     14· · · · A.· ·Correct.
    15· · · · at the - the staffing and whether or not that          15· · · · Q.· ·And then next you look at your own staffing
    16· · · · staffing is adequate and if your staffing costs are    16· ·plan and expected labor costs and you identify places
    17· · · · lower because you're reducing the number of staff      17· ·you propose to eliminate, right?
    18· · · · then that could be a factor in the evaluation, so      18· · · · A.· ·Correct.
    19· · · · while the profit may be more you may have hurt         19· · · · Q.· ·And then in paragraph fifteen you say that in
    20· · · · yourself by not meeting all of the requirements of     20· ·order to underbid CCA GEO would propose eliminating 38.8
    21· · · · the RFP.                                               21· ·full-time equivalent positions, right?
    22· ·BY MR. FREE:                                                22· · · · A.· ·Yes.
    23· · · · Q.· ·Is there any limitation on other than - I         23· · · · Q.· ·"These reductions reflect GEO confidential and
    24· ·think what you've just described is ICE might not like      24· ·proprietary approach to managing such facilities,"
    25· ·your staffing model and they might decide I'll take a       25· ·correct?

                                                      Page 256                                                                    Page 258
    ·1· ·more expensive per day rate than have this bad staffing ·1· · · · A.· ·Correct.
    ·2· ·model.· Is that a fair summary of what you've just told     ·2· · · · Q.· ·All right, and then based on that, the cost
    ·3· ·me?                                                         ·3· ·savings that you're getting from eliminating those
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                 ·4· ·thirty positions you underbid them by two dollars and
    ·5· · · · · · ·THE WITNESS:· That is fair.                       ·5· ·forty-four cents in paragraph sixteen.· It's the last
    ·6· ·BY MR. FREE:                                                ·6· ·page, the last sentence in paragraph sixteen, right?
    ·7· · · · Q.· ·All right, this company's taking too much         ·7· · · · A.· ·Yes.
    ·8· ·profit and they're skimping on labor and so we're going     ·8· · · · Q.· ·All right, is it fair to say generally that
    ·9· ·to go with the other people who are taking less profit      ·9· ·the less you spend on labor the lower the per diem rate
    10· ·but they're charging us more, is that the hypothetical      10· ·is going to be?
    11· ·that you were describing?                                   11· · · · · · ·MR. DONOHUE:· Object to the form.
    12· · · · A.· ·I --                                              12· · · · · · ·THE WITNESS:· I think that's fair.
    13· · · · · · ·MR. DONOHUE:· Object to the form.                 13· ·BY MR. FREE:
    14· · · · · · ·THE WITNESS:· I don't know if it's an             14· · · · Q.· ·Okay, and is it fair to say that if you can
    15· · · · evaluation of the percentage of profit.· It's more     15· ·weight the elements with those four elements that you've
    16· · · · of the evaluation of whether or not that staffing      16· ·identified within the per diem so that you have - GEO
    17· · · · plan that was submitted meets the requirements.        17· ·has the labor costs as low as possible, the element --
    18· ·BY MR. FREE:                                                18· ·So that's elements one and two -- The operations costs
    19· · · · Q.· ·Okay, but as a competitive bidder GEO is          19· ·as low as possible, that's element three, you would want
    20· ·incentivized to have the labor sixty-five percent of        20· ·element four, the profit to be as high as possible?· Is
    21· ·part of it's bed-day rate that is labor to have that be     21· ·that a fair description of the way GEO would put
    22· ·as lean as possible subject to the requirements that ICE 22· ·together the per day rate?
    23· ·has put out, right?                                         23· · · · · · ·MR. DONOHUE:· Object to the form.
    24· · · · · · ·MR. DONOHUE:· Object to the form.                 24· · · · · · ·THE WITNESS:· I would say that profit has to
    25· · · · · · ·THE WITNESS:· I would say not lean but            25· · · · be acceptable to the client.


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                                                                Page 259                                                               Page 261
    ·1· ·BY MR. FREE:                                                      ·1· · · · Q.· ·Attempts to identify a competitor's profit
    ·2· · · · Q.· ·Right, but apart from that what I've said is            ·2· ·based on its research as to elements one - one through
    ·3· ·accurate?                                                         ·3· ·three so that you can then deliver a lower per day rate,
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                       ·4· ·GEO can develop a lower per day rate in response to a
    ·5· · · · · · ·THE WITNESS:· I believe so.                             ·5· ·proposal?
    ·6· ·BY MR. FREE:                                                      ·6· · · · A.· ·No.· That answer is no.
    ·7· · · · Q.· ·Okay.· Thank you.                                       ·7· · · · Q.· ·Okay.
    ·8· · · · · · ·And I think what I've said is reflected in              ·8· · · · A.· ·We don't focus on what the competitor's profit
    ·9· ·paragraph nineteen where you say on behalf of GEO on              ·9· ·is.
    10· ·page seven it says, "The next step involves estimating            10· · · · Q.· ·What do you focus on?
    11· ·non-labor expenses including medical services and                 11· · · · A.· ·Mostly on what we think the per diem rate is -
    12· ·supplies, food service, inmate expenses" and so forth.            12· ·is going to be.· Again I mean depending on the
    13· ·Do you see where you said that?                                   13· ·procurement and the location, the type of facility, how
    14· · · · A.· ·In paragraph nineteen?                                  14· ·it's laid out, et cetera could all drive, you know,
    15· · · · Q.· ·Uh-huh.                                                 15· ·factors into - into the per diem, so you look at a
    16· · · · A.· ·Yes.                                                    16· ·facility that's thirty years old versus a facility
    17· · · · Q.· ·You say, "These costs are generally the same            17· ·that's five years old.· The thirty year facility's going
    18· ·for all CDF market competitors and are based on market 18· ·to be more labor intensive than the five year facility -
    19· ·rates."· It's the second to last sentence.                        19· ·five year old facility so, I mean those are the types of
    20· · · · A.· ·If we're competing for the same area?                   20· ·factors we - we research and analyze to determine where
    21· · · · Q.· ·Uh-huh.                                                 21· ·we think they're going to come out on a per diem.
    22· · · · A.· ·Yes.                                                    22· · · · Q.· ·And by we you mean GEO?
    23· · · · Q.· ·And I want to be really clear we're talking             23· · · · A.· ·GEO.
    24· ·about ICE detention facilities.· I know that there's              24· · · · · · ·I'm sorry.
    25· ·some overlap in this declaration.· For instance, you're           25· · · · Q.· ·It's okay.· I'm doing it, too.

                                                       Page 260                                                                        Page 262
    ·1· ·using a CCA State Prison contract to reverse-engineer  ·1· · · · A.· ·Yeah, that's fine.
    ·2· ·the per diem, but my question is about costs being                ·2· · · · Q.· ·GEO proposes and ICE approves a per diem rate,
    ·3· ·generally the same for all CDF market competitors and             ·3· ·correct?
    ·4· ·based on market rates.                                            ·4· · · · A.· ·Yes.
    ·5· · · · A.· ·Yes.                                                    ·5· · · · Q.· ·The per diem rates in the Adelanto contract
    ·6· · · · Q.· ·Okay, paragraph twenty, "A CDF market                   ·6· ·are the results of GEO's application of the four factors
    ·7· ·competitor can roughly identify the profit included in a          ·7· ·that you've laid out, correct?
    ·8· ·per diem rate from another competitor by adding together ·8· · · · · · ·MR. DONOHUE:· Object to the form.
    ·9· ·the, one, labor charges for non-exempt hourly staff used          ·9· · · · · · ·THE WITNESS:· Yes.
    10· ·to operate the facility based on the staffing plan and            10· ·BY MR. FREE:
    11· ·wage determination, two, estimated labor charges for              11· · · · Q.· ·There's no other factor other than labor costs
    12· ·exempt, salaried staff in management and supervisory              12· ·in - in your per diem rate, correct, at Adelanto?
    13· ·positions and, three, estimated non labor charges."· Do           13· · · · A.· ·Say that again.· I'm sorry.
    14· ·you see that?                                                     14· · · · Q.· ·In your per diem rate in the Adelanto contract
    15· · · · A.· ·Yes.                                                    15· ·there's no other factor other than labor costs and
    16· · · · Q.· ·So you're basically saying you can figure out           16· ·profit, pieces one - elements one and two, element three
    17· ·their profits if you can figure out elements one through          17· ·and element four?
    18· ·three, right?                                                     18· · · · A.· ·All four elements?
    19· · · · A.· ·You can, yeah.· You can get --                          19· · · · Q.· ·Uh-huh.
    20· · · · Q.· ·Okay.                                                   20· · · · A.· ·Yes.
    21· · · · A.· ·-- pretty close.                                        21· · · · Q.· ·All right, so if you can reduce labor you can
    22· · · · Q.· ·Okay.                                                   22· ·theoretically increase profit if you're GEO?
    23· · · · · · ·In fact, GEO does that as a business practice,          23· · · · · · ·MR. DONOHUE:· Object to the form.
    24· ·correct?                                                          24· · · · · · ·THE WITNESS:· In the case of Adelanto?
    25· · · · A.· ·Does what?                                              25· ·BY MR. FREE:


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    ·1· · · · Q.· ·Just generally.                                    ·1· · · · · · ·MR. DONOHUE:· Object to the form.
    ·2· · · · A.· ·I mean I think that's hard -- Well, I would        ·2· · · · · · ·THE WITNESS:· It is looking at it and it's
    ·3· ·say no, you can't.· If you've submitted a proposal and       ·3· · · · comparing it to its estimates --
    ·4· ·it was accepted then, no, you can't.                              ·4· ·BY MR. FREE:
    ·5· · · · Q.· ·I understand what --                                    ·5· · · · Q.· ·Okay.
    ·6· · · · A.· ·Oh.                                                     ·6· · · · A.· ·-- and I don't know what those are.
    ·7· · · · Q.· ·I think I understand what you're saying is              ·7· · · · Q.· ·And sure.
    ·8· ·once you - once you've agreed to the contract with                ·8· · · · · · ·And maybe the contract officer knows kind of
    ·9· ·ICE --                                                            ·9· ·what it's going to take to do nineteen hundred and forty
    10· · · · A.· ·ICE, yeah.                                              10· ·beds from other contracts or from talking within ICE to
    11· · · · Q.· ·-- you don't get to change from an example              11· ·what that looks like and so they can tell whether a
    12· ·staffing plan that we've looked at --                             12· ·contractor is, you know, shorting on staff, but my basic
    13· · · · A.· ·Right.                                                  13· ·question and I think that you've agreed is GEO presents
    14· · · · Q.· ·-- that says you're going to do                         14· ·the staffing plan to ICE, ICE doesn't say you're going
    15· ·twenty-seven --                                                   15· ·to do twenty-seven people in the kitchen and build your
    16· · · · A.· ·Yeah.                                                   16· ·model after that?· It's initiated by GEO correct?
    17· · · · Q.· ·-- kitchen positions.· You don't get to do              17· · · · · · ·MR. DONOHUE:· Object to the form.
    18· ·twenty-five and keep the rest, right?                             18· · · · · · ·THE WITNESS:· So we initiate it and - but ICE
    19· · · · A.· ·Correct.                                                19· · · · does have the opportunity to come back and say you
    20· · · · Q.· ·Okay, but if you can minimize the costs that            20· · · · need to change it.
    21· ·you're spending on that if you're GEO in the initial              21· ·BY MR. FREE:
    22· ·term, right, if you can - if you can figure out that we           22· · · · Q.· ·Yeah, they can negotiate it --
    23· ·only need twenty-seven and ICE will accept that they    23· · · · A.· ·Sure.
    24· ·will enter into this contract as opposed to thirty then 24· · · · Q.· ·-- with you?
    25· ·GEO can do the same thing that you described doing to 25· · · · A.· ·Yes.

                                                                Page 264                                                          Page 266
    ·1· ·CoreCivic in that reverse-engineer.· You can maximize             ·1· · · · Q.· ·And if - if you have a contract and you agree
    ·2· ·profit based on the lowering of the labor costs, right?           ·2· ·then you've agreed, right?
    ·3· · · · A.· ·Maximize profit?                                        ·3· · · · A.· ·Yes.
    ·4· · · · Q.· ·You can - you know --                                   ·4· · · · Q.· ·Okay, and then the bed-day rate reflects the
    ·5· · · · A.· ·That would bring about a lower per diem rate            ·5· ·agreement on staffing which is labor really which is
    ·6· ·if we were to reduce the staffing or the costs for the            ·6· ·sixty-five percent of the average, you know, on the
    ·7· ·staffing, so we would have to reduce the per diem rate.           ·7· ·normal per day rate based on your testimony, right?
    ·8· ·You couldn't keep it the same and maximize your profit.           ·8· · · · · · ·MR. DONOHUE:· Object to the form.
    ·9· ·I mean there would be an expectation that if you're               ·9· · · · · · ·THE WITNESS:· It reflects all the costs, not
    10· ·providing less staff than what they think should be               10· · · · just the labor.
    11· ·there should be a lower per diem.                                 11· ·BY MR. FREE:
    12· · · · Q.· ·Does ICE give GEO model staffing plans in the           12· · · · Q.· ·All right, now once you've got the contract --
    13· ·procurement process?                                              13· ·Let's take Adelanto specifically.· Adelanto is a fixed
    14· · · · A.· ·They do not.                                            14· ·price agreement, right?
    15· · · · Q.· ·Does ICE set staffing ratios for GEO to abide           15· · · · A.· ·Yes.
    16· ·by in the procurement process?                                    16· · · · Q.· ·Which means unless there's a modification or
    17· · · · A.· ·If they do it's - it's not provided to us.              17· ·an equitable adjustment GEO is stuck with the per diem
    18· · · · Q.· ·I understood your testimony earlier today to            18· ·rate that GEO and ICE agreed to, correct?
    19· ·be that GEO would propose to ICE the staffing plan based 19· · · · A.· ·Yes.
    20· ·on its proprietary confidential formula, its company              20· · · · Q.· ·Okay, and you said earlier, you know, you can
    21· ·philosophy and values.· Did I understand that correctly?          21· ·get the windfall of savings and you can bear the cost of
    22· · · · A.· ·Correct.                                                22· ·benefits.· The substance of your testimony earlier is I
    23· · · · Q.· ·Okay, and so ICE is functionally looking at             23· ·think in a fixed price contract if you have a cost
    24· ·what GEO has proposed when it's looking at the staffing           24· ·overrun, the contractor, that's on you?
    25· ·plan, correct?                                                    25· · · · A.· ·Correct.


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    ·1· · · · Q.· ·You can come back and say we need more money ·1· ·proposals at GEO and as described, do you agree that's
    ·2· ·or if ICE is forcing you to overrun your costs then you           ·2· ·what you told the Court?
    ·3· ·can ask them for more money but, you know, the price of           ·3· · · · A.· ·Yes.
    ·4· ·milk goes up or if GEO does business with a - let's take          ·4· · · · Q.· ·All right, if you'll flip over to page four of
    ·5· ·out the price of milk.· If GEO does business with a               ·5· ·seven in paragraph nine the discussion we were having
    ·6· ·third-party for some contract and they are not getting            ·6· ·earlier about how GEO puts the staffing plan together
    ·7· ·the best price then GEO eats that cost, right?                    ·7· ·and then ICE looks at it, sees if it's reasonable, maybe
    ·8· · · · A.· ·Correct.                                                ·8· ·you negotiate and then the per diem rate is a reflection
    ·9· · · · Q.· ·All right.                                              ·9· ·of an agreement on what that staffing plan is.· Do you
    10· · · · · · ·Are you okay?                                           10· ·recall that discussion?
    11· · · · A.· ·Yeah.· No, I was probably hitting the mic, so           11· · · · A.· ·Yes.
    12· ·I apologize.                                                      12· · · · Q.· ·All right, so you say, "Solicitations by ICE
    13· · · · Q.· ·We're going to hand you a document being                13· ·and other agencies for contract detention services
    14· ·marked as Exhibit Nineteen.                                       14· ·typically require bidders to submit a comprehensive" and
    15· · · · · · ·(Whereupon, Exhibit 19 was marked)                      15· ·it's capitalized, "Technical Response" and then it says,
    16· ·BY MR. FREE:                                                      16· ·(To include operational procedures and policies,
    17· · · · Q.· ·This is a declaration from you on GEO's behalf          17· ·detailed staffing plan, facility design plans and
    18· ·seeking to file limited redaction - redacted pages                18· ·physical plant descriptions) detailed pricing cost
    19· ·incamera and under seal.· Do you know what incamera               19· ·information and past performance information."· Did I
    20· ·means?                                                            20· ·read that correctly?
    21· · · · A.· ·I do not.                                               21· · · · A.· ·Yes.
    22· · · · Q.· ·Do you know what under seal means?                      22· · · · Q.· ·Is that as true now as it was when you signed
    23· · · · A.· ·Yes.                                                    23· ·this on December 1st, 2017?
    24· · · · Q.· ·All right, I'm just going to tell you they              24· · · · A.· ·It is.
    25· ·wanted to just give it, GEO just wanted to give it to             25· · · · Q.· ·"When all other factors are more or less

                                                                Page 268                                                      Page 270
    ·1· ·the Court and not give it to the Plaintiffs and so you            ·1· ·equal, the government will base the award on the overall
    ·2· ·were - this declaration was in support of that, I think.          ·2· ·cost."· Is that true?
    ·3· · · · · · ·Again if you look to the final page.· Actually          ·3· · · · A.· ·Yes.
    ·4· ·look at page six of seven it says on the top.· Do you             ·4· · · · Q.· ·Okay, it's true that you wrote that and it's
    ·5· ·see that?                                                         ·5· ·true that that, in fact, is what the government does?
    ·6· · · · A.· ·Yeah.                                                   ·6· · · · A.· ·Yes.
    ·7· · · · Q.· ·Because it's not paginated at the bottom.               ·7· · · · Q.· ·All right, "The winning proposal in almost
    ·8· ·That's your signature?                                            ·8· ·every Federal procurement competition in the detention
    ·9· · · · A.· ·Yes.                                                    ·9· ·or prison contracting area is awarded to the lowest
    10· · · · Q.· ·Did you sign this document?                             10· ·bidder unless the bidder has an unsatisfactory
    11· · · · A.· ·Yes.                                                    11· ·performance record."· Did I read that correctly?
    12· · · · Q.· ·Have you seen it since you signed it?                   12· · · · A.· ·You did.
    13· · · · A.· ·No.                                                     13· · · · Q.· ·Is that true?
    14· · · · Q.· ·Did you sign it on December 1st, 2017?                  14· · · · A.· ·I believe it is.
    15· · · · A.· ·I assume I did.                                         15· · · · Q.· ·Well, you wrote it.
    16· · · · Q.· ·Okay, fair.                                             16· · · · A.· ·Yeah.· I - listen, I don't know all the
    17· · · · · · ·Once again you're making this declaration as            17· ·procurements that have gone on, but it's as far as I
    18· ·GEO's SVP for Business Development.· You say in                   18· ·know, yes, that's true.
    19· ·paragraph one your "Duties include responsible for                19· · · · Q.· ·Okay, you once again describe the - in
    20· ·leading GEO's business development and proposal efforts 20· ·paragraph ten, "The proprietary approach to staffing and
    21· ·in response to requests for proposal for GEO's contract           21· ·pricing plans based on the contractor's analysis of the
    22· ·detention facilities which includes RFPs from                     22· ·request for proposal work statement requirements
    23· ·Immigration and Customs Enforcement" and everything in            23· ·published by ICE or another soliciting agency along with
    24· ·here is based on your personal knowledge and other -              24· ·company philosophy and operational policies."· Did I
    25· ·as - in your capacity as the person responsible for               25· ·read that correctly?


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    ·1· · · · A.· ·You did.                                           ·1· · · · · · ·What time were we off?
    ·2· · · · Q.· ·What's GEO's company philosophy?                   ·2· · · · · · ·THE VIDEOGRAPHER:· 3:51.
    ·3· · · · A.· ·Our philosophy?                                    ·3· · · · · · ·(Whereupon, there was a brief recess observed)
    ·4· · · · Q.· ·Uh-huh.                                            ·4· · · · · · ·THE VIDEOGRAPHER:· We are back on the video
    ·5· · · · A.· ·Treat people humanely.· I'm trying to remember     ·5· · · · record 4:07 p.m.
    ·6· ·the - the statement, but it's basically treating people      ·6· ·BY MR. FREE:
    ·7· ·humanely, open and honest communications, delivering         ·7· · · · Q.· ·Mr. Venturella, which part of the four
    ·8· ·quality services, et cetera.· Something like that, to        ·8· ·elements in the per diem rate is commissary?
    ·9· ·that effect.                                                 ·9· · · · · · ·MR. DONOHUE:· Object to the form.
    10· · · · Q.· ·Is that written down somewhere?                    10· · · · · · ·THE WITNESS:· I don't believe commissary is
    11· · · · A.· ·It is written down.                                11· · · · part of that.
    12· · · · Q.· ·Where would I find it?                             12· ·BY MR. FREE:
    13· · · · A.· ·On the wall next to my office.                     13· · · · Q.· ·What --
    14· · · · Q.· ·All right.                                         14· · · · A.· ·We don't manage commissary, we don't profit
    15· · · · A.· ·It could be on the website.· I don't know.         15· ·from commissary, we don't derive any, excuse me,
    16· · · · Q.· ·But that's a public document?                      16· ·revenues from commissary is my understanding.
    17· · · · A.· ·I wouldn't say it's a public document, but if      17· · · · Q.· ·Okay, and we is GEO?
    18· ·it's on our website I guess it is.                           18· · · · A.· ·We as GEO.
    19· · · · Q.· ·Okay.                                              19· · · · Q.· ·And that's all GEO's immigration and detention
    20· · · · A.· ·Yeah.                                              20· ·centers or just Adelanto as far as you know?
    21· · · · Q.· ·And you take these into consideration in           21· · · · A.· ·I believe that applies to all of our
    22· ·responding to the RFPs?                                      22· ·facilities.
    23· · · · A.· ·Yes.                                               23· · · · Q.· ·Do you know whether GEO uses one commissary
    24· · · · Q.· ·What are the operational policies?                 24· ·vendor or more than one?
    25· · · · A.· ·What are?· I'm sorry?                              25· · · · A.· ·I believe more than one.

                                                          Page 272                                                        Page 274
    ·1· · · · Q.· ·You also say operational policies.· I'm just       ·1· · · · Q.· ·Okay, do you know who Keefe is, K-e-e-f-e?
    ·2· ·wondering what those are.                                    ·2· · · · A.· ·I do know, yes.
    ·3· · · · A.· ·There's hundreds.· Well, there's a lot of          ·3· · · · Q.· ·Okay, do you know if Keefe provides commissary
    ·4· ·operational policies.                                        ·4· ·to Adelanto?
    ·5· · · · Q.· ·Which ones bear on your submissions in             ·5· · · · A.· ·I do not know.
    ·6· ·response to RFPs --                                          ·6· · · · Q.· ·All right, and so there is a commissary, a
    ·7· · · · · · ·MR. DONOHUE:· Object to the form.                  ·7· ·physical area where the goods are stored at Adelanto,
    ·8· ·BY MR. FREE:                                                 ·8· ·right?
    ·9· · · · Q.· ·-- if you know?                                    ·9· · · · A.· ·The commissary?
    10· · · · A.· ·I think all of them.                               10· · · · Q.· ·Yes, sir.
    11· · · · Q.· ·Okay.                                              11· · · · A.· ·Yes.
    12· · · · A.· ·Yeah.                                              12· · · · Q.· ·Have you seen it?
    13· · · · Q.· ·So there's a lot of them and all of them are       13· · · · A.· ·I don't think I -- I don't recall seeing it.
    14· ·relevant to how you do this?                                 14· · · · Q.· ·Okay, and I think I understand you to mean
    15· · · · A.· ·Yes.· I believe so.                                15· ·that the commissary vendor, that GEO doesn't run
    16· · · · Q.· ·All right.                                         16· ·commissary or profit from it, that means that Keefe
    17· · · · · · ·MR. FREE:· Let's take a quick break.               17· ·would be staffing the commissary; is that right?
    18· · · · · · ·It's 3:50.· Can we endeavor to come back at        18· · · · A.· ·That's -- I believe that's correct.
    19· · · · 4:00?                                                   19· · · · Q.· ·Okay, does GEO derive any revenues from the
    20· · · · · · ·MR. DONOHUE:· No.                                  20· ·commissary?
    21· · · · · · ·MR. FREE:· Okay.· Well --                          21· · · · A.· ·No.
    22· · · · · · ·MR. DONOHUE:· I'm joking.                          22· · · · Q.· ·Does GEO make any profit from commissary? I
    23· · · · · · ·MR. FREE:· He's refusing to endeavor to come       23· ·think you said no.
    24· · · · back at 4:00.                                           24· · · · A.· ·Right.· No.
    25· · · · · · ·MR. DONOHUE:· I'm joking.                          25· · · · Q.· ·Does GEO use any part of the commissary


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    ·1· ·revenues to fund any operations in any of its                ·1· ·second paragraph.· "Additionally, in no way does GEO
    ·2· ·facilities?                                                  ·2· ·profit from the commissary operations which are provided
    ·3· · · · A.· ·Not to my knowledge.                               ·3· ·and operated by a third-party vendor" and then GEO says,
    ·4· · · · Q.· ·Okay, does GEO control or approve of the           ·4· ·"Any minimal commission from each commissary sale almost
    ·5· ·pricing in its commissaries at ICE detention centers?        ·5· ·entirely goes into a welfare fund which is used for
    ·6· · · · A.· ·I don't know.                                      ·6· ·recreational equipment for detainees with a small
    ·7· · · · Q.· ·Do you know whether GEO contracts directly         ·7· ·portion used to cover costs only."· Do you see that?
    ·8· ·with the commissary vendor or on the other hand whether ·8· · · · A.· ·I do.
    ·9· ·it's ICE doing the commissary vendor contract?               ·9· · · · Q.· ·Is that true?
    10· · · · A.· ·At Adelanto?                                       10· · · · A.· ·I do not know.
    11· · · · Q.· ·Yes, sir.                                          11· · · · Q.· ·Okay, what commission would be taken by GEO?
    12· · · · A.· ·GEO contracts directly with the commissary         12· · · · A.· ·I don't know.
    13· ·vendor.                                                      13· · · · Q.· ·Why wouldn't the entirety of a sale to the
    14· · · · Q.· ·Okay, does GEO approve the prices of the           14· ·third-party vendor at a GEO facility, Adelanto, for
    15· ·commissary vendor?                                           15· ·instance, where the detainee buys something, there's a
    16· · · · A.· ·I do not know.                                     16· ·sale, why wouldn't the entirety of that go to a
    17· · · · Q.· ·Okay, who would know that?                         17· ·third-party vendor?
    18· · · · A.· ·I would - somebody in our Operations               18· · · · · · ·MR. DONOHUE:· Object to the form.
    19· ·Department I would believe.                                  19· · · · · · ·THE WITNESS:· I don't know.
    20· · · · Q.· ·Okay, let me hand you two documents.· The          20· ·BY MR. FREE:
    21· ·first will be marked as Exhibit Twenty, the second one       21· · · · Q.· ·Okay, what is a welfare fund?
    22· ·will be marked as Exhibit 21.                                22· · · · A.· ·I don't know.
    23· · · · · · ·(Whereupon, Exhibits 20 and 21 consecutively       23· · · · Q.· ·Okay, is a welfare fund part of your proposal
    24· ·were marked)                                                 24· ·that you would put in front of ICE as part of bidding or
    25· · · · · · ·THE WITNESS:· Thank you.                           25· ·renegotiating a detention contract if you're GEO?

                                                           Page 276                                                               Page 278
    ·1· ·BY MR. FREE:                                                 ·1· · · · A.· ·No.
    ·2· · · · Q.· ·Exhibit Twenty is a printout from Aurora's         ·2· · · · Q.· ·Okay, this does not appear in elements one,
    ·3· ·report by Michelle Conlin and Kristina Cooke that was        ·3· ·two, three or four of your bed-day rate formulation,
    ·4· ·dated January 18th, 2019.· Exhibit Twenty-one is I           ·4· ·right?
    ·5· ·believe a January 18th, 2019 statement published on          ·5· · · · A.· ·That's correct.
    ·6· ·GEO's website.· The reason I'm saying that is at the         ·6· · · · Q.· ·Okay, what would be the need for recreational
    ·7· ·bottom left-hand corner it's the - the link is               ·7· ·equipment for detainees from the welfare fund?
    ·8· ·wearegeo.com.· That's GEO's website, right?· I'm             ·8· · · · A.· ·I don't know.
    ·9· ·pointing to --                                               ·9· · · · · · ·MR. DONOHUE:· Object to the form.
    10· · · · A.· ·Yes.                                               10· · · · · · ·THE WITNESS:· I don't know.
    11· · · · Q.· ·-- the first page of Exhibit Twenty-one.· Do       11· ·BY MR. FREE:
    12· ·you see that?                                                12· · · · Q.· ·Okay, so I just want to understand this
    13· · · · A.· ·I do.· I see it.                                   13· ·paragraph.· It looks like GEO is saying we don't profit
    14· · · · Q.· ·Okay, so I'm going to represent to you that I      14· ·from commissary, we take a minimal commission, we then
    15· ·think that this is GEO's statement, this, Exhibit            15· ·put that commission almost entirely into a welfare fund
    16· ·Twenty-one is GEO's statement "correcting the record"        16· ·and then we use that to buy recreational equipment for
    17· ·about the Reuters piece that is Exhibit Twenty.              17· ·detainees, right?
    18· · · · A.· ·Okay.                                              18· · · · A.· ·That's what it says, yeah.
    19· · · · Q.· ·Do you follow?                                     19· · · · Q.· ·Okay, so the almost minimal and the small
    20· · · · A.· ·Yeah, I follow it now.                             20· ·portion is the stuff that I don't understand.· Can you
    21· · · · Q.· ·Okay, if you'll turn on Exhibit Twenty-one,        21· ·help me understand that.
    22· ·the GEO statement --                                         22· · · · A.· ·Unfortunately I cannot.· I don't - I don't
    23· · · · A.· ·Okay.                                              23· ·know what that is.
    24· · · · Q.· ·-- to the second page.                             24· · · · Q.· ·Okay, you don't know what a small portion
    25· · · · · · ·GEO has echoed what you've said today in the       25· ·constitutes?


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    NOVOA vs THE GEO GROUP                                             279–282
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    ·1· · · · · · ·Okay.                                                  ·1· ·would be to buy the cheaper product to give to the
    ·2· · · · A.· ·I do not.                                              ·2· ·detainees, correct?
    ·3· · · · Q.· ·All right, and this is - this welfare fund,            ·3· · · · · · ·MR. DONOHUE:· Object to the form.
    ·4· ·this commission to GEO which is not entirely put into            ·4· · · · · · ·THE WITNESS:· We don't run the commissary, so
    ·5· ·the welfare fund does not appear in your cost                    ·5· · · · I don't think that's a - a factor.
    ·6· ·calculations that result in your bed-day rate approved           ·6· ·BY MR. FREE:
    ·7· ·by ICE?                                                          ·7· · · · Q.· ·Well, you do run the sanitation - the hygiene
    ·8· · · · A.· ·No.· Not to my knowledge.                              ·8· ·products that are offered free of charge to all
    ·9· · · · Q.· ·Okay, so GEO is -- Because GEO is not putting          ·9· ·detainees, right?· GEO does that?
    10· ·all of the commissary commission that it gets from the           10· · · · · · ·That's at the top of the paragraph.
    11· ·third-party vendor into the welfare fund GEO has some            11· · · · A.· ·Right.· We provide products to the detainees.
    12· ·money and then I think it says with a small portion used         12· · · · Q.· ·All right, so I'll ask my question again.
    13· ·to cover costs only, so my question is what are the              13· · · · · · ·If you had a choice between a brand name
    14· ·costs?                                                           14· ·product and a generic product and you're a procurement
    15· · · · A.· ·I don't know.                                          15· ·person for GEO and the generic is cheaper you're going
    16· · · · · · ·MR. DONOHUE:· Object to the form.                      16· ·to buy the generic, right?
    17· · · · · · ·THE WITNESS:· I don't know.                            17· · · · · · ·MR. DONOHUE:· Object to the form.
    18· ·BY MR. FREE:                                                     18· · · · · · ·THE WITNESS:· I don't know that for a fact.
    19· · · · Q.· ·So there is a program operated within the              19· ·BY MR. FREE:
    20· ·Adelanto detention facility within the commissary that           20· · · · Q.· ·What do you think?
    21· ·is not reflected in the bed-day rate, right?                     21· · · · · · ·MR. DONOHUE:· The same objection.
    22· · · · · · ·MR. DONOHUE:· Object to the form.                      22· · · · · · ·THE WITNESS:· I don't know.· I don't know.
    23· · · · · · ·THE WITNESS:· Correct.                                 23· ·BY MR. FREE:
    24· ·BY MR. FREE:                                                     24· · · · Q.· ·Based on the principals that we've laid out
    25· · · · Q.· ·Okay.                                                  25· ·throughout the day about getting the most competitive

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    ·1· · · · · · ·Who would know the answer to these questions  ·1· ·cost for each of the four elements of the bed-day rate
    ·2· ·that I've asked you, if you know?                       ·2· ·so that you can have the most competitive bed-day rate
    ·3· · · · A.· ·I don't.                                               ·3· ·would it make any sense for GEO to buy the more
    ·4· · · · Q.· ·Do you know who puts out these sorts of                ·4· ·expensive product?
    ·5· ·statements from GEO?                                             ·5· · · · · · ·MR. DONOHUE:· Object to the form.
    ·6· · · · A.· ·That would be Pablo Paez, P-a-e-z.                     ·6· · · · · · ·THE WITNESS:· Again I don't know what they
    ·7· · · · Q.· ·Is that GEO's spokesperson?                            ·7· · · · purchase, the brands, the types, et cetera, so I
    ·8· · · · A.· ·Yes.                                                   ·8· · · · don't know.
    ·9· · · · Q.· ·Where would Pablo get the information that's           ·9· ·BY MR. FREE:
    10· ·contained in the statement, if you know?                         10· · · · Q.· ·But that's not my question.· My question is
    11· · · · A.· ·I believe from the Operations unit.                    11· ·just as a principle, I'm not asking you like Dove
    12· · · · Q.· ·Okay, in the paragraph above it says                   12· ·versus, you know, with a bar of soap that you'll get at
    13· ·main brand -- Excuse me, brand -- It says, "Furthermore, 13· ·Dollar General.· I'm just asking if you have a choice
    14· ·brand name products are available for purchase at the    14· ·between two products, one of them is more expensive, one
    15· ·center's commissary and include the option to purchase           15· ·of them is less, you buy the cheaper one if you're
    16· ·toothpaste for one dollar and fifty cents in addition to         16· ·trying to keep your costs down so you can have the most
    17· ·the free toothpaste that is provided on demand."· Do you 17· ·competitive bed-day rate if you're GEO, right?
    18· ·see that?                                                18· · · · · · ·MR. DONOHUE:· Object to the form.
    19· · · · A.· ·I do.                                                  19· · · · · · ·THE WITNESS:· Again I don't know what the
    20· · · · Q.· ·I think I know the answer to this, but do you          20· · · · criteria is for the purchase.
    21· ·know whether that's true?                                        21· ·BY MR. FREE:
    22· · · · A.· ·I don't.                                               22· · · · Q.· ·Do you know if the Operations people would
    23· · · · Q.· ·If GEO had a choice between choosing brand             23· ·know that though?
    24· ·name products and generic products with the generic              24· · · · A.· ·I think they would.
    25· ·products being cheaper the rational thing for GEO to do          25· · · · Q.· ·Okay, great.


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    ·1· · · · · · ·Does GEO operate the -- You know what?· Thank  ·1· · · · Q.· ·Sure.
    ·2· ·you.                                                             ·2· · · · · · ·Is the number of detainee voluntary workers at
    ·3· · · · · · ·Is the - the work program at the Adelanto              ·3· ·Adelanto or at any other facility that you're
    ·4· ·Detention Center for immigration detainees who are paid          ·4· ·contracting with with ICE, is that number included in
    ·5· ·a dollar a day voluntary?                                        ·5· ·your proposal in your negotiations with ICE if you're
    ·6· · · · A.· ·Yes.                                                   ·6· ·GEO?
    ·7· · · · Q.· ·It is each detainee's choice whether he or she         ·7· · · · A.· ·It's not - it's not because it's not known.
    ·8· ·wishes to participate in the work program at Adelanto,           ·8· ·It's not known until after the contract's awarded and
    ·9· ·correct?                                                         ·9· ·then there's discussions between the facility
    10· · · · A.· ·That's my understanding.                               10· ·administrator and the ICE representative, so at the time
    11· · · · Q.· ·And just so we're clear, I'm not talking about         11· ·we submit a proposal we do not know what the numbers or
    12· ·personal housekeeping listed in 5.8.· I'm only talking           12· ·percentages will be.
    13· ·about the VWP.                                                   13· · · · Q.· ·You can't predict that based on historical
    14· · · · A.· ·Understood.                                            14· ·data?
    15· · · · Q.· ·Can we agree on that?                                  15· · · · A.· ·No.
    16· · · · A.· ·Agreed.                                                16· · · · Q.· ·Why not?
    17· · · · Q.· ·All right, it is conceivable then that no              17· · · · A.· ·Every - every office is different, so there is
    18· ·people you can find in Adelanto would make the choice to 18· ·no standard formula of being able to predict that.
    19· ·work, correct?                                                   19· · · · Q.· ·And so you don't as GEO?
    20· · · · A.· ·Can you repeat that?                                   20· · · · A.· ·No, so we don't --
    21· · · · Q.· ·If everybody at Adelanto has a choice whether          21· · · · Q.· ·Okay.
    22· ·they want to work in the voluntary work program it is            22· · · · A.· ·-- so it's not included in our proposal that
    23· ·conceivable, it's possible that nobody wants to work             23· ·we submit to ICE.
    24· ·there, right?                                                    24· · · · Q.· ·And that -- I'm assuming when you say the
    25· · · · A.· ·It's -- Yeah.· I think that's possible.                25· ·proposal that - it includes the component parts of the

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    ·1· · · · Q.· ·Okay, it doesn't happen, right?                ·1· ·technical offering, is that how you described it, or the
    ·2· · · · A.· ·Right.                                         ·2· ·technical response?
    ·3· · · · Q.· ·But it is possible that the number of          ·3· · · · A.· ·Correct.
    ·4· ·voluntary work - voluntary workers at GEO and Adelanto ·4· · · · Q.· ·Okay, so that includes the staffing plan,
    ·5· ·could be zero, right?                                    ·5· ·right?
    ·6· · · · A.· ·Yes.                                           ·6· · · · A.· ·Correct.
    ·7· · · · Q.· ·It is truly voluntary?                         ·7· · · · Q.· ·And the historical performance information if
    ·8· · · · · · ·MR. DONOHUE:· Object to the form.              ·8· ·there is any, right?
    ·9· · · · · · ·THE WITNESS:· Yes.                             ·9· · · · A.· ·Correct.
    10· ·BY MR. FREE:                                             10· · · · Q.· ·And that could also include like labor
    11· · · · Q.· ·Thanks.                                        11· ·determinations for prevailing wages, right?
    12· · · · · · ·Who determines the number of voluntary workers 12· · · · A.· ·I think that's provided by ICE, the labor
    13· ·at Adelanto?                                             13· ·determinations.
    14· · · · A.· ·I don't know.                                  14· · · · Q.· ·Oh, yeah.· Through the DOL.
    15· · · · Q.· ·Who would know the answer to that question?    15· · · · A.· ·Correct.
    16· · · · A.· ·Excuse me.                                     16· · · · Q.· ·The Department of Labor?
    17· · · · · · ·The Facility Administrator.                    17· · · · · · ·Okay, as part of this response to the RFP that
    18· · · · Q.· ·Mr. Janecka?                                   18· ·GEO submits to ICE there's no set number of expected
    19· · · · A.· ·Yes, Mr. Janecka.                              19· ·detainee voluntary workers at the facility, correct?
    20· · · · Q.· ·Okay, is that consideration included in the    20· · · · A.· ·That is correct.
    21· ·request for proposal process that you supervise and      21· · · · Q.· ·Okay, is that because you can't depend on
    22· ·lead?                                                    22· ·having that labor because it's all voluntary, or what --
    23· · · · · · ·MR. DONOHUE:· Object to the form.              23· ·I just don't understand how you -- Like why is that?· Is
    24· · · · · · ·THE WITNESS:· Can you repeat the question?     24· ·it just - just because you don't know?
    25· ·BY MR. FREE:                                             25· · · · · · ·MR. DONOHUE:· Object to the form.


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    ·1· · · · · · ·THE WITNESS:· Right.· We just don't know at     ·1· ·correct?
    ·2· · · · the time.                                                 ·2· · · · A.· ·I don't recall that specifically.
    ·3· ·BY MR. FREE:                                                   ·3· · · · Q.· ·Okay.· I posed a hypothetical to you earlier
    ·4· · · · Q.· ·Okay, when you're making your staffing               ·4· ·that there could be a day when nobody decides to work
    ·5· ·proposals that go into the bed-day rate, is GEO                ·5· ·who's in - in the Adelanto Detention Center, right?
    ·6· ·factoring in tasks that will be performed by voluntary         ·6· · · · A.· ·Yes.
    ·7· ·workers at the facility?                                       ·7· · · · Q.· ·If it is truly voluntary?
    ·8· · · · A.· ·No.                                                  ·8· · · · A.· ·Yes.
    ·9· · · · Q.· ·I know you've told me you haven't seen the           ·9· · · · Q.· ·Okay, who would perform the jobs of all those
    10· ·model, the spreadsheet, but you've seen a screen shot of 10· ·people if they did not show up to work?
    11· ·it.· Did you tell me that earlier?                             11· · · · · · ·MR. DONOHUE:· Object to the form.
    12· · · · A.· ·Of?                                                  12· · · · · · ·THE WITNESS:· The GEO staff.
    13· · · · Q.· ·Of the - the way that GEO gets the bed-day           13· ·BY MR. FREE:
    14· ·rate.· You know, you add in all the costs, the labor.          14· · · · Q.· ·In evaluating the costs are for the bed-day
    15· ·You know, basically you add in elements one through            15· ·rate does GEO budget for full staff by non-detainees?
    16· ·four, but that's in the spreadsheet, right?                    16· · · · A.· ·I don't understand the question.
    17· · · · A.· ·Yes.                                                 17· · · · Q.· ·Does GEO budget for that day when nobody shows
    18· · · · Q.· ·Okay, and you submit it to ICE, right?               18· ·up where all the staff have to do all the labor that the
    19· · · · A.· ·Correct.                                             19· ·voluntary work program workers would do in its proposals
    20· · · · Q.· ·And detainee labor is not accounted for              20· ·to ICE when it's trying to get a contract?
    21· ·anywhere in that spreadsheet, correct?                         21· · · · A.· ·Our proposals include staff to support the
    22· · · · A.· ·I don't know.                                        22· ·entire operation so, yes.
    23· · · · Q.· ·Because you haven't seen it?                         23· · · · Q.· ·It - does it -- Does that proposal include the
    24· · · · A.· ·I -- Yeah.                                           24· ·assumption that there will be no workers?
    25· · · · Q.· ·Who knows the answer to that question, if you        25· · · · · · ·MR. DONOHUE:· Object to the form.

                                                             Page 288                                                                 Page 290
    ·1· ·know?                                                          ·1· ·BY MR. FREE:
    ·2· · · · A.· ·Probably our folks in the CFO's office.              ·2· · · · Q.· ·No detainee workers.
    ·3· · · · Q.· ·Okay, ICE requires GEO as part of the contract       ·3· · · · A.· ·Again we - at the time we submit that proposal
    ·4· ·to run a voluntary work program, correct?                      ·4· ·we do not know numbers or percentages, so it - it does
    ·5· · · · · · ·MR. DONOHUE:· Object to the form.                    ·5· ·not assume any number.
    ·6· · · · · · ·THE WITNESS:· Can you repeat that?                   ·6· · · · Q.· ·Okay.· It is true then, I think, and tell me
    ·7· · · · · · ·I'm sorry.                                           ·7· ·if you disagree that if no voluntary workers showed up
    ·8· ·BY MR. FREE:                                                   ·8· ·on a day to do all the jobs that they're going to do you
    ·9· · · · Q.· ·As far as you understand the contract at             ·9· ·told me GEO would do those jobs, right?· GEO employees
    10· ·Adelanto or really any ICE contract subject that GEO's10· ·would do those jobs?
    11· ·done you have to run the voluntary work program under 11· · · · A.· ·GEO would be responsible for it, yes.
    12· ·ICE, right?                                           12· · · · Q.· ·Yeah.
    13· · · · A.· ·Correct.                                    13· · · · · · ·Would GEO have to alter its staffing of its
    14· · · · Q.· ·That's like one of the premises of your letter       14· ·employees in order to bear that responsibility?
    15· ·to ICE is we're doing this because you're telling me.          15· · · · · · ·MR. DONOHUE:· Object to the form.
    16· ·We're - GEO is running the voluntary work program              16· · · · · · ·THE WITNESS:· That I don't know.
    17· ·because you're making us do it, right?                         17· ·BY MR. FREE:
    18· · · · A.· ·Yes.· I agree.                                       18· · · · Q.· ·Is that a question that is considered by GEO
    19· · · · Q.· ·All right, so - so you know there's going to         19· ·in crafting the bed-day rate in the response to the RFP?
    20· ·be a voluntary work program, you know they have -              20· · · · · · ·MR. DONOHUE:· Object to the form.
    21· ·detainees have a choice to work or not and GEO also            21· · · · · · ·THE WITNESS:· Can you repeat that?
    22· ·knows that it's not just supposed to be make work              22· ·BY MR. FREE:
    23· ·volunteering, right?· In other words, it's supposed to         23· · · · Q.· ·Yeah.
    24· ·enhance essential - essential functions at the facility        24· · · · · · ·Is that a consideration that GEO takes into
    25· ·is one of the purposes of the voluntary work program,          25· ·account when you're putting together your response to


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    ·1· ·ICE's RFP?· In other words, does GEO project out its            ·1· ·work?
    ·2· ·cost of having GEO employees do all of the work that            ·2· · · · · · ·MR. DONOHUE:· Object to the form.
    ·3· ·voluntary workers would do if they weren't there?               ·3· · · · · · ·THE WITNESS:· I don't know the reason, but I
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                     ·4· · · · do know that those rates have to be approved by the
    ·5· · · · · · ·THE WITNESS:· Again because we don't know what ·5· · · · local ICE contracting representative, so - but as
    ·6· · · · the numbers are, percentages that proposal that we         ·6· · · · far as the factors of what goes into it I don't
    ·7· · · · submit to ICE would provide services, full services        ·7· · · · know and then what eventually is agreed upon I
    ·8· · · · to manage and - and operate that facility with or          ·8· · · · don't know.
    ·9· · · · without the detainee workforce.                            ·9· ·BY MR. FREE:
    10· ·BY MR. FREE:                                                    10· · · · Q.· ·Okay, and in order to get the local ICE
    11· · · · Q.· ·Okay, thanks.                                         11· ·contact - contracting representative to approve GEO
    12· · · · · · ·How much are voluntary workers paid, detainee         12· ·would need to propose it, correct?
    13· ·workers paid at Adelanto for their work?                        13· · · · · · ·MR. DONOHUE:· Object to the form.
    14· · · · A.· ·The detainees participating in the VWP?               14· · · · · · ·THE WITNESS:· Yes.· GEO would propose it.
    15· · · · Q.· ·Yes, sir.                                             15· ·BY MR. FREE:
    16· · · · A.· ·I believe a dollar a day.                             16· · · · Q.· ·Okay, and at some point GEO did propose it in
    17· · · · Q.· ·Okay, what do you base that belief on?                17· ·the facilities where detainee workers are paid more than
    18· · · · A.· ·The lawsuit.                                          18· ·a dollar, correct?
    19· · · · Q.· ·Does GEO budget in a dollar a day into its            19· · · · · · ·MR. DONOHUE:· Object to the form.
    20· ·labor costs?                                                    20· · · · · · ·THE WITNESS:· I don't know what triggered it,
    21· · · · · · ·MR. DONOHUE:· Object to the form.                     21· · · · but it -- Yes.· I mean there - there was some
    22· · · · · · ·THE WITNESS:· No.                                     22· · · · agreement.
    23· ·BY MR. FREE:                                                    23· ·BY MR. FREE:
    24· · · · Q.· ·Why not?                                              24· · · · Q.· ·Okay, is that a proposal that is made in the -
    25· · · · A.· ·I don't know why.                                     25· ·the response to request for proposal process that you

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    ·1· · · · Q.· ·Okay.· Go ahead.                                      ·1· ·supervise in Business Development?
    ·2· · · · A.· ·No, I was -- I guess I was being a little flip        ·2· · · · A.· ·No.
    ·3· ·with the - the answer about the dollar a day, so and -          ·3· · · · · · ·MR. DONOHUE:· Object to the form.
    ·4· ·but it is - it is part of our existing contract that            ·4· ·BY MR. FREE:
    ·5· ·detainees who participate in the voluntary work program         ·5· · · · Q.· ·During the negotiations between GEO and ICE
    ·6· ·are reimbursed a dollar a day, so I believe that's been         ·6· ·GEO is not considering the rate of detainee pay in its
    ·7· ·part of the contract since 2011.                                ·7· ·proposal, correct?
    ·8· · · · Q.· ·Okay, no.· I understand.· You're talking about        ·8· · · · A.· ·That is correct.
    ·9· ·I knew from the lawsuit.                                        ·9· · · · Q.· ·As far as you understand it?
    10· · · · A.· ·Yeah.                                                 10· · · · A.· ·Yes.· As far as I understand it.
    11· · · · Q.· ·You know from the contract?                           11· · · · Q.· ·Okay, and GEO's not including as far as I
    12· · · · A.· ·Yeah.                                                 12· ·understand your testimony today an expected number of
    13· · · · Q.· ·Okay, that's fine.                                    13· ·detainee workers for any given task in the voluntary
    14· · · · A.· ·Like I said, I was being flip.                        14· ·work program, correct?
    15· · · · Q.· ·No.· I took that.· I understand.                      15· · · · A.· ·At the time of the proposal?
    16· · · · A.· ·Sorry.                                                16· · · · Q.· ·Yes, sir.
    17· · · · Q.· ·You're fine.                                          17· · · · A.· ·Correct.
    18· · · · · · ·Is that the same rate at all GEO ICE detention        18· · · · Q.· ·Okay.· All right.
    19· ·facilities, a dollar a day?                                     19· · · · · · ·Do you happen to know why it's a dollar a day
    20· · · · A.· ·No.                                                   20· ·at Adelanto and some other places and more elsewhere?
    21· · · · Q.· ·What's the most GEO pays a detainee, if you           21· · · · A.· ·No, I don't.
    22· ·know?                                                           22· · · · Q.· ·Do you know who at GEO would know that?
    23· · · · A.· ·I do not.                                             23· · · · A.· ·I think each local Facility Administrator
    24· · · · Q.· ·Okay, what is the reason behind the                   24· ·would have the best knowledge of how that transpired.
    25· ·determination whether GEO will pay a dollar a day for           25· · · · Q.· ·So for Adelanto that's going to be James


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    ·1· ·Janecka?                                                      ·1· · · · · · ·MR. DONOHUE:· Object to the form.
    ·2· · · · A.· ·I don't know if Mr. Janecka was around in           ·2· · · · · · ·THE WITNESS:· At Adelanto?
    ·3· ·2011.· Again that's before my time too, so I don't know       ·3· ·BY MR. FREE:
    ·4· ·who negotiated that.                                          ·4· · · · Q.· ·Yes, sir.
    ·5· · · · Q.· ·Okay, and who at GEO would be responsible for       ·5· · · · A.· ·Not at this time.
    ·6· ·negotiating a higher rate now with ICE?                       ·6· · · · Q.· ·If the Court ordered that GEO pay the minimum
    ·7· · · · A.· ·At Adelanto?                                        ·7· ·wage GEO would be under court obligation to pay detainee
    ·8· · · · · · ·MR. DONOHUE:· Object to the form.                   ·8· ·workers the California minimum wage, right, and I
    ·9· ·BY MR. FREE:                                                  ·9· ·understand that that hasn't happened yet, but I also
    10· · · · Q.· ·Yes, sir.                                           10· ·understand your testimony to be that there's nothing
    11· · · · A.· ·At Adelanto it would be Amber Martin.               11· ·stopping GEO from asking ICE to modify the contract so
    12· · · · Q.· ·Okay, and she's with the Contract Operations        12· ·that they can pay the minimum wage?
    13· ·Administration?                                               13· · · · · · ·MR. DONOHUE:· Object to the form.
    14· · · · A.· ·Yes.                                                14· · · · · · ·THE WITNESS:· I'm sorry.· There was - there
    15· · · · Q.· ·Contracts Administration, right?                    15· · · · was a lot there.
    16· · · · A.· ·Yeah.· She leads that department.              16· ·BY MR. FREE:
    17· · · · Q.· ·Okay.· I think I understand your answer to the 17· · · · Q.· ·Sure.
    18· ·question about the differences in pay rates among GEO 18· · · · A.· ·So what --
    19· ·facilities to detainees in the voluntary work program to 19· · · · Q.· ·All right, so you've got a facility where
    20· ·be that at those facilities there was some level of           20· ·you're paid the four bucks, right?· The LaSalle
    21· ·local negotiation between GEO and ICE to get a higher         21· ·Detention Facility --
    22· ·rate approved.· Did I understand that testimony?              22· · · · A.· ·Okay.
    23· · · · · · ·MR. DONOHUE:· Object to the form.                   23· · · · Q.· ·-- GEO has - you know, you pay four bucks
    24· · · · · · ·THE WITNESS:· That is correct.                      24· ·to --
    25· ·BY MR. FREE:                                                  25· · · · A.· ·Right.

                                                           Page 296                                                          Page 298
    ·1· · · · Q.· ·Okay, so the thing that you need to do if        ·1· · · · Q.· ·-- laundry, kitchen.· Do you have any idea why
    ·2· ·you're GEO and you're going to pay more than a dollar a ·2· ·there's a different wage rate for each work?
    ·3· ·day would be to get ICE's approval, right?                    ·3· · · · A.· ·I do not.
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                   ·4· · · · Q.· ·All right, who -- Okay.
    ·5· · · · · · ·THE WITNESS:· Correct.                              ·5· · · · · · ·If the - do you know at all what the people
    ·6· ·BY MR. FREE:                                                  ·6· ·who work in the voluntary work program at Adelanto can
    ·7· · · · Q.· ·Okay, do you know of anything stopping GEO          ·7· ·do with their money?· Like how -- What would you do?· Do
    ·8· ·from doing that at Adelanto?                                  ·8· ·you have any understanding of what people who are in an
    ·9· · · · · · ·MR. DONOHUE:· Object to the form.                   ·9· ·ICE Detention Center like Adelanto would spend the money
    10· · · · · · ·THE WITNESS:· It's already part of the              10· ·on?
    11· · · · contract.                                                11· · · · · · ·MR. DONOHUE:· Object to the form.
    12· ·BY MR. FREE:                                                  12· · · · · · ·THE WITNESS:· I think to pay for purchases
    13· · · · Q.· ·Well, the contract allows for modifications,        13· · · · from the commissary.
    14· ·right?                                                        14· ·BY MR. FREE:
    15· · · · A.· ·Sure.                                               15· · · · Q.· ·Okay, so that's one thing.
    16· · · · Q.· ·Yeah, so you could renegotiate a mutual             16· · · · · · ·What about phone calls?· Would you - is that
    17· ·modification to the pay rate, right?                          17· ·something that they could spend the money on inside the
    18· · · · · · ·MR. DONOHUE:· Object to the form.                   18· ·facility?
    19· · · · · · ·THE WITNESS:· We could, sure.· We could             19· · · · A.· ·I don't know.
    20· · · · propose if we thought there was a reason to              20· · · · Q.· ·You don't know?
    21· · · · increase it we could approach ICE.                       21· · · · · · ·Okay, even from your time of running a
    22· ·BY MR. FREE:                                                  22· ·detention center you don't have any like sort of ambient
    23· · · · Q.· ·Okay, can you think of any reason why GEO           23· ·knowledge of --
    24· ·would believe there would be a need to increase the           24· · · · A.· ·No, because we don't run the phone system --
    25· ·dollar a day rate?                                            25· · · · Q.· ·Okay.


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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             299–302
                                                                  Page 299                                                Page 301
    ·1· · · · A.· ·-- at any ICE facility, so I'm just not sure   ·1· · · · Q.· ·All right, so you've never seen anything that
    ·2· ·how that works.                                          ·2· ·actually breaks down what GEO's cost per detainee is,
    ·3· · · · Q.· ·Right.                                         ·3· ·right?
    ·4· · · · · · ·Who could - who could I ask about where        ·4· · · · A.· ·No, I don't.
    ·5· ·detained immigrants at Adelanto can spend the money they ·5· · · · Q.· ·Okay.· Fair.
    ·6· ·make in the voluntary work program?· Who at GEO could I ·6· · · · · · ·We talked about earlier how people in
    ·7· ·ask about that?                                          ·7· ·immigration detention facilities, including Adelanto,
    ·8· · · · · · ·MR. DONOHUE:· Object to the form.              ·8· ·are there either awaiting removal pursuant to an order,
    ·9· · · · · · ·THE WITNESS:· You could ask Mr. Janecka.       ·9· ·maybe they're fighting their case but they've been
    10· ·BY MR. FREE:                                             10· ·removed or they're awaiting a determination from an
    11· · · · Q.· ·Okay, anyone else?                             11· ·immigration judge or a court on whether they should be
    12· · · · A.· ·I'm sure there's others that know.             12· ·removed, right?
    13· · · · Q.· ·All right, would you agree that people who are 13· · · · A.· ·Yes.· I recall that, yeah.
    14· ·locked in immigration detention centers can reasonably   14· · · · Q.· ·The purpose of detention, right?
    15· ·expect to want to use the telephone?                     15· · · · A.· ·Yes.
    16· · · · · · ·MR. DONOHUE:· Object to the form.              16· · · · Q.· ·Those people are not entitled to a free lawyer
    17· · · · · · ·THE WITNESS:· Yes.· I think that's a           17· ·at government expense as a general rule, correct?
    18· · · · reasonable expectation.                             18· · · · A.· ·That's my understanding.
    19· ·BY MR. FREE:                                             19· · · · Q.· ·Those people have to either find someone who
    20· · · · Q.· ·And at no GEO facility are all telephone calls 20· ·will work for their - for free to be their lawyer or
    21· ·free, right?                                             21· ·they have to hire a lawyer, correct?
    22· · · · A.· ·Not to my knowledge.· Again we don't manage    22· · · · · · ·MR. DONOHUE:· Object to the form.
    23· ·the telephone system, so I don't know.· That's operated  23· · · · · · ·THE WITNESS:· I think that's correct.
    24· ·by ICE.                                                  24· ·BY MR. FREE:
    25· · · · Q.· ·Okay, is it part of your bed-day rate          25· · · · Q.· ·Okay, they have a right - the detainees at

                                                                  Page 300                                                        Page 302
    ·1· ·calculation to determine how much it will cost to                   ·1· ·Adelanto and other GEO facilities have a right to access
    ·2· ·operate the telephone system at GEO?                                ·2· ·the mail, correct?· In other words, send and receive
    ·3· · · · A.· ·No.· Again for ICE facilities or Adelanto                 ·3· ·letters, right?
    ·4· ·specifically no.· Again ICE has a separate contract for             ·4· · · · A.· ·Yes.
    ·5· ·that, so we don't have any involvement in that.                     ·5· · · · Q.· ·Okay, and I understand that based on this
    ·6· · · · Q.· ·Have you ever seen a calculation of a per                 ·6· ·contract to require indigent detainees to receive some
    ·7· ·detainee cost for housing a person at Adelanto?· In                 ·7· ·postage allowance.· Is that your understanding as well?
    ·8· ·other words, what does GEO spend as a company to house a ·8· · · · A.· ·Yes.· There's accommodations for that.
    ·9· ·person in the facility?                                             ·9· · · · Q.· ·But at some level that can't just be
    10· · · · A.· ·I've never seen --                                        10· ·unlimited, right?· Like that cost to GEO cannot be
    11· · · · Q.· ·Okay.                                                     11· ·unlimited?
    12· · · · A.· ·-- a calculation like that.                               12· · · · A.· ·I don't know.
    13· · · · Q.· ·All right, is such a -- Regardless of whether             13· · · · Q.· ·Okay, is that something that's factored in
    14· ·you've seen it, does GEO have - are you aware of whether            14· ·when you calculate the bed-day rate, if you know?
    15· ·GEO has internally as a corporation such a - a number?              15· · · · A.· ·I don't know.
    16· · · · · · ·MR. DONOHUE:· Object to the form.                         16· · · · Q.· ·Okay, if no detainee workers showed up anymore
    17· · · · · · ·THE WITNESS:· I do not.                                   17· ·in any of the tasks at Adelanto would GEO have to alter
    18· ·BY MR. FREE:                                                        18· ·its staffing plan such that those tasks would be
    19· · · · Q.· ·Okay, so you've never seen or been aware of in            19· ·completed?
    20· ·your role in putting together proposals for GEO it's                20· · · · · · ·MR. DONOHUE:· Object to the form.
    21· ·going to cost us fifty-two bucks to do all the food,                21· · · · · · ·THE WITNESS:· I don't know.
    22· ·care, lodging, activities, all the stuff in element                 22· ·BY MR. FREE:
    23· ·number three of the bed-day rate?                                   23· · · · Q.· ·Who would know the answer to that question?
    24· · · · · · ·Do you remember element three?                            24· · · · A.· ·That would be Mr. Janecka.
    25· · · · A.· ·Yes.                                                      25· · · · Q.· ·Okay.


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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             303–306
                                                             Page 303                                                           Page 305
    ·1· · · · · · ·If you did have to hire people from outside        ·1· ·because they're doing it?
    ·2· ·the facility to do the work that would cost more than a       ·2· · · · · · ·MR. DONOHUE:· Object to the form.
    ·3· ·dollar a day, right?                                          ·3· · · · · · ·THE WITNESS:· I don't know in absence of the -
    ·4· · · · · · ·MR. DONOHUE:· Object to the form.                   ·4· · · · the voluntary work - worker program participants if
    ·5· · · · · · ·THE WITNESS:· Yes.                                  ·5· · · · there were none I do not know if we would have to
    ·6· ·BY MR. FREE:                                                  ·6· · · · hire more staff.
    ·7· · · · Q.· ·There's nobody who's not locked inside the          ·7· ·BY MR. FREE:
    ·8· ·facility that you could pay a dollar a day to do the          ·8· · · · Q.· ·Okay.
    ·9· ·work, right?                                                  ·9· · · · A.· ·I just don't know.
    10· · · · A.· ·I'm sorry?                                          10· · · · Q.· ·But I think Miss Martin or Mr. Janecka would
    11· · · · Q.· ·There's nobody inside who's not locked inside       11· ·know that?
    12· ·the facility that you could pay a dollar a day, right?        12· · · · A.· ·I think more so Mr. Janecka.
    13· ·Those are the only people you could pay a dollar a day?       13· · · · Q.· ·Okay.· I think what you've told me I think I
    14· · · · · · ·MR. DONOHUE:· Object to the form.                   14· ·understand it is -- You know what?· I think I
    15· · · · · · ·THE WITNESS:· I guess that's true, yes.· Yeah.      15· ·understand.· I think I get it.
    16· ·BY MR. FREE:                                                  16· · · · · · ·MR. FREE:· We're going to take a break.
    17· · · · Q.· ·Right.                                              17· · · · · · ·Shoot for 5:00 and we'll come back.
    18· · · · A.· ·Yeah.                                               18· · · · · · ·THE VIDEOGRAPHER:· We are going off the video
    19· · · · Q.· ·Do you have any idea of the timeline for the        19· · · · record 4:46 p.m.
    20· ·Adelanto contract as it exists right now and whether          20· · · · · · ·(Whereupon, there was a brief recess observed)
    21· ·there will be a stopgap between the end of the IGSA and 21· · · · · · ·THE VIDEOGRAPHER:· We are back on the video
    22· ·the contract detention facility contract between GEO and 22· · · · record at 5:04 p.m.
    23· ·ICE?                                                          23· ·BY MR. FREE:
    24· · · · A.· ·I do not know.                                      24· · · · Q.· ·Mr. Venturella, is there anything that stops
    25· · · · Q.· ·Do you know who's negotiating that?                 25· ·GEO from paying more than a dollar a day even though

                                                            Page 304                                                          Page 306
    ·1· · · · A.· ·That would be Amber Martin.                         ·1· ·it's not being reimbursed for that by ICE, in other
    ·2· · · · Q.· ·Okay, would that affect GEO's revenues if the       ·2· ·words, GEO could just eat the costs, is there anything
    ·3· ·contract were cancelled?                                      ·3· ·stopping GEO from doing that?
    ·4· · · · A.· ·Yes.                                                ·4· · · · · · ·MR. DONOHUE:· Object to the form, asked and
    ·5· · · · Q.· ·Negatively, right?                                  ·5· · · · answered.
    ·6· · · · A.· ·Yeah.· Negatively.                                  ·6· · · · · · ·THE WITNESS:· Other than the agreement,
    ·7· · · · Q.· ·Okay, if you had to go out and hire someone         ·7· · · · contractual agreement that's already in place we
    ·8· ·from outside the facility and pay them more than a            ·8· · · · would have to propose it and get approval by ICE.
    ·9· ·dollar a day, I think we've said that would cost GEO,         ·9· ·BY MR. FREE:
    10· ·correct?                                                      10· · · · Q.· ·Why?
    11· · · · · · ·MR. DONOHUE:· Object to the form.                   11· · · · A.· ·Because it's a change in terms and conditions
    12· · · · · · ·THE WITNESS:· Correct.                              12· ·of the contract that we agreed to, what we propose and
    13· ·BY MR. FREE:                                                  13· ·what was agreed to and then incorporated into the
    14· · · · Q.· ·You could go to ICE and say, look, just like        14· ·contract --
    15· ·you did with medical staffing or the collective               15· · · · Q.· ·And --
    16· ·bargaining agreement GEO could go to ICE and say, look, 16· · · · A.· ·-- at Adelanto.
    17· ·we're incurring this additional cost, pay us more,            17· · · · Q.· ·At Adelanto.· Yeah, I want to make sure you're
    18· ·there's our increased bed-day rate, right?                    18· ·really clear about what I'm asking.· I'm not saying that
    19· · · · · · ·MR. DONOHUE:· Object to the form.                   19· ·you would get more money from ICE and then pass that
    20· · · · · · ·THE WITNESS:· Correct.                              20· ·through to a detainee worker.· My question is could GEO
    21· ·BY MR. FREE:                                                  21· ·set up a detainee welfare program for voluntary workers
    22· · · · Q.· ·The fact that GEO doesn't do that, that they        22· ·and instead of paying the reimbursed rate of a dollar a
    23· ·don't have to do that, they don't - GEO doesn't have to       23· ·day by ICE pay an increased rate?
    24· ·do it, go out right now and hire workers to do what the       24· · · · · · ·MR. DONOHUE:· Object to the form, asked and
    25· ·volunteer worker program people are doing, right,             25· · · · answered.


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    NOVOA vs THE GEO GROUP                                             307–310
                                                        Page 307                                                                    Page 309
    ·1· · · · · · ·THE WITNESS:· I do not know, but what I can   ·1· · · · A.· ·Allegra-D.
    ·2· · · · say is that any changes that we make at the             ·2· · · · Q.· ·Does it affect your ability to remember or
    ·3· · · · facility would have to get ICE approval.                ·3· ·like recall or understand stuff?
    ·4· ·BY MR. FREE:                                                 ·4· · · · A.· ·No.
    ·5· · · · Q.· ·Other than ICE approval do you think that          ·5· · · · Q.· ·No?· Okay.
    ·6· ·there's - as you understand it is there anything             ·6· · · · · · ·Do you understand throughout the day we were
    ·7· ·stopping GEO from doing - from paying detainees more? ·7· ·referring to the contracting process that GEO does with
    ·8· · · · · · ·MR. DONOHUE:· Object to the form.                  ·8· ·ICE, particularly your role in it, you, David
    ·9· · · · · · ·THE WITNESS:· No.                                  ·9· ·Venturella's role in it.· I've used the word you, you've
    10· ·BY MR. FREE:                                                 10· ·responded about GEO and GEO's activities.· Sometimes you
    11· · · · Q.· ·Okay, does GEO provide substance abuse             11· ·use we when you'd respond.· I understand you're talking
    12· ·counseling at Adelanto?                                      12· ·about GEO.· You understand that when I'm asking about
    13· · · · A.· ·I don't know.                                      13· ·GEO's operations and I've said you I've meant GEO,
    14· · · · Q.· ·Okay, probably the same answer for cognitive       14· ·right?
    15· ·and behavior therapy?                                        15· · · · · · ·MR. DONOHUE:· Object to the form.
    16· · · · A.· ·Yeah, I don't know.                                16· · · · · · ·THE WITNESS:· Yes.
    17· · · · Q.· ·All right, you're just not aware of the            17· · · · · · ·MR. FREE:· Okay.· All right, we've been joined
    18· ·programs provided there, right?                              18· · · · today after we made appearances by counsel for ICE.
    19· · · · A.· ·No, I'm not.                                       19· · · · I just want to get on the record that she's here.
    20· · · · Q.· ·And probably Amber Martin or James Janecka         20· · · · · · ·MS. SIMKINS:· Frances Simkins present at the
    21· ·would be the people I would ask about that?                  21· · · · deposition.
    22· · · · A.· ·I think Mr. Janecka would be the most              22· · · · · · ·MR. FREE:· Those are all the questions I have,
    23· ·appropriate person.                                          23· · · · Mr. Venturella.
    24· · · · Q.· ·Is your understanding of the agreement between 24· · · · · · ·Thank you for being here.
    25· ·ICE and GEO at Adelanto that the dollar a day rate is        25· · · · · · ·MR. DONOHUE:· Do you want to put your

                                                        Page 308                                                   Page 310
    ·1· ·fully passed through from ICE to GEO -- The entire      ·1· ·colleague on the record, too?
    ·2· ·dollar goes to the detained worker for the work?· Is    ·2· · · · MR. FREE:· Oh, yeah.· Henriette Vinet-Martin
    ·3· ·that your understanding of it?                          ·3· ·as well.
    ·4· · · · A.· ·That is my understanding.                     ·4· · · · MS. VINET-MARTIN:· Henriette Vinet-Martin.
    ·5· · · · Q.· ·Okay, I think that we can agree that the PBNDS ·5· · · · MR. FREE:· Okay, questions?
    ·6· ·requires the person to be paid daily for the work.· Can  ·6· · · · MR. DONOHUE:· I don't have any questions at
    ·7· ·we agree on that?                                        ·7· ·this time.
    ·8· · · · A.· ·Yes.                                           ·8· · · · MR. FREE:· Okay, thanks for being here.
    ·9· · · · Q.· ·Okay, and so GEO is making the payment, right, ·9· · · · THE WITNESS:· You're welcome.
    10· ·to the detained worker?                                  10· · · · THE VIDEOGRAPHER:· We are going off the video
    11· · · · A.· ·Yes.                                           11· ·record 5:10 p.m.
    12· · · · Q.· ·Okay, and then ICE is paying GEO the           12· · · · THE COURT REPORTER:· Read or waive?
    13· ·reimbursement for the payment that GEO's made to the 13· · · · MR. DONOHUE:· Read.
    14· ·worker, right?                                           14
    15· · · · A.· ·Yes.                                           15
    16· · · · Q.· ·Okay.· As you sit here today do you have any   16· · · · ·(The deposition concluded at 5:10 p.m.)
    17· ·idea how many people have died in GEO's custody in       17
    18· ·immigration detention this year?                         18
    19· · · · A.· ·I do not.                                      19
    20· · · · Q.· ·Do you know how many people have died at       20
    21· ·Adelanto since the facility opened?                      21
    22· · · · A.· ·I do not.                                      22
    23· · · · Q.· ·You said earlier you're having allergies. I    23
    24· ·can relate.· Are you taking anything for your allergy    24
    25· ·medication?                                              25


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    DAVID J. VENTURELLA· Volume II                               June 13, 2019
    NOVOA vs THE GEO GROUP                                             311–314
                                                        Page 311                                                       Page 313
    ·1· · · · · · · · · · ·CERTIFICATE OF OATH                     ·1· · · · · · · · · ·DEPOSITION ERRATA SHEET
    ·2                                                             ·2
    ·3· ·STATE OF FLORIDA                                          ·3· ·ASSIGNMENT NO. J4138234
    ·4· ·COUNTY OF BROWARD                                         ·4· ·NOVOA vs. THE GEO GROUP, INC.
    ·5
                                                                   ·5
    ·6· · · · · · ·I, VALERIE LEHTO, the undersigned authority,
                                                                   ·6· · · · DECLARATION UNDER PENALTY OF PERJURY
    ·7· ·certify that DAVID J. VENTURELLA personally appeared
                                                                   ·7· · · · I declare under penalty of perjury
    ·8· ·before me and was duly sworn.
                                                                   ·8· ·that I have read the entire transcript of
    ·9
                                                                   ·9· ·my Deposition taken in the captioned matter
    10· · · · · · ·Dated this 23rd day of June, 2019.
    11                                                             10· ·or the same is true and accurate, save and

    12· · · · · · ·________________________________________        11· ·except for changes and/or corrections, if

    · · · · · · · ·VALERIE LEHTO, RPR                              12· ·any, as indicated by me on the DEPOSITION
    13· · · · · · ·NOTARY PUBLIC - STATE OF FLORIDA                13· ·ERRATA SHEET hereof, with the understanding
    · · · · · · · ·My Commission Expires:· 8/22/2022               14· ·that I offer these changes as if still under
    14· · · · · · ·My Commission No.:· GG 242398                   15· ·oath.
    15                                                             16· · · · · · ·Signed on the ________ day of _______________,
    16                                                             17· ·2019.
    17
                                                                   18
    18
                                                                   19
    19
                                                                   20· ·___________________________________
    20
                                                                   21· · · · · · · WITNESS NAME
    21
                                                                   22
    22
    23                                                             23

    24                                                             24
    25                                                             25

                                                        Page 312                                                       Page 314
    ·1· · · · · · · · · · · · ·CERTIFICATE                         ·1· · · · · · · · · ·DEPOSITION ERRATA SHEET
    ·2                                                             ·2· ·Page No. _____ Line No. _____ Change to: _______________
    ·3· ·STATE OF FLORIDA                                          ·3· ·________________________________________________________
    ·4· ·COUNTY OF BROWARD                                         ·4· ·Reason for change:______________________________________
    ·5· · · · · · ·I, VALERIE LEHTO, Registered Professional
                                                                   ·5· ·Page No. _____ Line No. _____ Change to: _______________
    ·6· ·Reporter, do hereby certify that I was authorized
                                                                   ·6· ·Reason for change:______________________________________
    ·7· ·to and did stenographically report the foregoing
                                                                   ·7· ·Page No. _____ Line No. _____ Change to: _______________
    ·8· ·deposition as hereinabove shown, and the testimony
                                                                   ·8· ·Reason for change:______________________________________
    ·9· ·of said witness was reduced to computer transcription
                                                                   ·9· ·Page No. _____ Line No. _____ Change to: _______________
    10· ·under my personal supervision and direction and that
    11· ·the record is a true record of the testimony given        10· ·Reason for change:______________________________________

    12· ·by the witness and that the witness has requested         11· ·Page No. _____ Line No. _____ Change to: _______________

    13· ·a review of said transcript pursuant to Rule 30(e)        12· ·Reason for change:______________________________________
    14· ·(2).                                                      13· ·Page No. _____ Line No. _____ Change to: _______________
    15· · · · · · ·I further certify that I am not a relative,     14· ·Reason for change:______________________________________
    16· ·employee, attorney or counsel of any of the parties,      15· ·Page No. _____ Line No. _____ Change to: _______________
    17· ·nor am I a relative or employee of any of the parties'    16· ·Reason for change:______________________________________
    18· ·attorney or counsel connected with the action, nor        17· ·Page No. _____ Line No. _____ Change to: _______________
    19· ·am I financially interested in the action.
                                                                   18· ·Reason for change:______________________________________
    20· · · · · · ·Dated this 23rd day of June, 2019.
                                                                   19· ·Page No. _____ Line No. _____ Change to: _______________
    21
                                                                   20· ·Reason for change:______________________________________
    22
                                                                   21· ·Page No. _____ Line No. _____ Change to: _______________
    23· · · · · · · · · · · · _______________________________
                                                                   22· ·Reason for change:______________________________________
    · · · · · · · · · · · · · VALERIE LEHTO
    24· · · · · · · · · · · · Registered Professional Reporter     23

    · · · · · · · · · · · · · COMMISSION NO. GG 242398             24· ·SIGNATURE:________________________________DATE:_________
    25· · · · · · · · · · · · MY COMMISSION EXPIRES 8/22/2022      25· · · · · · ·DAVID J. VENTURELLA



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